Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 1 of 96 Page ID #:1



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 11
       Attorneys for Plaintiff
 12    SOFTVAULT SYSTEMS, INC.
 13
                                UNITED STATES DISTRICT COURT
 14
                             CENTRAL DISTRICT OF CALIFORNIA
 15
                                       SOUTHERN DIVISION
 16
      SOFTVAULT SYSTEMS, INC.,                      CASE NO.
 17
                          Plaintiff,
 18                                                 COMPLAINT FOR INFRINGEMENT
                          vs.                       OF U.S. PATENT NOS. 6,249,868 AND
 19                                                 6,594,765
      HYUNDAI MOTOR AMERICA,
 20
                          Defendant.                JURY TRIAL DEMANDED
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                                COMPLAINT FOR INFRINGEMENT OF PATENT
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  1          Plaintiff SOFTVAULT SYSTEMS, INC. files its Complaint against Defendant

  2   HYUNDAI MOTOR AMERICA, alleging as follows:

  3                                            THE PARTIES

  4          1.     Plaintiff SOFTVAULT SYSTEMS, INC. (“SoftVault”) is a corporation organized

  5   and existing under the laws of the State of Washington with its principal place of business in the

  6   State of Washington.

  7          2.     Upon information and belief, HYUNDAI MOTOR AMERICA (“Hyundai”) is a

  8   corporation organized and existing under the laws of the State of California, with its principal

  9   place of business at 10550 Talbert Avenue, Fountain Valley, CA 92708. Hyundai may be served
 10   with process through its registered agent, National Registered Agents, Inc., 818 West Seventh

 11   Street, Suite 930, Los Angeles, CA 90017.

 12                                   JURISDICTION AND VENUE

 13          3.     This is an action for infringement of United States patents. This Court has

 14   exclusive jurisdiction of such action under Title 28 U.S.C. § 1338(a).

 15          4.     Upon information and belief, Hyundai is subject to personal jurisdiction by this

 16   Court. Hyundai has committed such purposeful acts and/or transactions in the State of California

 17   that it reasonably knew and/or expected that it could be hailed into a California court as a future

 18   consequence of such activity. Hyundai makes, uses, and/or sells infringing products within the

 19   Central District of California and has a continuing presence and the requisite minimum contacts

 20   with the Central District of California, such that this venue is a fair and reasonable one. Upon

 21   information and belief, Hyundai has transacted and, at the time of the filing of this Complaint, is

 22   continuing to transact business within the Central District of California. For all of these reasons,

 23   personal jurisdiction exists and venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1), (2)

 24   and (c)(2) and 28 U.S.C. § 1400(b).

 25                                         PATENTS-IN-SUIT

 26          5.     On June 19, 2001, United States Patent No. 6,249,868 BI (“the ‘868 Patent”) was
 27   duly and legally issued for “METHOD AND SYSTEM FOR EMBEDDED, AUTOMATED,

 28   COMPONENT-LEVEL CONTROL OF COMPUTER SYSTEMS AND OTHER COMPLEX
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                                COMPLAINT FOR INFRINGEMENT OF PATENT
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  1   SYSTEMS.” A true and correct copy of the ‘868 Patent is attached hereto as Exhibit A and made

  2   a part hereof.

  3          6.        On July 15, 2003, United States Patent No. 6,594,765 B2 (“the ‘765 Patent”) was

  4   duly and legally issued for “METHOD AND SYSTEM FOR EMBEDDED, AUTOMATED,

  5   COMPONENT-LEVEL CONTROL OF COMPUTER SYSTEMS AND OTHER COMPLEX

  6   SYSTEMS.” A true and correct copy of the ‘765 Patent is attached hereto as Exhibit B and made

  7   a part hereof.

  8          7.        The ‘868 Patent and the ‘765 Patent are sometimes referred to herein collectively

  9   as “the Patents-in-Suit.”
 10          8.        As it pertains to this lawsuit, the Patents-in-Suit, very generally speaking, relate to

 11   a method and system of protecting electronic, mechanical, and electromechanical devices and

 12   systems, such as for example a computer system, and their components and software from

 13   unauthorized use. Specifically, certain claims of the ‘868 and ‘765 Patents disclose the utilization

 14   of embedded agents within system components to allow for the enablement or disablement of the

 15   system component in which the agent is embedded. There are many examples in the patent

 16   specifications of the type of systems that may be protected using this technology including

 17   automotive systems and vehicles. The invention disclosed in the Patents-in-Suit discloses a server

 18   that communicates with the embedded agent through the use of one or more handshake operations

 19   to authorize the embedded agent. When the embedded agent is authorized by the server, it

 20   enables the device or component, and when not authorized the embedded agent disables the

 21   device or component, such as by disabling the ignition system of a vehicle.

 22                                       FIRST CLAIM FOR RELIEF

 23                                           (Patent Infringement)

 24          9.        SoftVault repeats and realleges every allegation set forth above.

 25          10.       SoftVault is the owner of the Patents-in-Suit with the exclusive right to enforce the

 26   Patents-in-Suit against infringers, and collect damages for all relevant times, including the right
 27   to prosecute this action.

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                                   COMPLAINT FOR INFRINGEMENT OF PATENT
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  1           11.   Hyundai has had knowledge of the Patents-in-Suit since October 2, 2015 when

  2   SoftVault first sent a letter to Hyundai putting it on notice of its infringement. (Exhibit C).

  3   Hyundai did not respond to this letter. SoftVault again wrote to Hyundai on December 6, 2017

  4   referencing the earlier letter and again notifying Hyundai of its infringement of the Patents-in-

  5   suit. (Exhibit D). After receiving no response, SoftVault sent a third letter to Hyundai on April

  6   30, 2018 stating its position that Hyundai is infringing the Patents-in-Suit. To date, Hyundai has

  7   not responded to any of SoftVault’s attempts to engage in discussions related to the Patents-in-

  8   Suit.

  9           12.   Upon information and belief, Hyundai is liable under 35 U.S.C. §271(a) for direct
 10   infringement of the Patents-in-Suit because it manufactures, makes, has made, uses, practices,

 11   imports, provides, supplies, distributes, sells, and/or offers for sale products and/or systems that

 12   practice one or more claims of the Patents-in-Suit.

 13           13.   Upon information and belief, Hyundai is also liable under 35 U.S.C. §271(b) for

 14   inducing infringement of, and under 35 U.S.C. §271(c) for contributory infringement of the

 15   Patents-in-Suit because it manufactures, makes, has made, uses, practices, imports, provides,

 16   supplies, distributes, sells, and/or offers for sale products and/or systems that practice one or more

 17   claims of the Patents-in-Suit.

 18           14.   More specifically, Hyundai infringes the Patents-in-Suit because it makes, uses,

 19   sells, and offers for sale components and software that prevent unauthorized use of a vehicle.

 20   Hyundai provides a service, called the Hyundai Blue Link Service, using these components. The

 21   Blue Link Service prevents unauthorized use of a vehicle via its Remote Vehicle Start, Stolen

 22   Vehicle Slowdown, and Vehicle Immobilization features. The Remote Vehicle Start feature

 23   allows a user to remotely start the vehicle using a Hyundai mobile application that interacts with

 24   a Hyundai server to control some aspects of the vehicle. The Blue Link Service also allows a law

 25   enforcement agency to remotely disable a stolen vehicle. Specifically, the Stolen Vehicle

 26   Slowdown feature provides the capability to gradually reduce the engine power thereby slowing
 27   the stolen vehicle’s speed and eventually bringing it to a complete stop.               The Vehicle

 28   Immobilization feature further allows the law enforcement agency to completely turn off the
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                                COMPLAINT FOR INFRINGEMENT OF PATENT
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  1   engine remotely once the vehicle has been stopped using Vehicle Slowdown. The law

  2   enforcement agency uses software provided by Hyundai (server) to communicate with a

  3   computer system (embedded agent) installed in the vehicle to disable it. In the Blue Link Service,

  4   the communication between the Hyundai server software and the computer system installed in

  5   the vehicle includes a series of secure message exchanges, constituting a handshake operation,

  6   between an embedded agent and a Hyundai server. By providing these components and offering

  7   its Blue Link Service, Hyundai has directly infringed at least claims 1 and 44 of the ‘868 Patent,

  8   as well as at least claims 1, 2, and 9 of the ‘765 Patent.

  9          15.    Hyundai is also infringing the Patents-in-Suit by making, using, selling, and
 10   offering for sale vehicles with its Immobilizer System along with key fobs. The Immobilizer

 11   System is a component of the vehicle’s overall computer system. This system prevents

 12   unauthorized use of a vehicle by enabling or disabling the ignition based on communications

 13   between the key fob (server) and the Immobilizer System (embedded agent) of the vehicle. The

 14   Immobilizer System in the vehicle and the key fob mutually authenticate one another and

 15   communicate through a series of messages to establish whether the vehicle is authorized to

 16   operate. When the key fob authorizes the Immobilizer System, the vehicle’s ignition operates

 17   normally and the car can be started. When the key fob does not authorize the Immobilizer System,

 18   the vehicle’s ignition system is disabled and the car cannot be started. By providing its key fobs

 19   and the Immobilizer System in its vehicles, Hyundai has directly infringed at least claims 1 and

 20   44 of the ‘868 Patent, as well as at least claims 1, 2, and 9 of the ‘765 Patent.

 21          16.    The Hyundai Blue Link Service along with the key fobs and Immobilizer System

 22   provided in Hyundai vehicles are collectively referred to herein as the Accused Products. By

 23   providing the Hyundai Accused Products, Hyundai has induced its customers and/or end users to

 24   infringe at least claims 1 and 44 of the ‘868 Patent, as well as at least claims 1, 2, and 9 of the

 25   ‘765 Patent. For example, end users of the accused products directly infringed at least claims 1

 26   and 44 of the ‘868 Patent, as well as at least claims 1, 2, and 9 of the ‘765 Patent, when using or
 27   employing these systems.

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                                COMPLAINT FOR INFRINGEMENT OF PATENT
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  1          17.    On information and belief, Hyundai possessed a specific intent to induce

  2   infringement by at a minimum, providing user guides and other sales-related materials, and by

  3   way of advertising, solicitation, and provision of product instruction materials, that instruct its

  4   customers and end users on the normal operation of the Accused Products and the features

  5   described herein that infringe the Patents-in-Suit.

  6          18.    By providing these systems, Hyundai has contributed to the infringement of their

  7   customers and/or end users of at least claims 1 and 44 of the ‘868 Patent, as well as at least claims

  8   1, 2, and 9 of the ‘765 Patent.

  9          19.    Upon information and belief, the components and software used to provide the Blue
 10   Link Service as well as the Immobilizer System and key fobs within Hyundai’s Accused Products

 11   have no substantial non-infringing uses, and Hyundai knows that these features were especially

 12   made or especially adapted for use in a product that infringes the Patents-in-Suit.

 13          20.    SoftVault has been damaged as a result of Hyundai’s infringing conduct. Hyundai,

 14   thus, is liable to SoftVault in an amount that adequately compensates SoftVault for Hyundai’s

 15   infringement, which, by law, cannot be less than a reasonable royalty, together with interest and

 16   costs as fixed by this Court under 35 U.S.C. § 284.

 17                                       PRAYER FOR RELIEF

 18          SoftVault requests that the Court find in its favor and against Hyundai, and that the Court

 19   grant SoftVault the following relief:

 20         a.      Judgment that one or more claims of the Patents-in-Suit have been infringed, either

 21                 literally and/or under the doctrine of equivalents, by Hyundai;

 22         b.      Judgment that Hyundai account for and pay to SoftVault all damages to and costs

 23                 incurred by SoftVault because of Hyundai’s infringing activities and other conduct

 24                 complained of herein;

 25         d.      That SoftVault be granted pre-judgment and post-judgment interest on the damages

 26                 caused to it by reason of Hyundai’s infringing activities and other conduct
 27                 complained of herein;

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                                COMPLAINT FOR INFRINGEMENT OF PATENT
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  1        e.      That this Court declare this an exceptional case and award SoftVault its reasonable

  2                attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

  3        f.      That SoftVault be granted such other and further relief as the Court may deem

  4                just and proper under the circumstances.

  5                                         JURY DEMAND

  6         Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

  7   Procedure.

  8   DATED: September 6, 2018                   /s/ Brandon C. Fernald
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                                                 Corby R. Vowell
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 20                                              Facsimile: (817) 334-0401
                                                 Email: jts@fsclaw.com
 21                                              Email: vowell@fsclaw.com
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                              COMPLAINT FOR INFRINGEMENT OF PATENT
Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 8 of 96 Page ID #:8




                            EXHIBIT AA@
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                                                                                                                      US006249868Bl

   (12)    United States Patent                                                                   (10)     Patent No.:     US 6,249,868 BI
           Sherman et ai.                                                                         (45)     Date of Patent:      Jun. 19,2001


   (54)     METHOD AND SYSTEM FOR EMBEDDED,                                                           6,148,333 * 11/2000 Guedalia et al. .................... 709/219
            AUTOMATED, COMPONENT-LEVEL                                                                6,157,953 * 12/2000 Chang et al. ........................ 709/225
            CONTROL OF COMPUTER SYSTEMS AND                                                           6,158,010 * 12/2000 Moriconi et al. .................... 713/201
            OTHER COMPLEX SYSTEMS
                                                                                               * cited by examiner
   (75)     Inventors: Edward G. Sherman, London (GB);
                       Mark P. Sherman, Seattle, WA (US);
                       George M. Reed, Saratoga, CA (US);                                      Primary Examiner-Thomas R. Peeso
                       Larry Saunders, San Diego, CA (US);                                     (74) Attorney, Agent, or Firm-Robert W. Bergstrom
                       Wayne Goldman, Sausalito, CA (US);
                       Simon Whittie, Gladesville (AU)                                         (57)                        ABSTRACT

   (73)     Assignee: SoftvauIt Systems, Inc., Seattle, WA                                     A method and system for protecting and controlling personal
                      (US)                                                                     computers ("PCs") and components installed in or attached
                                                                                               to PCs. The method and system may be used to protect PCs
   ( *)     Notice:         Subject to any disclaimer, the term of this                        from use after being stolen. An exemplary embodiment of
                            patent is extended or adjusted under 35                            the system includes a server running on a remote computer
                            U.S.c. 154(b) by 0 days.                                           and hardware-implemented agents embedded within the
                                                                                               circuitry that controls the various devices within a Pc. The
   (21)     Appl. No.: 09/163,094                                                              agents intercept all communications to and from the devices
                                                                                               into which they are embedded, passing the communications
   (22)     Filed:          Sep. 29, 1998                                                      when authorized to do so, and blocking communications
                                                                                               when not authorized, effectively disabling the devices.
                      Related U.S. Application Data
                                                                                               Embedded agents are continuously authorized from the
   (63)     Continuation-in-part of application No. 09/047,975, filed on                       remote server computer by handshake operations imple-
            Mar. 25, 1998.                                                                     mented as communications messages. When the PC is stolen
                                                                                               or otherwise disconnected from the remote server, the
   (51)     Int. CI? ........................................................ G06F 9/00
                                                                                               embedded agents within the PC fail to receive further
   (52)     U.S. CI. .......................... 713/168; 713/169; 713/200;
                                                                                               authorizations, disable the devices into which they are
                                                                   713/201; 380/255
                                                                                               embedded, and effectively prevent any use of the stolen or
   (58)     Field of Search ............................. 380/255; 713/168,
                                                                                               disconnected Pc. The method and system may also be used
                                                                  713/169, 200, 201
                                                                                               to control and manage access to software stored within the
   (56)                        References Cited                                                PC and to control and manage operation of hardware and
                                                                                               software components within the Pc.
                       U.S. PATENT DOCUMENTS
          6,148,083 * 11/2000 Fieres et al. ......................... 380/255                                   73 Claims, 21 Drawing Sheets


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                 NON-VOLATILE STORAGE DEVICE                  322
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                 EMBEDDED AGENT INFORMATION
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   u.s.   Patent       Jun. 19,2001        Sheet 1 of 21               US 6,249,868 BI




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   u.s.   Patent          Jun. 19,2001          Sheet 4 of 21                US 6,249,868 BI



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   u.s.   Patent             Jun. 19,2001                      Sheet 5 of 21                US 6,249,868 BI




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                    ADDRESS            CURRENT    OLD    ORIZED                                                        'JJ.
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            NET210-SUE@ELF.GOV       CB861A78 2217813A YES                                    PREVIOUS PASSWORD       ....,
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         ADDRESS         CURRENT   OLD    ORIZED                                                                       'JJ.

 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                               CURRENT PASSWORD          =-
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 NET210-SUE@ELF.GOV     CB861A78 2217813A YES
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 XAMPLE@X.COM           ABCDEFOl ABCDEFOl NO                                                     ABCDEFOl        I    N
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                                          AUTH-          708
          ADDRESS        CURRENT   OLD    ORIZED                                                                     'JJ.

 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                        CURRENT PASSWORD                =-
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 NET210-SUE@ELF.GOV     CB861A78 2217813A YES
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         ADDRESS         CURRENT   OLD    ORIZED                                                                      'JJ.

 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                             CURRENT PASSWORD            =-
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 NET210-SUE@ELF.GOV     CB861A78 2217813A YES!                                            PREVIOUS PASSWORD           c'""'"
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         ADDRESS            CURRENT  OLD    ORIZED                                                                  'JJ.

 SGATE301-JERRY@CCD.Cm~
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                          FF631ACI 19FE2212 YES                                                                     .....
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           ADDRESS         CURRENT  OLD    ORIZED                                                                 'JJ.

  SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES
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  NEl210-SUE@ELF.GOV     CB861A78 2217813A YES                                            PREVIOUS PASSWORD        'N""'"
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         ADDRESS            CURRENT   OLD    ORIZED
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 SGATE30 l-JERRY@CCD.CO~   FF631ACl 19FE2212 YES                                                           .....
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 NET2l0-SUE@ELF.GOV        CB861A78 2217813A YES                               PREVIOUS PASSWORD           '""'"
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          ADDRESS         CURRENT  OLD    ORIZED                                                              'JJ.
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 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                                                 .....
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 NET2l0-SUE@ELF.GOV     C8861A78 2217813A YES                                         PREVIOUS PASSWORD        '""'"
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 XAMPLE@X.COM            16F3A79 ABCDEFOl YES 2:00                                I        ABCDEFOl       I   N
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         ADDRESS          CURRENT  OLD    ORIZED                                                                                rJJ.

 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES
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 NET2l 0-SUE@ELF.GOV    CB861A78 2217813A YES
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         ADDRESS          CURRENT   OLD   ORIZED                                                                                  =-
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 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES
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 NET21 0-SUE@ELF.GOV    CB861A78 2217813A YES                                                        PREVIOUS PASSWORD           o....,
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         ADDRESS         CURRENT   OLD    ORIZED                                                                  =-
 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                          CURRENT PASSWORD           ~
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 NET2l0-SUE@ELF.GOV     CB861A78 2217813A YES
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          ADDRESS        CURRENT    OLD    ORIZED                                                                =-
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 SGATE301-JERRY@CCD.COM FF631 ACl 19FE2212 YES                                         CURRENT PASSWORD          .....
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 NET21 Q-SUE@ELF.GOV    CB861A78 2217813A YES                                          PREVIOUS PASSWORD         o....,
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 SGATE301-JERRY@CCD.COM FF631AC1 19FE2212 YES                                                                            .....
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 NEl21 0-SUE@ELF.GOV    CB861A78 2217813A YES                                              PREVIOUS PASSWORD
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         ADDRESS         CURRENT   OLD    ORIZED
 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES
 NET210-SUE@ELF.GOV     CB861A78 2217813A YES
 XAMPLE@X.COM           3AA61rB3 16F3A79 YES 1
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                                          AUTH-               906                                              'JJ.
         ADDRESS          CURRENT  OLD    ORIZED
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 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                                                  .....
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 NET210-SUE@ELF.GOV     CB861A78 2217813A YES                                         PREVIOUS PASSWORD         '""'"
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 XAMPLE@X.COM            16F3A79 ABCDEFOl YES                                     I        ABCDEFOl       I    N
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       METHOD AND SYSTEM FOR EMBEDDED,                              system and hence to the various application programs avail-
         AUTOMATED, COMPONENT-LEVEL                                 able on the PC 102. Typically, a graphical password-entry
       CONTROL OF COMPUTER SYSTEMS AND                              window 124 is displayed on the screen 126 of the display
           OTHER COMPLEX SYSTEMS                                    monitor 108. In order to use the computer, the user types a
                                                                 5 password via the keyboard 106 into the password sub-
                    RELATED APPLICATIONS                            window 128 of the password-entry window 124. The user
                                                                    then depresses a keyboard key to indicate to a security
      This application is a continuation-in-part of co-pending      program that password entry is complete. As the user types
   U.S. application Ser. No. 09/047,975 that was filed on Mar.      the password, each letter of the password appears at the
   25,1998.                                                      10 position of a blinking cursor 130. The characters of the
                                                                    password are either displayed explicitly, or, more
                       TECHNI CAL FIELD                             commonly, asterisks or some other punctuation symbol are
      The present invention relates to control of computer          displayed to indicate the position within the password in
   systems and other types of complex systems at the compo-         which   a character is entered so that an observer cannot read
   nent level and, in particular, to a method and system for 15 the password as it is entered by the user. The security
   securing a complex system by embedding agents within one         program checks an entered password against a list of autho-
   or more components of the complex system in order to             rized passwords and allows further access to the operating
   control access to components within the complex system.          system   only when the entered password appears in the list.
                                                                    In many systems, both a character string identifying the user
             BACKGROUND OF THE INVENTION                         20 and a password must be entered by the user in order to gain
                                                                    access to the operating system.
      Computer security is a very broad and complex field              The common types of security systems displayed in FIG.
   within which, during the past several decades, a number of       1 are relatively inexpensive and are relatively easily imple-
   important sub-fields have developed and matured. These           mented and installed. They are not, however, foolproof and,
   sub-fields address the many different problem areas in 25 in many cases, may not provide even adequate deterrents to
   computer security, employing specialized techniques that         a determined thief. For example, the key 112 for the hinged
   are particular to specific problems as well as general tech-     fastening device 110 can be stolen, or the fastening device
   niques that are applicable in solving a wide range of prob-      can be pried loose with a crowbar or other mechanical tool.
   lems. The present application concerns a technique that can      A clever thief can potentially duplicate the key 112 or jimmy
   be used to prevent the theft and subsequent use of a personal 30 the lock 114. The cable 116 can be cut with bolt cutters or
   computer ("PC") or of various PC components included in,         the cylindrical combination lock 118 can be smashed with a
   or attached to, a Pc. This technique may make use of certain     hammer. Often, the combination for the cylindrical combi-
   security-related techniques which have been employed pre-        nation lock 118 is written down and stored in a file or wallet.
   viously to address other aspects of computer security, and       If that combination is discovered by a thief or accomplice to
   this technique may itself be employed to address both 35 theft, the cylindrical combination lock will be useless. In the
   computer security problems other than theft as well as           situation illustrated in FIG. 1, if the table is not bolted to the
   various aspects of computer reliability, computer                floor, a thief might only need to pick up the display monitor
   administration, and computer configuration. In addition, this    108, place it on the floor, slide the cable down the table leg
   technique may be applied to protecting other types of            to the floor, and lift the table sufficiently to slip the cable
   complex electronic and mechanical systems as well as 40 free. While this example might, at first glance, seem silly or
   computer software and other types of information encoded         contrived, it is quite often the case that physical security
   on various types of media.                                       devices may themselves be more secure than the systems in
      PCs are ubiquitous in homes, offices, retail stores, and      which they are installed, taken as a whole. This commonly
   manufacturing facilities. Once a curiosity possessed only by     arises when security devices are installed to counter certain
   a few hobbyists and devotees, the PC is now an essential 45 obvious threats but when less obvious and unexpected
   appliance for business, science, professional, and home use.     threats are ignored or not considered.
   As the volume of PCs purchased and used has increased, and          While the serial numbers 120 and 122, if not scraped off
   as PC technology has rapidly improved, the cost of PCs has       or altered by a thief, may serve to identify a PC or compo-
   steadily decreased. However, a PC is still a relatively          nents of the PC that are stolen and later found, or may serve
   expensive appliance, especially when the cost of the soft- 50 as notice to an honest purchaser of second-hand equipment
   ware installed on the PC and the various peripheral devices      that the second-hand equipment was obtained by illegal
   attached to the PC are considered. PCs, laptop PCs, and even     means, they are not an overpowering deterrent to a thief who
   relatively larger server computers have all, therefore,          intends to use a purloined PC or PC component at home or
   become attractive targets for theft.                             to sell the purloined PC to unsavory third parties.
      FIG. 1 illustrates various types of security systems com- 55     Password protection is commonly used to prevent mali-
   monly employed to prevent theft of PCs and PC compo-             cious or unauthorized users from gaining access to the
   nents. A PC 102 is mounted on a table 104 and is connected       operating system of a PC and thus gaining the ability to
   to a keyboard-input device 106 and a display monitor 108.        examine confidential materials, to steal or corrupt data, or to
   The PC 102 is physically secured to the table 104 with a         transfer programs or data to a disk or to another computer
   hinged fastening device 110, which can be opened and 60 from which the programs and data can be misappropriated.
   locked by inserting a key 112 into a lock 114. The display       Passwords have a number of well-known deficiencies.
   monitor 108 is physically attached to the table via a cable      Often, users employ easily remembered passwords, such as
   116 and cylindrical combination lock 118 system. Serial          their names, their children's names, or the names of fictional
   numbers 120 or 122 are attached to, or imprinted on, the side    characters from books. Although not a trivial undertaking, a
   of the PC 102 and the side of the display monitor 108, 65 determined hacker can often discover such passwords by
   respectively. Finally, there is a software-implemented lock      repetitive trial and error methods. As with the combination
   and key system for controlling access to the operating           for the cylindrical combination lock 118, passwords are
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   often written down by users or revealed in conversation.           fore disabled. User-level passwords are neither required nor
   Even if the operating system of the PC is inaccessible to a        provided, and the security system cannot be thwarted by
   thief who steals the PC, that thief may relatively easily          reinstalling the PC's operating system or by replacing pro-
   interrupt the boot process, reformat the hard drive, and           grammable read only memory devices that store low-level
   reinstall the operating system in order to use the stolen 5 initialization firmware for the Pc.
   computer.                                                             Alternative embodiments of the present invention include
      More elaborate security systems have been developed or          control and management of software and hardware on a
   proposed to protect various types of electrical and mechani-       pay-to-purchase or pay-per-use basis, adaptive computer
   cal equipment and to protect even living creatures. For            systems, and control and security of electrical and electro-
   example, one can have installed in a car an electronic device 10 mechanical systems other than computers. A computer sys-
   that can be remotely activated by telephone to send out a          tem may be manufactured to include various optional hard-
   homing signal to mobile police receivers. As another               ware and software components controlled by embedded
   example, late model Ford and Mercury cars are equipped             agents and initially disabled. When the purchaser of the
   with a special electronic ignition lock, which is activated by     computer system later decides to purchase an optional,
   a tiny transmitter, located within a key. As still another 15 pre installed but disabled component, the manufacturer can
   example, small, integrated-circuit identification tags can         enable the component by authorizing an associated embed-
   now be injected into pets and research animals as a sort of        ded agent upon receipt of payment from the owner of the
   internal serial number. A unique identification number is          system. Similarly, the owner of the computer system may
   transmitted by these devices to a reading device that can be       choose to rent an optional component for a period of time,
   passed over the surface of the pet or research animal to 20 and that component can then be authorized for the period of
   detect the unique identification number. A large variety of        time by the manufacturer upon receipt of payment. Software
   different data encryption techniques have been developed           may be manufactured to require authorization from a server
   and are commercially available, including the well known           via an embedded agent either located within the disk drive
   RSA public/private encryption key method. Devices have             on which the software is stored or located within the
   been built that automatically generate computer passwords 25 software itself. Computer systems may automatically adjust
   and that are linked with password devices installed within         their configuration in response to changes in workload by
   the computer to prevent hackers from easily discovering            enabling and disabling components via embedded agents.
   passwords and to keep the passwords changing at a sufficient       Finally, systems other than computers, including industrial
   rate to prevent extensive access and limit the damage              machine tools, processing equipment, vehicles, and firearms
   resulting from discovery of a single password.                  30 may be controlled and secured by embedding agents within
      While many of these elaborate security systems are imple-       one or more components included in the systems.
   mented using highly complex circuitry and software based
                                                                             BRIEF DESCRIPTION OF THE DRAWINGS
   on complex mathematical operations, they still employ, at
   some level, the notion of a key or password that is physically        FIG. 1 illustrates various types of security systems com-
   or mentally possessed by a user and thus susceptible to theft 35 monly employed to prevent theft of PCs and PC compo-
   or discovery. A need has therefore been recognized for a           nents.
   security system for protecting PCs and components of PCs              FIG.2 is a block diagram of example internal components
   from theft or misuse that does not depend on physical or           of a PC connected to a remote server.
   software implemented keys and passwords possessed by                  FIG. 3 is a block diagram of example hardware and
   users. Furthermore, a need has been similarly recognized for 40 software components and communications pathways that
   intelligent security systems to protect the software that runs     implement a single embedded agent connected to a client
   on PCs and to protect other types of complex electronic and        that is, in turn, connected to a security authorization server.
   mechanical systems, including automobiles, firearms, home             FIG. 4 is a state diagram for an example embedded agent.
   entertainment systems, and creative works encoded in media
                                                                   45    FIG. 5 is an example state diagram for the interaction of
   for display or broadcast on home entertainment systems.
                                                                      a security authorization server with one embedded agent.
                SUMMARY OF THE INVENTION                                 FIG. 6Aillustrates an example initiation of the sending of
      One embodiment of the present invention provides a              a SAVE ME message by an embedded agent.
   security system for protecting a PC and components                    FIG. 6B illustrates an example receipt of a SAVE ME
   installed in or attached to the PC from use after being stolen. 50 message by a security authorization server.
   Agents are embedded within various devices within the Pc.             FIGS. 7A-F illustrate the handshake operation that imme-
   The agents are either hardware-implemented logic circuits          diately follows receipt by an example EASS server of a
   included in the devices or firmware or software routines           SAVE ME message from an example EASS embedded agent
   running within the devices that can be directed to enable and      in the Initial Power-On Grace Period state.
   disable the devices in which they are embedded. The agents 55         FIGS. 8A-F illustrate a second example handshake opera-
   intercept communications to and from the devices into              tion that follows the original handshake operation of FIGS.
   which they are embedded, passing the communications                7A-F by some period of time less than the original autho-
   when authorized to do so in order to enable the devices, and       rization period.
   blocking communications when not authorized, effectively              FIGS. 9A-B illustrate the recovery mechanism that is
   disabling the devices. Embedded agents are continuously 60 employed by an example EASS embedded agent in the event
   authorized from a remote server computer, which is coupled         that the OK message of FIGS. 8E-F was lost and not
   to embedded agents via a communications medium, by                 received by the EASS embedded agent.
   handshake operations implemented as communications mes-
   sages. When the PC is disconnected from the communica-                          DETAILED DESCRIPTION OF THE
   tions link to the remote server, as happens when the PC is 65                               INVENTION
   stolen, the devices protected by embedded agents no longer           One embodiment of the present invention is an embedded
   receive authorizations from the remote server and are there-       agent security system ("EASS") for protecting a PC, and,
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   m?re particularly, the internal components of a PC, from             is connected to the PC 204 via a connection 206 that
   mIsuse or misappropriation. The EASS includes a server               represents a local area network which is possibly itself
   component, one or more embedded agents, and, optionally,             connected to a wide area network and which supports one of
   a client component The server component is a centralized             any number of common network protocols or combinations
   repository and control point that provides authorizations to 5 of protocols to transfer messages back and forth between the
   agents embedded within PC components and connected to                server component 202 and the PC 204. Messages may be
   the server component via a communications connection. The            transmitted, for example, via the Internet. The PC 204 is
   server authorizations allow the embedded agents to enable            connected   to an external output device, in this case a display
   operation of the components within which the embedded                monitor 208, and to two input devices, a mouse 210 and a
   agents reside for a period of time. The server component 10 keyboard 212. Internal components of the PC include a
   runs on a separate server computer, which is connected by            central processing unit ("CPU") 214; a random access
   a communications medium to the Pc. An embedded agent is              memory 216; a system controller 218; a hard disk 220; and
   embedded as a logic circuit within the circuitry that controls       a number of device controllers 222, 224, 226, 228, and 230
   operation of an internal component of the PC or is embedded          connected    to the system controller 218 directly through a
   as a firmware or software routine that runs within the 15 high speed bus 232, such as a PCI bus, or through a
   internal component of the Pc. The client component, when             combination of the high speed bus 232, a bus bridge 234,
   present, runs as a software process on the Pc. The client            and a low speed bus 236 such as an ISA bus. The CPU 214
   component of the EASS primarily facilitates communica-               is connected to the system controller 218 through a special-
   tions between the server component and the various embed-            ized CPU bus 238 and the RAM memory 216 is connected
   ded agents. For example, when multiple embedded agents 20 to the system controller 218 through a specialized memory
   are included in the PC, the client component may serve as            bus 240. FIG. 2 represents one possible simple configuration
   a distribution and collection point for communications               for the internal components of a Pc. PCs having different
   between the server component and the multiple embedded               numbers or types of components or employing different
   agents.                                                              connection    mechanisms other than PCI or ISA buses may
                                                                     25 have quite different internal configurations.
      Because embedded agents enable operation of the internal
   components in which they are embedded, and because                      The device controllers 222, 224, 226, 228, and 230 are
   embedded agents require frequent authorizations from the             normally    implemented as printed circuit boards, which
   server component in order to enable the internal                     include  one   or more application specific integrated circuits
   components, if the communications connection between the             C;\SICs") 242, 244, 246, 248, and 250. The ASICs, along
   server component and an embedded agent is broken, the 30 wIth firmware that is normally contained in various types of
   internal component in which the embedded agent resides               ROM memory on the printed circuit boards, implement both
   will be disabled when the current period of authorization            a communications bus interface and a command interface.
   expires. The communications connection between the server            The   communications bus interface allows for data and
   and all embedded agents within the PC will be broken when            message   communication with operating system routines that
   the PC is powered down or disconnected from the external 35 run on the CPU 214. The command interface enables the
   communications medium by which the PC is connected to                operating system to control the peripheral device associated
   the server. Thus, any attempt to steal the PC will result in the     with the device controller. For example, the hard disk 220
   theft of a PC that will not be operable once the current period      comprises a number of physical platters on which data is
   of authorization expires. In order to subsequently operate the       stored as tiny magnetized regions of the iron oxide surface
   PC, the thief would need to reconnect the PC to the server 40 of the platters (not shown), a motor for spinning the platters
   and invoke either client or server utilities to reinitialize the     (not shown), and a printed circuit board 228 which imple-
   embedded agents. These utilities are themselves protected            ments circuitry and firmware routines that provide a high-
   by password mechanisms. The thief cannot circumvent the              level interface to operating system drivers. In modern disks,
   embedded agents by reinstalling the operating system or by           there is often a printed circuit board that includes an ASIC
   replacing programmable read only memories ("PROMs"). 45 that is packaged within the disk as well as a printed circuit
   The stolen PC is therefore essentially worthless to the thief,       board card that is connected via a bus to other internal
   and, perhaps more important, the data stored within the PC           components of the PC, including the system controller 218
   is inaccessible to the thief as well as to any other party.          and the CPU 214.
                                                                           Programs that run on the CPU 214, including the oper-
      Certain implementations of this embodiment may rely on
                                                                        ating system and the EASS client, are permanently stored on
   one or more internal password identification mechanisms. 50
                                                                        a hard disk 252 and are transiently stored in RAM 254 for
   However, unlike the other well-known security systems
                                                                        execution by the CPU 214. Logic circuitry that implements
   discussed above, the user of a PC protected by the EASS
                                                                        the embedded agents of the EASS is included within the
   does not need to possess a password and is, in fact, not
                                                                        ASICs that implement the various device controllers 242
   allowed to know or possess the passwords used internally
                                                                        244, 246, 248, and 250. The device controller may control
   within the EASS.                                                  55
                                                                        such devices as optical disk devices, tape drives, modems,
      In a preferred implementation of this embodiment, the             and other data sources and communications devices. EASS
   server and client components are implemented in software             embedded agents can be additionally included within the
   and the embedded agents are implemented as hardware logic            circuitry that implements RAM 216, the system controller
   circuits. However, all three of these components may be 60 218, and even the CPU 214. One skilled in the art will
   implemented either as software routines, firmwave routines,          recognize that any circuit in which communications can be
   hardware circuits, or as a combination of software firmware          intercepted may reasonably host an embedded agent and that
   and hardware.                                       '           ,    many other locations may therefore host embedded agents.
                                                                        Further, a PC 204 may include only a single embedded agent
           EASS Hardware and Software Configuration
                                                                     65 or may include a number of EASS embedded agents.
      FIG. 2 is a block diagram of example internal components             FIG. 3 is a block diagram of example hardware and
   of a PC connected to a remote server. The remote server 202          software components and communications pathways that
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   implement a single embedded agent connected to a client             medium based on transmission of optical or radio signals
   which is, in turn, connected to a security authorization            rather than on electrical signals. Moreover, alternate
   server. In one embodiment, the EASS embedded agent 302              embodiments may employ multiple EASS servers that may
   is a logic circuit embedded within an ASIC 304 which is             be implemented on remote computers or that may be
   included on a printed circuit board 306 that implements a 5 included within the same computer that hosts the EASS
   particular device controller. The device controller is con-         embedded agents.
   nected through one or more internal communications buses
   308 to an EASS client program 310 implemented as a driver                     EASS Server and Embedded Agent State
   within the operating system 312 running on the CPU 314 of                                       Transitions
   the personal computer. The CPU 304 is, in turn, connected 10           FIG. 4 is a state diagram for an example embedded agent.
   through one or more internal buses, such as a PCI bus, and          FIG. 4 shows four different states that an EASS embedded
   external communication lines, such as a LAN or a LAN                agent may occupy: (1) an Initial Power-On Grace Period
   combined with a WAN 316, to the server computer 318. The            state 402; (2) a Power-On Grace Period state 404; (3) an
   components of the server computer that implement the
                                                                       Authorized state 406; and (4) a Not Authorized state 408.
   EASS server include an EASS server program 320 and a
   non-volatile storage device 322 in which the EASS server 15 Transitions between these states arise from three types of
   program 320 stores authorization and embedded agent infor-          events: (1) a successful handshake between the embedded
   mation. The EASS server program 320 exchanges informa-              agent and the EASS server that results in transfer of an
   tion with the non-volatile storage device 322 via internal          authorization by the EASS server to the embedded agent to
   buses 324 of the server computer 318. There are a variety of        permit operation of the device associated with the EASS
   ways in which the embedded agent and authorization infor- 20 embedded agent for some period of time; (2) a time out that
   mation can be stored by the EASS server 320 on the                  occurs when the EASS embedded agent has exhausted its
   non-volatile storage device 322. In one implementation of           current authorization period prior to receiving a subsequent
   the described embodiment, this data is stored within a              re-authorization from the EASS server; and (3) a special
   commercial database management system, such as a rela-              back-door mechanism that allows an entity such as the
   tional database.                                                 25 EASS client to reinitialize an EASS embedded agent so that
      Messages and commands that are passed to the device              the EASS embedded agent can reestablish contact with an
   controller 306 for a particular internal or peripheral device       EASS server following interruption of a previous connec-
   over the communications bus 308 first pass through the              tion.
   EASS embedded agent logic 302 before entering the ASIC                 Following an initial power up 410 of the device hosting an
   circuitry 304 that implements the device controller. The 30 EASS embedded agent, the EASS embedded agent enters an
   EASS embedded agent 302 is associated with a number of              Initial Power-On Grace Period 402. The Initial Power-On
   non-volatile registers 326 that store authorization state infor-    Grace Period allows operation of the device controlled by
   mation. When the embedded agent has been authorized by              the EASS embedded agent for some short period of time
   an EASS server 320, or during a short grace period follow-          following power up of the PC necessary for initialization of
   ing power up, the EASS embedded agent passes messages 35 the PC that contains the device and embedded agent and
   and commands through to the ASIC 304 that implements                allows for establishment of contact between the EASS
   normal message handling and the device controller.                  embedded agent and an EASS server. When in the Initial
   However, when the EASS embedded agent 302 is not                    Power-On Grace Period 410, the EASS embedded agent
   authorized by the EASS server 320, or when an initial               contains one of a certain number of initial passwords that are
   power-on grace period has expired, the EASS embedded 40 recognized by EASS servers as belonging to EASS embed-
   agent blocks messages and commands to the ASIC 304                  ded agents in the Initial Power-On Grace Period. These
   thereby disabling the device controlled by the device con-          initial passwords allow an EASS server to distinguish a valid
   troller 306. The EASS embedded agent thus serves as a               request for handshake operation from an attempt to solicit
   hardware-implemented control point by which a device is             authorization by an embedded agent that has been previ-
   enabled or disabled. Authorization messages pass from the 45 ously authorized by an EASS server. In the latter case, the
   EASS server 320 through communications pathways 316                 embedded agent may well be hosted by a stolen or misused
   and 308 to the EASS embedded agent 302. The EASS                    device. From the Initial Power-On Grace Period state, the
   embedded agent 302 can also initiate a message and pass the         EASS embedded agent may send a solicitation message, for
   message through pathways 308 and 316 to the EASS server             example, a "SAVE ME" message to an EASS server to
   320. For example, the EASS embedded agent 302 may 50 announce that the EASS embedded agent has been powered
   request authorization from the EASS server 320.                     up for the first time, as indicated by transition arrow 412, and
      In the described embodiment, the EASS client 310 facili-         to solicit a handshake operation. Sending of the SAVE ME
   tates communications between the EASS server 320 and the            solicitation message does not, by itself, cause a state tran-
   EASS embedded agent 302. When a PC includes more than               sition. When an EASS server receives a SAVE ME message
   one EASS embedded agent, the EASS client 310 handles 55 from an EASS embedded agent, the EASS server undertakes
   routing of messages from the EASS server 320 to individual          sending of an authorization to the EASS embedded agent
   EASS embedded agents 302 and collects any messages                  through a handshake mechanism, to be described below. The
   initiated by EASS embedded agents 302 and forwards them             handshake may either fail or succeed. If a handshake fails,
   to the EASS server 320. In addition, the EASS client 310            the EASS embedded agent remains in the state that it
   may support a small amount of administrative functionality 60 occupied prior to initiation of the handshake.
   on the PC that allows the EASS to be reinitialized in the              When an EASS embedded agent is in the Initial Power-On
   event of loss of connection or power failure. The EASS              Grace Period, a successful handshake operation results in the
   client 310 may not be a required component in alternative           EASS embedded agent transitioning 414 to an Authorized
   embodiments in which an EASS server 320 communicates                state 406. At regular intervals, the EASS server continues to
   directly with EASS embedded agents 302.                          65 reauthorize the EASS embedded agent through successive
      In alternative embodiments, the EASS server may com-             handshake operations 416 which result in the EASS embed-
   municate with EASS embedded agents by a communications              ded agent remaining in the Authorized state 406. In the
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   Authorized state 406, the EASS embedded agent passes               With respect to an EASS embedded agent, the EASS server
   through commands and data to the device that it controls           may occupy anyone of three states at a given instant in time:
   allowing that device to operate normally. If, for any number       (1) the EASS server may be in an Ignorant of Agent state
   of reasons, the EASS embedded agent does not receive               502; (2) the EASS server may be in a Knowledgeable of
   reauthorization prior to the expiration of the current autho- 5 Agent state, aware of but not having authorized the agent
   rization that the embedded agent has received from an EASS         504; and (3) the EASS server may be in an Agent Authorized
   server, a time out occurs causing transition 418 of the EASS       state 506. Initially, an EASS server is ignorant of the
   embedded agent to the Not Authorized state 408.                    embedded agent, and thus occupies the Ignorant of Agent
      In the Not Authorized state 408, the EASS embedded              state 502. When the EASS server receives a SAVE ME
   agent blocks commands and data from being transmitted to 10 message from the EASS embedded agent that is in the Initial
   the device controlled by the EASS embedded agent, effec-           Power-On Grace Period state (402 in FIG. 4), the EASS
   tively disabling or shutting down the device. Alternatively,
                                                                      server transitions 508 from the Ignorant of Agent state 502
   the EASS embedded agent may actually power down a
                                                                      to the Knowledgeable of Agent state 504. As part of this
   device that can be powered down independently from other
   internal components of the Pc. When in the Not Authorized          transition, the EASS server typically makes an entry into a
   state 408, the EASS embedded agent may send a SAVE ME 15 database or enters a record into a file that allows the EASS
   message 420 to an EASS server. Sending of this message             server to preserve its awareness of the EASS embedded
   does not, by itself, cause a state transition, as indicated by     agent. The EASS server may receive SAVE ME messages
   arrow 420. However, if an EASS embedded agent receives             from the EASS embedded agent when occupying either the
   the SAVE ME message and initiates a handshake operation            Knowledgeable of Agent state 504 or the Agent Authorized
   that is successfully concluded, the EASS embedded agent 20 state 506. As indicated by arrows 510 and 512, receipt of
   transitions 422 from the Not Authorized state 408 back to the      SAVE ME messages by the EASS server in either of states
   Authorized state 406.                                              504 and 506 does not, by itself, cause a state transition.
      The EASS embedded agent and the device that the EASS               The EASS server may initiate and complete a successful
   embedded agent controls can be powered up any number of            handshake operation with the EASS embedded agent while
   times following an initial power up. The EASS embedded 25 the EASS server occupies the Knowledgeable of Agent state
   agent stores enough information in a number of non-volatile        504 with respect to an agent. Completion of a successful
   registers associated with the EASS embedded agent (e.g.,           handshake operation causes the EASS server to transition
   registers 326 in FIG. 3) to differentiate a normal or non-         514 from the Knowledgeable of Agent state 504 to the Agent
   initial power up from an initial power up. Following a             Authorized state 506 with respect to the agent. This transi-
   non-initial power up 424, the EASS embedded agent tran- 30 tion may be accompanied by the saving of an indication in
   sitions 426 to a Power-On Grace Period state 404. When             a database or a file by the EASS server that indicates that the
   occupying the Power-On Grace Period state 404, the EASS            embedded agent is authorized for some period of time.
   embedded agent may send a SAVE ME message to an EASS               When occupying the Agent Authorized state, the EASS
   server. The sending of the SAVE ME message 428 does not,           server may continue to initiate and complete successful
   by itself, cause a state transition, as indicated by arrow 428. 35 handshake operations with the embedded agent and, by
   The Power-On Grace Period lasts a short period of time             doing so, continue to occupy the Agent Authorized state.
   sufficient for the PC to be booted and all of the internal         However, if a handshake operation is unsuccessful, the
   components to be initialized and for the EASS embedded             EASS server transitions 518 from the Agent Authorized state
   agents controlling those components to establish contact           506 back to the Knowledgeable of Agent state 504.
   with an EASS server. If an EASS server, upon receiving the 40
   SAVE ME message, successfully completes a handshake                   In some embodiments of the present invention, there may
   operation, the EASS embedded agent transitions 430 from            be  an additional transition 520 from the Knowledgeable of
   the Power-On Grace Period 404 to the Authorized state 406.         Agent state 504 back to the Ignorant of Agent state 502. This
   If a successful handshake operation is not completed before        transition corresponds to a purging or cleaning operation
   the short Power-On Grace Period authorization period               that allows an EASS server to purge database entries or file
                                                                   45 records corresponding to a particular EASS embedded agent
   expires 432, the embedded agent transitions 432 from the
   Power-On Grace Period 404 to the Not Authorized state 408.         if the EASS server is unsuccessful in authorizing that EASS
                                                                      embedded agent for some period of time. Such a purging
      A special mechanism is provided for reinitialization of an
                                                                      operation allows the EASS server to make room in a
   EASS embedded agent following normal power on. That
                                                                      database or file to handle subsequent entries for EASS
   mechanism is referred to as the "back door" mechanism. The
                                                                   50 embedded agents that announce themselves using SAVE ME
   back door mechanism may be initiated, at the direction of a
                                                                      messages from an Initial Power-On Grace Period state.
   user or administrator, by an EASS client running on the
   same PC that includes the embedded agent, or may be                                        EASS Messages
   initiated by an EASS server upon discovery by the EASS
   server of a failed or interrupted connection. When the EASS 55        FIGS. 6A-9B illustrate details of the sending and receiv-
   embedded agent receives a message that implements the              ing of SAVE ME messages and of the EASS server-initiated
   back door mechanism, the EASS embedded agent transi-               handshake operation. In each of these figures, example
   tions 434 from the Power-On Grace Period 404 back to the           contents of the non-volatile registers associated with an
   Initial Power-On Grace Period 402. In alternative                  EASS embedded agent, contents of a message, and contents
   embodiments, the back door mechanism might allow for 60 of a portion of the database associated with an EASS server
   transitions from either of the other two states 406 and 408        are shown. FIG. 6A will be numerically labeled and
   back to the Initial Power-On Grace Period state. In more           described in the discussion below, but the labels will be
   complex embodiments, the back door mechanism might                 repeated in FIGS. 6B-9B only when the labels are relevant
   allow for transitions to states other than the Initial Power-On    to an aspect of the EASS in the figure referenced in the
   Grace Period.                                                   65 discussion of the figure.
      FIG. 5 is an example state diagram for the interaction of          FIG. 6Aillustrates initiation of the sending of a SAVE ME
   a security authorization server with one embedded agent.           message by an EASS embedded agent. The EASS embedded
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                                11                                                                  12
   agent 602 is associated with three non-volatile registers that         FIG. 6B illustrates receipt of a SAVE ME message by an
   contain: (1) the current password 604; (2) the previous             EASS server. In this case, the EASS server 616 was, prior
   password 606; and (3) the time remaining for the current            to receipt of the SAVE ME message, in the Ignorant of Agent
   authorization period 608. Passwords may comprise com-               state (502 of FIG. 5) with respect to the EASS embedded
   puter words of 56 bits, 64 bits, or a larger number of bits that 5 agent 602. Receipt of the SAVE ME message 612 causes the
   provide a sufficiently large number of unique initial pass-         EASS server 616 to transition to the Knowledgeable of
   words. The direction of propagation of the SAVE ME                  Agent state (504 of FIG. 5). In making this transition, the
   message is indicated by arrow 610. The SAVE ME message              EASS server 616 enters information gleaned from the SAVE
   612 being transmitted is displayed along with its informa-          ME message 612 into row 632 of the database 618 associ-
   tional content 614. The EASS server 616 contains a repre- 10 ated with the EASS server 616. The address from which the
   sentation of a portion of a database that contains information      message was received can be determined from fields con-
   about EASS embedded agent authorizations 618. This data-            tained within a message header (not shown in FIG. 6B). This
   base contains columns that indicate the communications or           address may be the communications address of an individual
   network address of the EASS embedded agent 620, the                 EASS embedded agent, a combination of the communica-
   EASS embedded agent's current password 622, the EASS                tions address of the client and an internal identification
   embedded agent's previous password 624, and an indication 15
                                                                       number of the device hosting the EASS embedded agent, or
   of whether the EASS embedded agent is currently autho-
                                                                       some other unique identifier for the EASS embedded agent
   rized or not 626. Additional or alternative columns may be
   present. For example, the next column 628 is used in                that can be mapped to a communications address. The
   subsequent figures to store the amount of time for which the        details of the formats of message headers are specific to the
   EASS embedded agent is authorized. Each row in the 20 particular types of communications mechanisms and imple-
   database 630--633 represents one particular EASS embed-             mentations. In this example, the addresses are stored as
   ded agent. Rows 630 and 631 contain information for                 Internet addresses. The stored Internet address is the address
   previously authorized EASS embedded agents (not shown).             of the EASS client running on the PC in which the EASS
   EASS embedded agent 602 of FIG. 6A is in the Initial                embedded agent is resident. This address may be enhanced
   Power-On Grace Period state (402 of FIG. 4) and the EASS 25 by the EASS server 616 by the addition of characters to the
   server 616 of FIG. 6Ais, with respect to the embedded agent         address or sub fields within either the address or in the
   602, in the Ignorant of Agent state (502 of FIG. 5). Rect-          message header to provide sufficient information for the
   angular inclusions 634 and 636 represent the implementa-            receiving EASS client to identify the particular EASS
   tion of, and any volatile storage associated with, the EASS         embedded agent to which the message is addressed.
   embedded agent and the EASS server, respectively.                30 Alternatively, a different address might be established for
      In one embodiment, when the EASS embedded agent 602              each EASS embedded agent or an internal address field
   is in the Initial Power-On Grace Period, it has an initial time     might be included in each message sent from the EASS
   remaining period of two minutes, as indicated by the con-           server to an EASS client that further specifies the particular
   tents of the time remaining non-volatile register 608. This         EASS embedded agent to which the message is addressed.
   initial time remaining period is chosen to be sufficient for the 35 Thus, receipt of the SAVE ME message has allowed the
   EASS embedded agent 602 to establish a connection with              EASS server 616 to store the address "example@x.com"
   the EASS server 616, to solicit a handshake operation, and          632 to identify the EASS embedded agent 602 from which
   to complete the solicited handshake operation and may vary          the message was received, to store the current and previous
   in duration for different types of computers. Both the current      passwords 644 and 646 taken from the received SAVE ME
   password register 604 and the previous password register 40 message 612, and to store an indication that the EASS
   606 contain a default initial password that is recognized by        embedded agent 602 is not authorized 648.
   EASS servers as corresponding to an EASS embedded agent                FIGS. 7A-F illustrate the handshake operation that imme-
   in the Initial Power-On Grace Period state. It should be noted      diately follows receipt by an example EASS server of a
   that there may be a great number of different such default          SAVE ME message from an example EASS embedded agent
   passwords. In the described embodiment, the circuitry that 45 in the Initial Power-On Grace Period state. The handshake
   implements the EASS embedded agent notes that the autho-            operation is initiated, as shown in FIG. 7A, by the EASS
   rization time remaining is two minutes, and that it is              server 702. The EASS server 702 generates a new, non-
   therefore necessary for the EASS embedded agent 602 to              initial password for the EASS embedded agent 704 and
   send a SAVE ME message 612 to an EASS server to request             stores the new password in volatile memory 706. The EASS
   continuation of authorization. Thus, the EASS embedded 50 server then sends an authorization message 708, for example
   agent 602 initiates sending of the SAVE ME message 612.             an "AUTHORIZE" message, to the EASS embedded agent
      The SAVE ME message 612 contains an indication or                704 that contains the newly generated password 710 along
   operation code 638 designating the message as a SAVE ME             with an indication 712 that this is an AUTHORIZE message.
   message, the contents of the current password register 640,            FIG. 7B illustrates receipt of an example AUTHORIZE
   and the contents of the previous password register 642. In 55 message by an example EASS embedded agent. The EASS
   the case of an EASS embedded agent in the Initial Power-On          embedded agent 704 stores the newly generated password
   Grace Period state, both the current password and previous          710 contained in the AUTHORIZE message 708 into a
   password registers contain the same initial password in the         volatile memory location 714 implemented in the circuitry
   present embodiment. Alternative embodiments might use               of the EASS embedded agent 704.
   different initial current and previous passwords. In general, 60       FIG. 7C illustrates sending, by an example EASS embed-
   sending both the current password and the previous pass-            ded agent, of an authorization confirmation message, for
   word provides sufficient information for the EASS server            example a "CONFIRM AUTHORIZATION" message. The
   that receives the SAVE ME message to correct any errors or          EASS embedded agent 704 sends a CONFIRM AUTHO-
   discrepancies that may have arisen during a previous failed         RIZATION message 716 back to the EASS server 702 from
   handshake. An example of a recovery from a failed hand- 65 which an AUTHORIZE message was received. The CON-
   shake operation will be described below with reference to           FIRM AUTHORIZATION message 716 contains the new
   FIGS.9A-B.                                                          password sent in the previous AUTHORIZE message by the
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                                                       US 6,249,868 Bl
                                13                                                                 14
   EASS server 718 as well as the contents of the current            message 804. The EASS embedded agent receives the
   password register 720. The CONFIRM AUTHORIZATION                  AUTHORIZE message 804 and stores the newly generated
   message confirms receipt by the EASS embedded agent 704           password in memory 806. The EASS embedded agent 805
   of the AUTHORIZE message 708.                                     then sends a CONFIRM AUTHORIZATION message 808
                                                                   5 back to the EASS server 801 containing both the newly
      FIG. 7D illustrates receipt of the CONFIRM AUTHORI-
   ZATION message 716 by an example EASS server. The                 generated password 810 and the contents of the current
   EASS server 702 updates the current password and previous         password     register 812. Upon receipt of the CONFIRM
   password 722 and 724 within the associated database 726 to        AUTHORIZATION message 808, the EASS server 801
   reflect the contents of the CONFIRM AUTHORIZATION                 updates the database entries for the current and previous
   message 716 after checking to make sure that the new 10 passwords 814 and 816 and then sends an OK message 818
   password returned in a CONFIRM AUTHORIZATION                      back to the EASS embedded agent 805 that contains the new
   message is identical to the in-memory copy 706 of the new         password and the new time period 809 for which the EASS
   password. If the new password contained in the CONFIRM            embedded agent 805 will be authorized. After sending the
   AUTHORIZATION message is different from the new pass-             OK message 818, the EASS server 801 updates the database
                                                                  15 to reflect the new time of authorization 820 and, upon receipt
   word stored in memory 706, then the handshake operation
   has failed and the EASS server 702 undertakes a new               of the OK message by the embedded agent, the non-volatile
   handshake operation with the EASS embedded agent 704.             registers of the EASS embedded agent are updated to reflect
                                                                     the new current password and the now previous password,
      FIG. 7E illustrates sending by the EASS server of a            822 and 824, respectively.
   completion message, for example an "OK" message, in
                                                                  20    FIGS. 9A-B illustrate the recovery mechanism that is
   response to receipt of the CONFIRM AUTHORIZATION
                                                                     employed by an example EASS embedded agent in the event
   message in order to complete the handshake operation. The
                                                                     that the OK message of FIGS. 8E-F was lost and not
   EASS server 702 prepares and sends an OK message 728
                                                                     received by the EASS embedded agent. In this case, the time
   that contains both the new password and an indication of the
                                                                     remaining continues to decrease and the EASS embedded
   time for which the EASS embedded agent 704 will be
                                                                  25 agent 902 determines from the time remaining register 904
   authorized upon receipt of the OK message.
                                                                     that sending of a SAVE ME message 906 is necessary to
      FIG. 7F illustrates receipt of the OK message 728 by an        initiate another handshake operation. Because the final OK
   example EASS embedded agent. Once the EASS server 702             message 818 is not received by the EASS embedded agent
   has sent the OK message, the EASS server 702 updates the          902, the values of the current password register 908 and the
   database 726 to indicate that the client is authorized 729 as 30 previous password register 910 have not been updated and
   well as to store an indication of the time 730 for which the      are the same as the values that were established as a result
   EASS embedded agent has been authorized. At this point,           of the first authorization, as shown in FIG. 7F. However, the
   the EASS server 702 has transitioned from the Knowledge-          EASS server 912 has updated its internal database 914 to
   able of Agent state (504 in FIG. 5) to the Agent Authorized       indicate the new password generated during the previous
   state (506 in FIG. 5). Upon receipt of the OK message 728, 35 handshake operation 916. Thus, the EASS server database
   the EASS embedded agent 704 updates the current password          914 does not reflect the actual state of the EASS embedded
   register 720 to reflect the new password sent to the EASS         agent 902. However, when the EASS server 912 receives the
   embedded agent in the original AUTHORIZE message 708              SAVE ME message 906, the EASS server 912 can imme-
   after placing the contents of the current password register       diately determine that the previous handshake operation did
   720 into the previous password register 732. The EASS 40 not successfully complete and can update the current pass-
   embedded agent 704 also updates the time remaining reg-           word entry and the previous password entry 916 and 918 in
   ister 734 to reflect the authorization time 736 contained in      the associated database 914 to reflect the actual current state
   the received OK message. At this point, the EASS embedded         of the EASS embedded agent 902. Thus, upon receipt of the
   agent transitions from the Initial Power-On Grace Period          SAVE ME message, the EASS server and the EASS embed-
   state (402 in FIG. 4) to the Authorized state (406 in FIG. 4). 45 ded agent are again synchronized, and the EASS server can
      If the handshake operation fails after sending of the OK       initiate a new handshake operation to reauthorize the EASS
   message by the EASS server to the EASS embedded agent,            embedded agent.
   but prior to reception of the OK message by the EASS                 The above-illustrated and above-described state diagrams
   embedded agent, the connection between the EASS embed-            and message passing details represent one of many possible
   ded agent and the EASS server can be reestablished and 50 different embodiments of the present invention. A different
   authorization reacquired by the sending by the EASS               communications protocol with different attendant state dia-
   embedded agent of a SAVE ME message to the EASS server.           grams and messages can be devised to accomplish the
   The SAVE ME message will contain, as the current                  authorization of EASS embedded agents by EASS servers.
   password, the value that the BASS server has stored as the        Depending on the communications pathways employed,
   previous password. From this, the EASS server can deter- 55 different types of messages with different types of fields and
   mine that the previous handshake operation failed, can            different types of header information may be employed.
   update the database to reflect the state prior to the failed      Moreover, the EASS embedded agent may contain addi-
   handshake operation, and can then reinitiate a new hand-          tional non-volatile registers and may maintain different
   shake operation.                                                  values within the associated non-volatile registers. As one
      FIGS. 8A-F illustrate a second handshake operation that 60 example, rather than passing passwords, both the EASS
   follows the original handshake operation by some period of        server and each EASS embedded agent may contain linear
   time less than the original authorization period. By under-       feedback registers that electronically generate passwords
   taking additional handshake operations, the EASS server           from seed values. The communications protocols between
   801 continues to initiate handshake operations to maintain        the EASS server and the EASS embedded agents could
   the EASS embedded agent 805 in the Authorized state (406 65 ensure that, during transition from the Initial Power-On
   in FIG. 4). The EASS server 801 generates a new, non-initial      Grace Period state, the EASS embedded agent receives an
   password 802 and sends this password in an AUTHORIZE              initial seed for its linear feedback register that is also used
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                                                             US 6,249,868 Bl
                               15                                                                16
   by the EASS server for the EASS server's linear feedback        because the EASS embedded agents will power up to the
   register. Rather than passing passwords, both the EASS          Power-On Grace Period state, rather than the Initial Power-
   embedded agents and the EASS servers can depend on              On Grace Period state. The passwords sent to the different
   deterministic transitions of their respective linear feedback   EASS server will therefore not be identified as initial
   registers to generate new, synchronized passwords at each 5 passwords. The different EASS server may then notify a
   authorization point.                                            centralized management or administrative facility of the
      A clever thief who has stolen a PC, who has managed to       fraudulent attempt to connect along with the network
   discern the need to establish connections between EASS          address from which the attempt was made. An attempt to
   embedded agents and an EASS server, and who possesses           connect to the same EASS server will also fail, because the
   the necessary passwords to gain entry to client and server 10 address of the EASS embedded agents within the PC will
   utilities that enable a connection between an EASS client       have changed.
   and an EASS server to be initialized, will still fail to
   overcome the EASS and may, in fact, broadcast the location                     Pseudo-Code Implementation
   and use of the stolen PC to the EASS. A different EASS
   server to which a connection is attempted will immediately 15      A pseudo-code example implementation of an example
   detect the attempt by the thief to connect the stolen PC to the EASS server and EASS embedded agent is given below.
   EASS server by detecting non-initial passwords in the SAVE      Although the EASS embedded agent will normally be
   ME message sent by the EASS embedded agent in order to          implemented as a logic circuit, that logic circuit will imple-
   solicit a handshake operation. The reconnection attempt will    ment in hardware the algorithm expressed below as pseudo-
   be readily discernible to a security administrator using 20 code. Software and firmware implementations of the EASS
   utilities provided to display database contents on the EASS     embedded agent may, in addition, represent alternate
   server. Connection to a different EASS server will fail         embodiments of the present invention.



                                      enum MSG_TYPE {AUTHORIZE, CONFIRM_AUTHORIZE, OK, SAVE_ME, DEVICE};
                               2
                               3      enum ERRORS {QUEUED_AND_SAVE_ME, MULTIPLE_OKS_LOST ALARM,
                               4                  CONFIRM_AUTHORIZE_SYNC, NO_ENTRY, QUEUE_ERROR};
                               5
                                      type PASSWORD;
                               7      type ADDRESS;
                               8      type TIME;
                               9
                               10     const TIME initGrace ~ 2:00;
                               11     const TIME saveMe ~ 0 :20;
                               12
                               13     class Error
                               14
                               15            Error (int err, ADDRESS add);
                               16
                               17
                               18     class DeviceMessage
                               19     {
                               20            Device Message ( );
                               21
                               22
                               23     class Device
                               24
                               25            Device ( );
                               26            Void      enable ( );
                               27            Void      disable ( );
                               28            Void      send (Device Message & dvmsg);
                               29            Bool      receive (Device Message & dvmsg);
                               30
                               31
                               32     class Timer
                               33
                               34            timer (TIME t);
                               35            void set (TIME t);
                               36
                               37
                               38     class TimerInterrupt
                               39 {
                               40            TimerInterrupt ( );
                               41
                               42
                               43     class TimeServer
                               44
                               45            TimeServer ( );
                               46            TIME nextAuthorizationPeriod (Address add);
                               47
                               48
                               49     class Messages
                               50     {
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                                                                    US 6,249,868 Bl
                                         17                                                                       18
                                                           -continued
   51           Messages( );
   52           Baal    getNext ( );
   53           MSG_TYPE      getType ( );
   54           PASSWORD      getNewPassword ( );
   55           PASSWORD      getCurrentPassword ( );
   56           PASSWORD      getPreviousPassword ( );
   57           TIME    getTime ( );
   58           ADDRESS       getAddress ();
   59           Baal    sendAuthorize (PASSWORD npwd, ADDRESS add);
   60           Baal    sendConfirmAuthorize (PASSWORD npwd, PASSWORD cpwd, ADDRESS add);
   61           Baal    sendOK (Time t, PASSWORD npwd, ADDRESS add);
   62           Baal    sendSaveMe (PASSWORD cpwd, PASSWORD ppwd, ADDRESS add);
   63
   64
   65    class AgentMessages:Messages
   66    {
   67           DeviceMessage & getDeviceMsg ( );
   68           Baal sendDeviceMsg (DeviceMessage & msg);
   69
   70
   71    class Passwords
   72
   73           Passwords ( );
   74           Baal     initialPassword (PASSWORD pwd);
   75           PASSWORD         generateNewPassword ( );
   76           void     queue(ADDRESS add, PASSWORD npwd, PASSWORD ppwd);
   77           Baal     dequeue (ADDRESS add, PASSWORD & npwd, PASSWORD & ppwd);
   78
   79
   80    class Database
   81
   82           Database( );
   83           Baal     newAgent (ADDRESS add, PASSWORD cur, PASSWORD prey, Bod authorized,Time t);
   84           Baal     updateAgent (ADDRESS add, PASSWORD cur, PASSWORD prey, Baal authorized, Time t);
   85           Baal     retrieveAgent (ADDRESS add, PASSWORD & cur, PASSWORD & prey, Baal & Authorized,
   86                                         TIME & t);
   87           Baal     deleteAgent (ADDRESS add);
   88
   89
   90    agent (PASSWORD current, PASSWORD previous)
   91    {
   92           PASSWORD tpwd;
   93           Timer time (init, Grace);
   94           AgentMessages msg ( );
   95           Device dv ( );
   96           DeviceMessage dvmsg ( );
   97           Baal authorized ~ FALSE;
   98           Baal enabled ~ TRUE;
   99
   100              do
   101              {
   102                     try
   103                     {
   104                           while (msg.getNext ( ))
   105                           {
   106                               switch (msg.getType ( ))
   107                               {
   108                                    case AUTHORIZE:
   109                                         tpwd ~ msg.getNewPassword ( );
   110                                         msg.sendConfirmAuthorize    (tpwd, current, msg.getAddress ( ));
   111                                         break;
   112                                    caseOK:
   113                                         if (tpwd ~~ msg.getNewPassword ( ))
   114                                         {
   115                                              time.set (msg.getTime ( ) - saveMe);
   116                                              authorized ~ TRUE;
   117                                              previous = current;
   118                                              current = tpwd;
   119                                              if (!enabled)
   120                                              {
   121                                                     dv.enable ( );
   122                                                     enabled ~ TRUE;
   123
   124
   125                                         break;
   126                                    caseDEVICE:
   127                                         if (enabled) dv.send (msg.getDeviceMsg ( ));
   128                                         break;
   129                                    default;
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                                                                          US 6,249,868 Bl
                                           19                                                                       20
                                                              -continued
   130                                            break;
   131
   132
   133                          while (dv.receive (dvmsg))
   134                          {
   135                                 if (enabled) msg.sendDeviceMsg (dvmsg);
   136
   137                   }
   138                   catch (Timer Interrupt)
   139                   {
   140                          if (authorized)
   141                          {
   142                                 authorized ~ FALSE;
   143                                 msg.sendSaveMe (current, previous, msg.getAddress ( ));
   144                                 time. set (saveMe);
   145
   146                   else
   147
   148     enabled ~ FALSE;
   149     msg.sendSaveMe( current, previous, msg.getAddress ( ));
   150     time.set(SaveMe);
   151     dv.disable ( );
   152                     }
   153
   154
   155
   156
   157   server( )
   158   {
   159           Messages msg( );
   160           PASSWORD current, previous, deuI, dprev, newp;
   161           PASSWORD            queuedNew, queuedCurrent, newpass;
   162           Passwords           pwds ( );
   163           TIME        t;
   164           Database    db ( );
   165           ADDRESS             add;
   166           TimeServer ts ( );
   167           Bool        auth;
   168
   169         while (msg.getNext ( ))
   170         {
   171              switch (msg.getType ( ))
   172              {
   173                   caseSAVE_ME:
   174                       current ~ msg.getCurrentPassword ( );
   175                       previous ~ msg.getPreviousPassword ( );
   176                       if (pswds.dequeue(msg.getAddress ( ), queuedNew, queuedCurrent))
   177                       {
   178                             if (queuedCurrent ~~ current)
   1~                                  {
   180                                      newp ~ pswds.generateNewPassword ( );
   181                                      pswds.queue(msg.getAddress ( ), newp, current);
   182                                      msg.sendAuthorize(newp, msg.getAddress ( ));
   1~                                  }
   184                                 else throw (Error (QUEUED_AND_SAVE_ME, msg.getAddress ());
   185
   186                          else
   187
   188                                 if (pswds.initiaIPassword(current) && pswds.initialPassword
   189                                       (previous))
   190
   191                                      db.deleteAgent (msg.getAddress ( ));
   192                                      newp ~ pswds.generateNewPassword ( );
   193                                      pswds.queue (msg.getAddress( ), newp, current);
   194                                      msg.sendAuthorize(newp, msg.getAddress ( ));
   195
   196                          else
   197
   198                                      if (db.retrieveAgent (msg.getAddress ( ), dcur, dprev, auth,tm)
   199                                            {
   200                                            if (dcur   ~~   current && tm   >~   getSystemTime ( ))
   201                                            {
   202                                                 newp~pswds.generateNewPassword ( );
   203                                                 pswds.queue(msg.getAddress ( ), newp, current)
   204                                                 msg.sendAuthorize(newp, msg.getAddress ( ));
   205
   206                                            else if (dprev    ~~   current && tm   >~   getSystemTime ( ))
   207                                            {
   208                                                 msg.sendOK (ts.nextAuthorizationPeriod(msg.getAddress ( ),
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                                                                       US 6,249,868 Bl
                                   21                                                                                  22
                                                        -continued
   209                                                         dcur, msg.getAddress ( ));
   210                                  }
   211                                  else if (dprev         ~~   current && tm < getSystemTime ( ))
   212                                  {
   213                                           throw (Error (MULTIPLE_OKS_LOST, msg.getAddress ( ));
   214                                  }
   215                                  else throw (Error (ALARM, msg.getAddress ( ));
   216                              }
   217                              else throw (Error (ALARM, msg.getAddress ( ));
   218
   219
   220                case CONFIRM_AUTHORIZE:
   221                     newpass ~ msg.getNewPassword ( ),
   222                     current ~ msg.getCurrentPassword ( );
   223                     if(paswds.dequeue (msg.getAddress ( ), queuedNew, queuedCurrent))
   224                    {
   225                         if(newpass   ~~   queuedNew && current          ~~   queuedCurrent)
   226                         {
   227                              if (db,retrieveAgent(msg.getAddress ( ), dcur,dprev,auth,tm))
   228                              {
   229                                  if (dcur     ~~     current)
   230                                  {
   231                                  tm   ~    ts.nextAuthonzationPeriod(msg.getAddress ( ));
   232                                           db.updateAgent(msg.getAddress ( ),newpass,current,
   233                                                     tm + getSystemTime ( ));
   234                                                     msg.SendOK (tm, newpass, msg.getAddress ( ));
   235
   236                                                  else
   237
   238                                                         throw (Error (CONFIRM_AUTHORIZE_SYNC,
   239                                                                  msg.getAddress ( ));
   240
   241
   242                                           else
   243
   244                                                  if(pswds.initiaIPassword (current))
   245                                                  {
   246                                                         tm - ts.nextAuthorizationPeriod (msg.getAddress ( ));
   247                                                         db.newAgent(msg.getAddress ( ),newpass,current,
   248                                                                   tm + getsystemTime ( ));
   249                                                         msg.sendOK(tm, newpass, msg.getAddress ( ));
   250                                                  }
   251                                           else throw(Error(NO_ENTRY, msg.getAddress ()));
   252                                           }
   253                                  }
   254                                  else throw (Error (QUEUE_ERROR, msg.getAddress( )));
   255                              }
   256                              else throw (Error (ALARM, msg.getAddress ( ));
   257                              break;
   258                         default;
   259                              break;
   260
   261
   262




      Lines 1-11 of the above program include definitions of                             using predefined types, such as integers and floating point
   constants and types used in the remaining lines of the                           50   numbers, or may be more elaborately defined in terms of
   program. Line 1 defines the enumeration MSG_TYPE that                                 classes. These types include: (1) PASSWORD, a consecu-
   includes five enumerated constants to describe the five                               tive number of bits large enough to express internal pass-
   different types of messages used to implement the EASS.                               words used within the EASS, commonly 56, 64, or 128 bits;
   These types of messages include the AUTHORIZE, CON-                                   (2) ADDRESS, a number of consecutive bits large enough to
   FIRM AUTHORIZE, OK, and SAVE ME messages                                         55   hold communications addresses for EASS servers and EASS
   described in FIGS. 6A-B and 7A-F, as well as DEVICE                                   embedded agents; and (3) TIME, a time value expressed in
   messages which are exchanged between the CPU (214 in                                  hours, minutes and seconds, possibly also including a date
   FIG. 2) and the device controllers (242, 244, 246, 248, and                           and year. On lines 10 and 11, the constants "interface" and
   250 in FIG. 2) via the system controller (218 in FIG. 2) and                          "save Me" are defined to be two minutes and 20 seconds,
   via any EASS embedded agents residing in the device                              60   respectively. The constant "interface" is the initial grace
   controllers. On lines 3 and 4, an enumeration is declared for                         period following power up during which an EASS embed-
   various types of errors and potentially insecure conditions                           ded agent passes device messages to and from the device
   that may arise during operation of both the EASS server and                           controller into which it is embedded without authorization.
   EASS embedded agents. These errors and conditions will be                             The constant "save Me" is the interval at which an EASS
   described below in the contexts within which they arise. On                      65   embedded agent sends SAVE ME messages to an EASS
   lines 6-8, three basic types used throughout the implemen-                            server in order to reestablish authorization. In an alternative
   tation are declared. These types may be implemented either                            embodiment, both the initial grace period and the SAVE ME
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                               23                                                                24
   interval may be configurable by a user, by the EASS server,       getNext makes that next message the current message from
   by an administrator, or by some combination of users, EASS        which information can be obtained by calling the methods
   servers, and administrators.                                      declared on lines 53-58. These methods allow for obtaining
      On lines 13-88, a number of classes are declared that are      the type of the message, the address of the sender of the
   used in the routines "agent" and "server" that follow. Pro- 5 message, and the contents of the message, depending on the
   totypes for these classes are given, but the implementations      type of the message, including new passwords, current
   of the methods are not shown. These implementations are           passwords, previous passwords, and authorization times.
   quite dependent on the specific computer hardware                 The methods "sendauthorize" and "sendOK" declared on
   platforms, operating systems, and communications proto-           lines 59 and 61 are used in the server routine to send
   cols employed to implement the EASS. Much of the imple- 10 AUTHORIZE and OK messages to EASS embedded agents,
   mentations of certain of these classes may be directly            respectively. The methods "sendConfirmAuthorize" and
   provided through operating system calls. The class Error,         "sendS ave Me" declared on lines 60 and 62 are used in the
   declared on lines 13-16, is a simple error reporting class        agent routine to send CONFIRM AUTHORIZE and SAVE
   used in the server routine for exception handling. Only the       ME messages to an EASS server, respectively. The class
   constructor for this class is shown on line 15. An instance of 15 "AgentMessages," declared on lines 65-69, derived from
   this class is initialized through the arguments passed to the     the class "Messages," allows an EASS embedded agent to
   constructor. These include an integer value representing the      communicate both with an EASS server as well as with the
   particular error that has been identified and an address value    CPU. In other words, the two methods "getDeviceMsg" and
   that indicates the network or communications address of the       "sendDeviceMsg," declared on lines 67-68, allow an EASS
   EASS embedded agent that the error relates to.                 20 embedded agent to intercept device messages sent by the
      The class DeviceMessage, declared on lines 18-21,              CPU to the device controller in which the EASS embedded
   encapsulates methods and data that implement the various          agent is embedded and to pass device messages from the
   kinds of device messages exchanged between the CPU and            device controller back to the CPU.
   the device controllers of a Pc. The methods and data for this        The class Passwords, declared on lines 71-78, is used
   class depend on the types of communications buses 25 within the server routine for queuing certain password
   employed within the PC and are, therefore, not further            information as well as for generating passwords and deter-
   specified in this example program. The class Device,              mining whether a password is an initial password. The
   declared on lines 23-30, represents the functionality of the      method "initiaIPassword," declared on line 74, takes a
   device controller within which an EASS embedded agent is          password as an argument and returns a Boolean value
   embedded. In general, the methods shown for this class 30 indicating whether the password is an initial password or
   would be implemented as hardware logic circuits. The              not. The method "generateNewPassword," declared on lines
   methods include optional methods for enabling and dis-            75, generates a new, non-initial password to pass to an EASS
   abling the device declared on lines 26 and 27, a method for       embedded agent as part of an AUTHORIZE message. A
   sending device messages to the device, declared on line 28,       more sophisticated implementation of generateNewPass-
   and a method for receiving device messages from the device, 35 word might use an input argument that identifies a particular
   declared on line 29.                                              EASS embedded agent for generating new passwords spe-
      The class Timer, declared on lines 32-36, is an asynchro-      cific to particular EASS embedded agents. The methods
   nous timer used in the agent routine. An asynchronous timer       "queue" and "dequeue," declared on lines 76-77, are used in
   can be initialed for some time period either through the          the server routine for temporarily storing address/new
   constructor, declared on line 34, or through the method 40 password/previous password triples. The class Database,
   "set," declared on line 35. If the time period is not reini-      declared on lines 80--88, represents the database (618 in
   tialized before the timer expires, the asynchronous timer         FIG. 6A) used by the server to track EASS embedded agents
   throws an exception or, when implemented in hardware,             that are authorized by the server. The methods declared on
   raises a signal or causes an interrupt that may then be           lines 83-87 allow for adding new agents into the database,
   handled either by the agent routine or the logic circuit that 45 updating a database entry corresponding to an agent, retriev-
   implements the agent routine. The class TimerInterrupt,           ing the contents of an entry corresponding to an agent, and
   declared on lines 38-41, is essentially a place holder class      deleting the entry for an agent. The address of an EASS
   used in the exception handling mechanism to indicate expi-        embedded agent is used as the unique identifier to identify
   ration of a timer. The class TimeServer, declared on lines        that agent's entry in a database. In other implementations, a
   43-47, is a class used by the server routine for determining 50 unique identifier may be generated and stored in the data-
   the next authorization period for a particular EASS embed-        base for each EASS embedded agent authorized by the
   ded agent. The method "nextAuthorizationPeriod," declared         server routine rather than using the address of the EASS
   on line 46, takes the network or communications address of        embedded agent.
   an EASS embedded agent as an argument and returns a time             The routine "agent," declared on lines 90-155, is an
   period for which the EASS embedded agent will be next 55 example implementation of an EASS embedded agent. The
   authorized. This authorization period may, in some                agent routine takes two passwords, "current" and
   implementations, be a constant or, in other implementations,      "previous," as arguments. These two input arguments rep-
   the authorization period may be calculated from various           resent the non-volatile current and previous password reg-
   considerations, including the identity of the particular EASS     isters 604 and 606 shown in FIG. 6A. Various local variables
   embedded agent or the previous authorization history for the 60 are declared on lines 92-98. These include a temporary
   EASS embedded agent.                                              password "tpwd," an asynchronous timer "time," an instance
      The class Messages, declared on lines 49-63, is a gener-       of the AgentMessages class "msg," an instance of the device
   alized communications class that allows an EASS server to         class "dv" that represents the device controller into which
   exchange messages with EASS embedded agents. The                  the EASS embedded agent is embedded, a device message
   method "getNext," declared on line 52, instructs an instance 65 "dvmsg," and two Boolean variables "authorize" and
   of the Messages class to return a Boolean value indicating        "enabled." The agent routine is implemented within a single
   whether there are more messages queued for reception. If so,      "do" loop starting at line 100 and ending at line 154. Within
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                               25                                                                26
   this "do" loop, the agent routine continuously receives and       message is sent by the agent routine to the EASS server on
   responds to messages from a remote EASS server as well as         line 143, and the asynchronous timer "time" is reinitialized
   passes messages exchanged between the CPU and the device          on line 144. However, if the local variable "authorized" has
   controller in which the EASS embedded agent is embedded.          the value FALSE, then the asynchronous timer has already
      A large portion of the message handling logic is enclosed 5 once expired after the agent routine failed to acquire autho-
   within a try block that begins on line 102 and ends on line       rization from the remote EASS server. In that case, the agent
   137. Exceptions generated during execution of the code            routine sets the local variable "enable" to FALSE on line
   within the try block are handled in the catch block beginning     148, sends another SAVE ME message to the EASS remote
   on line 138 and extending to line 153. In the case of the         server on line 149, reinitializes the asynchronous timer on
   agent routine, exceptions are generated by the asynchronous 10 line 150, and finally disables the device on line 151 by
   timer "time." Within the "while" loop that begins on line 104     calling the member "disable" of the Device instance "dv."
   and extends through line 132, the agent routine handles any          The routine "server" on lines 157-264 implements the
   messages received from a remote EASS server and responds          EASS server. Local variables are declared on lines 159-167,
   to those messages as necessary. The "while" statement on          including an instance of the Messages class "msg," an
   line 104 iteratively calls the getnext method of the Agent- 15 instance of the Passwords class "pwds," an instance of the
   Messages instance "msg" to retrieve each successive mes-          Database class "db," and an instance of the TimeServer class
   sage that has been received and queued internally by msg.         "ts." A number oflocal PASSWORD variables are declared,
   When the member "getNext" returns a TRUE value, msg has           including the local variables "current," "previous," "dcur,"
   set an internal pointer to make the next queued message the       "dprev," "newp," "queuedNew," "queued Current," and
   current message. When the member "getNext" returns a 20 "newpass." In addition, a local TIME variable "tm," a local
   FALSE value, there are no further messages that have been         ADDRESS variable "add," and a local Boolean variable
   received and queued. Thus, any members of msg called              "auth" are declared.
   within the "while" loop on lines 106-130 that retrieve values        The server routine continuously receives messages from
   from messages retrieve those values from the current mes-         EASS embedded agents and, as necessary, responds to those
   sage.                                                          25 messages in the "while" loop beginning on line 169 and
      If the current message is an AU1HORIZE message, as             ending on line 262. The server routine receives only two
   detected on line 108, the agent routine saves the new             types of messages: SAVE ME messages as detected on line
   password contained in the AUTHORIZE message in the                173, and CONFIRM AUTHORIZE messages, as detected on
   local password variable "tpwd," on line 109, and returns a        line 220.
   CONFIRM AUTHORIZE message to the EASS server on 30                   If the next received message is a SAVE ME message, the
   line 110. If the message received from the EASS server is an      server routine first extracts the current and previous pass-
   OK message, as detected on line 112, the routine agent first      words from the SAVE ME message and places them into the
   checks, on line 113, if the new password contained within         local PASSWORD variables "current" and "previous,"
   the OK message is the same as the new password stored in          respectively. The server routine then attempts to dequeue an
   the local password variable "tpwd." If so, the routine agent 35 address/new password/current password triple from the
   reinitializes the asynchronous timer on line 115, sets the        "pswds" instance of the Passwords class. The address of the
   local variable "authorized" to the value TRUE on line 116,        EASS embedded agent that sent the SAVE ME message is
   transfers the contents of the password variable "current" into    used as a unique identifier to locate the queued triple. If a
   the password variable "previous" on line 117, transfers the       triple is found, as detected on line 176, and if the current
   new password from the local password variable "tpwd" into 40 password extracted from the SAVE ME message is equal to
   the local password variable "current," and, if the local          the current password saved within the triple, as detected on
   variable "enabled" contains the value FALSE, enables the          line 178, then the server routine must have previously sent
   device by calling the member "enable" on line 121 and sets        an AUTHORIZE message to the EASS embedded agent, but
   the local variable "enable" to TRUE on line 122. If, on the       the handshake mechanism must have failed after the
   other hand, the new password contained in the OK message 45 AUTHORIZE message was sent. In this case, the server
   is not equal to the new password contained in the local           routine simply generates a new password on line 180,
   password variable "tpwd," then the agent routine simply           queues the address/new password/current password triple on
   ignores the received OK message. If the message received is       line 181, and sends a new AU1HORIZE message to the
   a device message, as detected on line 126, and if the local       EASS embedded agent on line 182. If, on the other hand, the
   variable "enabled" has the value TRUE, then the agent 50 current password extracted from the SAVE ME message is
   routine passes that received device message on to the device      not equal to the current password dequeued from pswds, a
   by calling the device member "send" on line 127. If the           more serious error has occurred and the routine server
   received message is not of the type AUTHORIZE, OK, or             throws a QUEUED_AND_SAVE_ME exception on line
   DEVICE, the agent routine simply ignores the message.             184. The exception handlers are not shown in this example
      Once all the received and queued messages have been 55 program because they are quite dependent on implementa-
   handled in the "while" block starting on line 104 and             tion details and detailed error handling strategies that may
   continuing to line 132, the agent routine passes any mes-         vary depending on the use to which the EASS has been
   sages sent by the device to the CPU if the local variable         applied.
   "enable" has the value TRUE. Messages are received from              If there is no queued entry for the EASS embedded agent,
   the device by calling the receive member of the Device 60 then, on line 188, the server routine calls the initialPassword
   instance "dv" and are transmitted by the agent routine to the     member of pswds in order to determine whether both the
   CPU by calling the member "sendDeviceMsg" of the Agent-           current and previous passwords that were included in the
   Messages instance "msg."                                          SAVE ME message are special initial passwords. If these
      If the asynchronous timer "time" expires and generates an      passwords are initial passwords, then, beginning on line 191,
   interrupt, that interrupt is handled on lines 140--152. If the 65 the server routine deletes any database entries for the EASS
   local variable "authorized" has the value TRUE, then autho-       embedded agent, generates a new password, queues a new
   rized is set to the value FALSE on line 142, a SAVE ME            address-new password-current password triplet, and sends
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                                27                                                                  28
   an AUTHORIZE message to the EASS embedded agent on                  current password retrieved from the CONFIRM AUTHO-
   line 194. This is done because the SAVE ME message was              RIZE message correspond to the new password and current
   sent from an EASS embedded agent in the Initial Power-On            password that were queued in the dequeued triple. If so, then
   Grace Period state (410 in FIG. 4), or, in other words, from        the server routine attempts, on line 227, to retrieve a
   an EASS embedded agent that is attempting to connect to the 5 database entry for the EASS embedded agent. If a database
   server either for the first time or for the first time following    entry is retrieved, then the server routine tests, on line 229,
   a reinitialization. If, on the other hand, the current and          whether the current password in the database entry is equal
   previous passwords in the SAVE ME message are not initial           to the current password in the CONFIRM AUTHORIZE
   passwords, then the server routine attempts, on line 198, to        message. If so, the CONFIRM AUTHORIZE message is a
   retrieve from the database an entry corresponding to the 10 valid response to a previous AUTHORIZE message sent by
   EASS embedded agent identified by the address of the agent.         the server routine to the EASS embedded agent, and, on
   If an entry exists in the database, then the server routine         lines 231-234, the server routine updates the database entry
   attempts to identify, on lines 200--217, a scenario by which        for the EASS embedded agent and sends an OK message to
   the SAVE ME message was sent by the EASS embedded                   the agent. If, on the other hand, the current password
   agent. If no entry is present in the database for the EASS 15 retrieved from the database entry is not equal to the current
   embedded agent, then the server routine throws an alarm             password that was retrieved from the queue, the server
   exception on line 217. This alarm exception indicates a             routine throws a CONFIRM_AUTHORIZE_SYNC excep-
   potential attempt by a stolen or otherwise misused PC to            tion on line 238. If there was no database entry correspond-
   establish a connection and authorization with the EASS              ing to the EASS embedded agent, but if the current password
   server represented by the server routine.                        20 included in the CONFIRM AUTHORIZE message was an
      On line 200, the server routine compares the current             initial password, then this CONFIRM AUTHORIZE mes-
   password stored within the retrieved database entry to the          sage came from a EASS embedded agent in the Initial
   current password retrieved from the SAVE ME message and             Power-On Grace Period (410 in FIG. 4) and the server
   compares the expiration time stored in the database to the          routine creates a new database entry for the EASS embedded
   current time as retrieved by the operating system routine 25 agent and sends an OK message to the EASS embedded
   "getSystemTime." If the current password in the database            agent. However, if the password included in the CONFIRM
   entry is the same as the current password in the SAVE ME            AUTHORIZE message is not an initial password, then the
   message and authorization has not yet expired for the EASS          server routine throws a NO_ENTRY exception indicating a
   embedded agent, then a likely explanation for the SAVE ME           serious problem in the handshake. If no triple was found in
   message is that a previous CONFIRM AUTHORIZE mes- 30 the queue corresponding to the EASS embedded agent that
   sage sent from the EASS embedded agent to the server                sent the CONFIRM AUTHORIZE message, the server
   routine was lost. Therefore, the server routine, on lines           routine, on line 256, throws a QUEUE_ERROR exception
   202-204, generates a new, non-initial password, queues a            indicating a potential problem with the queuing mechanism.
   new address-new password-current password triple, and                  One skilled in the art will recognize that the above-
   sends a new AUTHORIZE message to the EASS embedded 35 described implementation of an example EASS server and
   agent. If, on the other hand, the previous password from the        EASS embedded agent describes one potential embodiment
   database entry equals the current password in the SAVE ME           of the present invention and that other implementations may
   message and authorization has not expired, then an OK               be realized. For example, the EASS server can be imple-
   message from the server routine to the EASS embedded                mented in any number of programming languages for any
   agent was probably lost, and the server routine resends the 40 number of different operating systems and hardware plat-
   OK message on lines 208-209. If the previous password               forms. The EASS embedded agent is preferably imple-
   from the database entry equals the current password in the          mented as a hardware logic circuit within the device con-
   SAVE ME message and authorization has expired, probably             troller for the device into which the EASS embedded agent
   multiple OK messages have been lost indicating some error           is embedded. A hardware logic circuit cannot be removed
   in communications, and the server routine throws a 45 without destroying the device controller. A firmware or
   MULTIPLE_OKS_LOST exception on line 213. Finally, if                software routine can, by contrast, be removed or re-installed.
   the contents of the database entry do not reflect one of the        The handshake mechanism can be implemented with any
   above three scenarios handled on lines 200-214, the                 number of different communication message protocols, with
   received SAVE ME message most likely indicates an                   any number of different types of databases, and with any
   attempt to establish a connection and acquire authorization 50 number of different strategies for handling potential error
   by a stolen or misused EASS embedded agent and the server           and alarm exception. Furthermore, additional error and
   routine therefore throws an alarm exception on line 215.            alarm conditions might be detected by a more elaborate
      When the server routine receives a CONFIRM AUTHO-                implementation. The database may itself be encrypted or
   RIZE message, it first extracts the new password and current        protected by additional security mechanisms.
   password from the CONFIRM AUTHORIZE message on 55                      In the above-described embodiment, an EASS embedded
   lines 221 and 222. The server routine then attempts to              agent can only receive authorization by first sending a SAVE
   dequeue an address-new password-current password triple             ME message to an EASS server. In alternative embodiments,
   on line 223 corresponding to the EASS embedded agent that           the EASS server or a user of the system hosting the EASS
   sent the CONFIRM AUTHORIZE message. If a queued                     embedded agents may be provided with the capability to
   triple is found, then the code contained in lines 225-255 may 60 initiate authorization of an EASS embedded agent.
   be executed in order to properly respond to the CONFIRM             Moreover, the EASS embedded agents may be manufac-
   AUTHORIZE message. If there is no queued triple, then, on           tured to contain an initial unlock password and to initially
   line 256, the server routine throws an alarm exception to           have an unlimited period of authorization. Once the system
   indicate a potential attempt to connect to the server and to        hosting the EASS embedded agent is powered up and
   acquire authorization from the server by a stolen or misused 65 running, the EASS embedded agent can then be identified by
   EASS embedded agent. After dequeuing a triple, the server           an EASS server and controlled by the EASS server by
   routine checks, on line 227, whether the new password and           sending the EASS embedded agent an authorization for a
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                                29                                                                  30
   period of time which overrides the unlock password and            hardware components or software programs or can later
   initial unlimited period of authorization and which requires      purchase the hardware components or software programs. In
   the EASS embedded agent to be e-authorized prior to               the former case, the device or program can be enabled, or
   expiration of the period of time of authorization.                authorized, for some time period. In the latter case, the
                                                                   5 device or software program can be enabled on a permanent
          Additional EASS Components and Additional                  basis. Embodiments of the present invention, including a
                     Applications for the EASS                       server, client, and a number of embedded agents, could be
                                                                     used as a basis to provide for selectively enabling and
      The EASS server may include a package of system
                                                                     disabling both hardware components and software pro-
   administration utilities that allow a system administrator to
                                                                  10 grams. In the case of software programs, for example, the
   configure and monitor the EASS server's authorization
                                                                     embedded agent within the disk controller could selectively
   activities. These utilities can be used to graphically display
                                                                     make available data stored on the disk, including a non-
   the contents of the database associated with the EASS server
                                                                     volatile copy of the software program to be enabled.
   and to allow the system administrator to manipulate those
   contents. Also, the EASS client and EASS server may                  In a slightly different application of the present invention,
   contain additional utilities that allow a privileged user to 15 the EASS may be employed to protect software manufac-
   reinitialize EASS embedded agents in the event of discon-         turers from software pirates. Software programs, including
   nections or corruptions so that the EASS embedded agents          operating system software, can be manufactured to require
   can reconnect to EASS servers to reestablish authorization.       authorization by EASS embedded agents, or software-
                                                                     implemented EASS embedded agents may be incorporated
      The embodiments of the present invention described
                                                                  20 into the software programs themselves. Thus, for example,
   above are directed towards providing component-level secu-
                                                                     a running database management system or operating system
   rity for a Pc. The EASS does not require users to know or
                                                                     may incorporate software-implemented EASS embedded
   remember passwords. All password information is internally
                                                                     agents that require periodic authorization from an EASS
   generated and internally manipulated by the EASS. The
                                                                     server. Alternatively, an EASS embedded agent within the
   EASS cannot be easily thwarted by reconfiguring the soft-
                                                                  25 disk controller on which the programs are stored may be
   ware on a PC or even by replacing a firmware component
                                                                     controlled by an EASS server to selectively enable and
   such as a PROM. This is because the EASS embedded
                                                                     disable particular programs.
   agents are contained within the ASICs that implement the
   various device controllers. If those EASS embedded agents            Another application for embodiments of the present
   do not quickly establish a connection to an EASS server and 30 invention is in the field of adaptive systems. Such systems
   do not quickly transition from an Initial Power-On Grace          automatically reconfigure themselves to adapt to changing
   Period state or a Power-On Grace Period state to an Autho-        demands     placed on their components. The protocol for
   rized state, the devices controlled by the EASS embedded          communications between a server and embedded agents can
   agents will fail to operate.                                      be expanded to allow for general information exchange
                                                                     relating to the load experienced by a particular device and
      In the special case of an EASS embedded agent that is 35
                                                                     the throughput achieved by the device. The server can
   embedded within the circuitry of a hard disk controller, the
                                                                     collect such information and direct the embedded agents to
   EASS embedded agent may additionally encrypt data that is
                                                                     enable additional components where needed or to fine tune
   received over a communications bus for storage on the
                                                                     and adjust the operation of components to better handle the
   physical platters of the disk and may decrypt data read from
                                                                     demands placed on the components. For example, additional
   those physical platters before sending the data back through 40
                                                                     CPUs or disk drives can be enabled and configured into the
   the communications bus. In this fashion, even if a thief were
                                                                     system when processing bottlenecks and non-volatile stor-
   to steal the hard disk and remove the disk controller
                                                                     age space becomes scarce. System components can be
   circuitry, the data contained on the disk would not be
                                                                     enabled and disabled in order to effect load balancing.
   available for use. The data can be encrypted by any of many
   well-known techniques, including RSA-based encryption 45             The present invention may be applied to security systems
   and password-based encryption.                                    for devices other than PCs, including more complex com-
      In addition, embodiments of the present invention have         puter systems or even to electromechanical systems such as
   applications in other areas related to security and in many       airplanes, automobiles, diesel locomotives, and machine
   areas not related to security. One area in which the present      tools. The present invention could also be applied in indus-
   invention can be applied is that of enabling hardware or 50 trial control processes to start and stop production compo-
   software components of a PC from a remote site on a               nents and machine tools.
   pay-per-use or pay-for-purchase basis. It is increasingly            Embodiments of the present invention also may be
   common that the actual incremental costs of installing a          applied to protecting firearms. Electromechanical devices
   specialized hardware device or specialized software pro-          that include EASS embedded agents may be incorporated
   gram during the manufacturing process is quite small for a 55 into electromechanical trigger locks or firing mechanisms.
   given Pc. For example, the cost of installing a software          Authorization of the EASS embedded agents might be
   program on a hard disk during the manufacturing process           controlled from a centralized EASS server to insure that
   may have an incremental cost of well under a dollar.              only licensed firearms within predetermined geographical
   Likewise, the actual physical circuitry that implements           locations can be fired. In such cases, the communications
   many specialized devices can be mass produced at a very 60 medium that allow exchange of messages between an EASS
   low cost per unit. However, the cost of installing the            server and an EASS embedded agent may be a microwave
   specialized hardware components or software once the PC           or satellite link.
   has been manufactured and sold may be much higher. For               Diagnosing and correcting defects in complex systems is
   this reason, it is desirable for PC manufacturers to include      yet another problem area in which the present invention may
   popular specialized hardware devices and software pro- 65 find application. In the embodiment discussed above, the
   grams at the time of manufacture in a disabled state. The         EASS server can easily determine when a particular EASS
   purchaser of the PC can then pay a fee either for using the       embedded agent is no longer functioning, indicating that the
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                                 31                                                                   32
   EASS embedded agent and the device controller into which            ded agents. Certain embodiments may allow a particular
   it is embedded have been powered down or damaged. A                 EASS embedded agent to communicate with several EASS
   system administrator or a diagnostician can use a graphical         servers in order to provide additional reliability or geo-
   display of contents of the database associated with the EASS        graphical flexibility. An EASS server may be owned and
   server to identify powered-down or defective devices. In this 5 operated by an entity protecting its own, on-site computers
   case, the database could be expanded to include more                or machines, or an EASS server service may be provided by
   specific information about the geographical location of each        specialized security providers over the Internet or other
   EASS embedded agent, as well as the identity and type of            communications media. Any number of different types of
   device that the EASS embedded agent is controlling. The             devices can be controlled by EASS embedded agents imp le-
   data included in the database can be presented in many 10 mented either as hardware circuitry within the devices, as
   different fashions with a variety of different graphical user       specialized programs within other programs that control the
   interfaces allowing, for example, information about all the         device, or implemented as hardware/software hybrids. The
   EASS embedded agents within a particular computer to be             present invention can be applied not only to the problem of
   displayed within a diagram of that computer. As another             securing PCs and components within PCs, but also to
   example, EASS embedded agents may be incorporated into 15 problems of fault tolerance, adaptive systems, reconfigura-
   control points within utility energy grids to provide diag-         tion of systems, monitoring of components within systems,
   nostic and maintenance capabilities.                                and other similar systems or environments.
      EASS embedded agents may be embedded into home                      The foregoing description, for purposes of explanation,
   entertainment systems to protect the home entertainment             used specific nomenclature to provide a thorough under-
   systems from theft and misuse. EASS embedded agents may 20 standing of the invention. However, it will be apparent to
   also serve to obtain identification information from media          one skilled in the art that the specific details are not required
   containing recorded audio and/or video data inserted into a         in order to practice the invention. The foregoing descriptions
   home entertainment system, or similar broadcast or display          of specific embodiments of the present invention are pre-
   device, and provide the identification information to a             sented for purpose of illustration and description. They are
   remote server in order to receive authorization from the 25 not intended to be exhaustive or to limit the invention to the
   remote server for broadcast or display of the recorded audio        precise forms disclosed. Obviously many modifications and
   and/or video data. Similarly, EASS embedded agents may              variations are possible in view of the above teachings. The
   serve to obtain identification information from an electronic       embodiments are shown and described in order to best
   card or key in order to obtain authorization from a remote          explain the principles of the invention and its practical
   server for the operation of a motorized vehicle or firearm. 30 applications, to thereby enable others skilled in the art to
   EASS embedded agents may even be embedded in paper                  best utilize the invention and various embodiments with
   currency or cash machines to monitor cash transactions and          various modifications as are suited to the particular use
   prevent acceptance of counterfeit currency. The fact that, in       contemplated. It is intended that the scope of the invention
   all of these applications, an EASS embedded agent is                be defined by the following claims and their equivalents:
   involved in obtaining identification information from media, 35        What is claimed is:
   electronic cards, or keys, provides for remote monitoring of           1. A system for preventing theft or misuse of a computer
   the use of protected systems and flexible remote control of         system, the system comprising:
   the authorization for use of the protected systems. For                a computer system having a device;
   example, although a thief may steal both a car and the key             an agent embedded in the device that, when authorized,
   to the car, the owner can still contact the administrator of the 40       enables operation of the device and that, when not
   remote server to discontinue authorization of the use of the              authorized, disables operation of the device; and
   car.                                                                   a server coupled to the embedded agent that, by exchang-
      Although the present invention has been described in                   ing a number of messages with the embedded agent that
   terms of preferred embodiments, it is not intended that the               together compose a handshake operation, authorizes
   invention be limited to these embodiments. Modifications 45               the embedded agent to enable operation of the device.
   within the spirit of the invention will be apparent to those           2. The system of claim 1 wherein the device contains a
   skilled in the art, and in alternate scenarios as described         logic circuit and the embedded agent is implemented as a
   above. For example, while EASS embedded agents are                  logic circuit within the logic circuit of the device.
   preferably implemented as hardware circuitry, software                 3. The system of claim 1 wherein the device transmits and
   implementations could be devised to provide an EASS that 50 receives data and control signals via a bus and wherein the
   can be implemented on existing computers without special-           embedded agent intercepts the data and control signals
   ized circuitry built into device controller ASICs. As pointed       transmitted to the device prior to reception by the device and
   out above, the EASS client could possibly be omitted in             intercepts the data and control signals transmitted from the
   certain embodiments where it is possible to directly establish      device prior to transmission of the data and control signals
   communications between EASS embedded agents and 55 to the bus.
   EASS servers. The method in which the EASS server stores               4. The system of claim 3 wherein the embedded agent
   and manipulates stored authorization and embedded agent             enables the device by passing the data and control signals
   information may differ widely in different embodiments. A           intercepted by the embedded agent to and from the device
   relational database, a flat file, record-based database, or an      and wherein the embedded agent disables the device by not
   object-oriented database could be used to store the 60 passing the data and control signals intercepted by the
   information, and any number of hybrid systems can be                embedded agent to and from the device.
   devised using combinations of these types of databases. The            5. The system of claim 4 wherein the embedded agent is
   handshake mechanism, the mechanism for announcing the               embedded in a disk drive and wherein, when authorized by
   presence of embedded agents, and the mechanism for reini-           the remote server, the embedded agent encrypts all inter-
   tializing embedded agents can differ markedly in different 65 cepted data before passing the data to the disk for storage
   embodiments, as can the formats and contents of the mes-            and decrypts all data intercepted from the disk drive before
   sages exchanged between EASS servers and EASS embed-                passing the data to the bus.
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                                33                                                                  34
      6. The system of claim 5 wherein the server continuously          password with the new password; and wherein, upon recep-
   authorizes the embedded agent by undertaking handshake               tion of the completion message, the embedded agent
   operations and wherein, when the coupling between the                replaces the previous password with current password and
   server and the embedded agent is interrupted or broken so            replaces the current password with the new password.
   that the embedded agent cannot receive additional messages 5            13. The system of claim 12 wherein the embedded agent
   from the server, the embedded agent disables the device by           is constructed to maintain a special initial password as both
   preventing access to the disk drive via the disk drive and by        the current password and the previous password so that the
   not providing decryption of the encrypted data stored on the         server can detect when the embedded agent sends a solici-
   disk drive, thereby disabling the computer system and                tation message to the remote server for the first time.
   preventing use of the computer system.                            10    14. The system of claim 13 wherein, when a handshake
      7. The system of claim 1 wherein the handshake operation          operation fails, the server can synchronize the current agent
   comprises:                                                           password and previous agent password maintained by the
      an authorization message sent from the server to the              server with the current and previous passwords maintained
         embedded agent;                                                by the embedded agent by receiving from the embedded
      following reception of the authorization message by the 15 agent a solicitation message that contains the current and
         embedded agent, a confirm authorization message sent           previous passwords maintained by the embedded agent.
         from the embedded agent to the server; and                        15. The system of claim 14 wherein the server continu-
      following reception of the confirm authorization message          ously authorizes the embedded agent by undertaking hand-
         by the server, completion message sent from the server         shake operations and wherein, when the coupling between
         to the embedded agent.                                      20 the remote server and the embedded agent is interrupted or
      8. The system of claim 7 wherein the server authorizes the        broken so that the embedded agent cannot receive additional
   embedded agent to enable operation of the device for a               messages from the server, the embedded agent disables the
   certain period of time by including in the completion mes-           device thereby disabling the computer system and prevent-
   sage the period of time for which the server authorizes              ing use of the computer system.
   operation of the device.                                          25    16. The system of claim 15, further including a client
      9. The system of claim 8 wherein the embedded agent               component that receives messages from the server and
   includes a timer that is set to expire prior to expiration of the    forwards those messages to the embedded agent and that
   period of time of authorization received by the embedded             receives messages from the embedded agent and forwards
   agent in a completion message and wherein, when the timer            those messages to the server.
   expires, the embedded agent sends a solicitation message to 30          17. The system of claim 16 wherein embedded agents are
   the server requesting that the server undertake a handshake          embedded within several device within the computer system
   operation in order that the embedded agent receives an               and wherein the client component receives messages from
   additional authorization period from the remote server to            the embedded agents and forwards those messages to the
   enable continuous operation of the device.                           server and wherein the client component receives messages
      10. The system of claim 9 wherein the server repeatedly 35 from the server and distributes those messages to the embed-
   undertakes a handshake operation prior to expiration of the          ded agents.
   current period of time for which the embedded agent is                  18. The system of claim 1 wherein embedded agents are
   authorized to enable operation of the device so that opera-          embedded in additional components of the computer system
   tion of the device is not disabled during the time that the          including a CPU and memory devices, and wherein embed-
   computer system is powered on and the embedded agent is 40 ded agents are implemented as one of hardware logic
   coupled to the server.                                               circuits, firmware routines, and software routines that run
      11. The system of claim 10 wherein, when the device is            within the device or component within which the embedded
   powered on, the timer is set to a period of time sufficient for      agents are embedded.
   the embedded device to request a handshake operation by                 19. A method for enabling and disabling operation of a
   sending a solicitation message to the remote server and 45 component of a system, the method comprising:
   sufficient for completion of the handshake operation and                embedding an agent within the component;
   wherein the embedded agent is authorized to enable opera-               establishing a communications link between the embed-
   tion of the device until expiration of the timer, after which              ded agent and a server; and
   the embedded agent disables the device.
                                                                           when the component is to be enabled, exchanging a
      12. The system of claim 11 wherein the embedded agent 50
                                                                              number of messages between the server and the embed-
   maintains a current password and a previous password,
                                                                              ded agent that together compose a handshake operation
   wherein the server maintains a current agent password and
                                                                              that results in authorization of the embedded agent to
   a previous agent password that correspond to the current
                                                                              enable operation of the component for a period of time.
   password and previous password maintained by the embed-
                                                                           20. The method of claim 19, further including:
   ded agent following detection of the embedded agent by 55
   receiving a solicitation from the embedded agent that                   when the last period of time for which the embedded
   includes the embedded agent's current and previous pass-                   agent has been authorized to enable operation of the
   words; wherein the server generates a new password for the                 component will expire within a period of time sufficient
   embedded agent when the server undertakes a handshake                      for sending a second solicitation message and for
   operation and includes the new password in the authoriza- 60               completing a handshake operation, sending a solicita-
   tion message; wherein the embedded agent includes the new                  tion message from the embedded agent to the server in
   password received from the server in the authorization                     order request a handshake operation.
   message as well as the current password maintained by the               21. The method of claim 19, further including:
   embedded agent in the confirm authorization message;                    including a timer in the embedded agent;
   wherein the server, upon reception of the confirm authori- 65           when the component is powered-up or initialized for
   zation message, replaces the previous agent password with                  operation, setting the timer for a period of time suffi-
   the current agent password and replaces the current agent                  cient for the embedded agent to establish the commu-
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                                                       US 6,249,868 Bl
                                35                                                                  36
        nications link with the server, to send a solicitation            upon receiving the confirm authorization message by the
        message to the server requesting a handshake                         server,
        operation, and to complete the handshake operation;                  comparing the new password and the current password
     after establishing a communications link between the                       contained in the confirm authorization message with
        embedded agent and the server, sending a solicitation 5                 the new password stored within the server and the
                                                                                current agent password maintained within the server;
        message from the embedded agent to the server
                                                                                and
        requesting a handshake operation;
                                                                             when the new password contained in the confirm
     when the handshake operation is completed, resetting the                   authorization message is identical to the new pass-
        timer to expire prior to expiration of the period of time               word stored within the server and the current pass-
        for which the embedded agent is authorized to enable 10                 word contained in the confirm authorization message
        operation of the component to allow the embedded                        is identical to the current agent password maintained
        agent sufficient time to send a second solicitation                     within the server,
        message to the server requesting a second handshake                     setting the previous agent password maintained
        operation and to complete a second handshake opera-                        within the server to the current agent password
        tion prior to expiration of the period of time for which 15                 maintained within the server; and
        the embedded agent is authorized to enable operation of                 setting the current agent password maintained within
        the component;                                                              the server to the new password stored within the
     when the timer expires prior to expiration of the period of                   server; and
        time for which the embedded agent is authorized to 20             upon receiving the completion message by the embedded
        enable operation of the component, sending the second                agent,
        solicitation message from the embedded agent to the                  setting the previous password maintained within the
        server in order to request the second handshake opera-                  embedded agent to the current password maintained
        tion and resetting the timer to expire after a period of                within the embedded agent, and
        time sufficient to send a third solicitation message to the 25       setting the current password maintained within the
        server requesting a third handshake operation and to                    embedded agent to the new password stored within
        complete the third handshake operation; and                             the embedded agent.
     when the timer expires following expiration of the period            26. The method of claim 25, further including:
        of time for which the embedded agent is authorized to             constructing the embedded agent to maintain initial pass-
        enable operation of the component, disabling the com- 30             words as the current and previous passwords.
        ponent.                                                           27. The method of claim 24, further including:
     22. The method of claim 19, further including:                       maintaining a linear feedback mechanism within the
     after establishing a communications link between the                    server that is initialized with a seed value and that
        embedded agent and the server, sending a solicitation                successively and deterministically generates new pass-
        message from the embedded agent to the server 35                     words; and
        requesting a handshake operation;                                 maintaining a linear feedback mechanism within the
     when the server receives the solicitation message from the              embedded agent that is initialized with the seed value
        embedded agent, undertaking, by the server, a hand-                  and that successively and deterministically generates
        shake operation in order to authorize the embedded                   the same new passwords that are generated by the
        agent.                                                      40       linear feedback mechanism within the server.
     23. The method of claim 22 wherein the handshake                     28. The method of claim 27, further including:
   operation further includes:                                            prior to sending the authorization message from the
     sending an authorization message from the server to the                 server, generating by the server a new password and
        embedded agent;                                                      including a value related to the new password in the
     receiving the authorization message by the embedded 45                  authorization message; and
        agent and returning by the embedded agent a confirm               upon   receiving the authorization message by the embed-
        authorization message to the server; and                             ded   agent,
                                                                             generating a new password within the embedded agent,
     receiving the confirm authorization message by the server
                                                                             comparing a value related to the newly generated
        and returning by the server an completion message to
                                                                                password within the embedded agent with the value
        the embedded agent.                                         50
                                                                                related to the new password contained in the autho-
     24. The method of claim 23, further including:
                                                                                rization message, and
     maintaining a current password and a previous password                  when the value related to the newly generated password
        within the embedded agent; and                                          within the embedded agent is identical with the value
     maintaining a current agent password and a previous 55                     related to the new password contained in the autho-
        agent password within the sever.                                        rization message, sending the confirm authorization
     25. The method of claim 24, further including:                             message from the embedded agent to the server.
     prior to sending the authorization message by the server,            29. The method of claim 27, further including exchanging
        generating a new password, storing the new password            the seed value between the server and the embedded agent
        within the server, and including the new password in 60 when the embedded agent first establishes the communica-
        the authorization message;                                     tions link with the server.
     upon receiving the authorization message by the embed-               30. The method of claim 19 wherein the component of the
        ded agent, storing the new password within the embed-          system is a component of a computer system and wherein
        ded agent and including both the new password and the          the embedded agent is embedded in the component of the
        maintained current password in the confirm authoriza- 65 computer system, and further including:
        tion message that the embedded agent returns to the               running a software program that implements the server on
        server;                                                              a remote computer to provide a remote server; and
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                                                      US 6,249,868 Bl
                               37                                                               38
      enabling operation of the computer system that contains           40. The method of claim 19 wherein the component of the
         the component by the remote server authorizing the          system is an executing software program, wherein the sys-
         embedded agent to enable operation of the component.        tem is a computer system, and wherein the embedded agent
      31. The method of claim 30, further including disabling        is implemented as a software subcomponent of the software
   the computer system causing the embedded agent to disable 5 program, the method further including:
   the component.                                                       running a software program that implements the server on
      32. The method of claim 30 wherein the embedded agent                a remote computer to provide a remote server; and
   is a software program within a controller software program           enabling execution of the software program by authoriz-
   that controls the component, the embedded agent commu-                  ing the embedded agent subcomponent of the software
   nicating with the remote server via internal buses within the 10        program.
   computer system and via external communication media                 41. The method of claim 19, further including controlling
   between the computer system and the remote server, includ-        use of a firearm by embedding an agent into a component of
   ing at least one of local area networks, wide area networks,      the firearm required to discharge the firearm.
   and combinations of local area networks and wide area                42. The method of claim 19, further including controlling
   networks.                                                      15 use of a firearm by embedding an agent into a component of
      33. The method of claim 30 wherein the embedded agent          the firearm required to load the firearm.
   is a logic circuit within an application specific integrated         43. The method of claim 19, further including diagnosing
   circuit that implements the controller of a disk drive; and       a powered-down or disabled component by detecting when
   further including:                                                the embedded agent within the component does not respond
      intercepting by the embedded agent all data transfers to 20 to authorization messages sent from the server.
         the disk drive and, when authorized, encrypting the            44. A control system for controlling operation of compo-
         data prior to passing the data to the disk drive; and       nents within a multi-component system, the control system
      intercepting by the embedded agent all data transfers from     comprising:
         the disk drive and, when authorized, decrypting the            an agent embedded in a component of the multi-
         previously encrypted data prior to passing the data from 25       component system that, when authorized, enables
         the disk drive.                                                   operation of the component and that, when not
      34. The method of claim 33, further including disabling              authorized, disables operation of the device; and
   and enabling specific data stored on the disk drive by               a server coupled to the embedded agent that, by exchang-
   including an identification of the data to be enabled and               ing a number of messages with the embedded agent that
   disabled in an authorization message that is sent from the 30           together compose a handshake operation, authorizes
   server to the embedded agent.                                           the embedded agent to enable operation of the compo-
      35. The method of claim 30 wherein the component                     nent.
   exchanges data and messages with the computer system, and            45. The control system of claim 44 wherein the multi-
   further including:
                                                                  35 component system is a computer system, wherein the
      intercepting by the embedded agent all messages and data       embedded agent is embedded within a disk drive of the
         exchanged between the component and the computer            computer system, wherein the embedded agent selectively
         system;                                                     enables and disables reading and transmission of software
      when the embedded agent is authorized, enabling the            programs stored on the disk drive to other components of the
         component by passing messages and data from the 40 computer system, and wherein the control system imple-
         computer system to the component and by passing             ments a pay per use control system that enables software
         messages and data from the component to the computer        programs pre-installed in the computer system when pay-
         system; and                                                 ment is received for use of the software programs.
      when the embedded agent is not authorized, disabling the          46. The control system of claim 44 wherein the multi-
         component by not passing messages and data from the 45 component system is a firearm, wherein the embedded agent
         computer system to the component and by not passing         is embedded within the firing mechanism of the firearm, and
         messages and data from the component to the computer        wherein the control system implements a gun control system
         system.                                                     that selectively enables use of the firearm.
      36. The method of claim 30, further including protecting          47. The control system of claim 44 wherein the server
   the computer system from theft or misuse by requiring the 50 monitors successful handshake operations in order to detect
   remote server to repeatedly authorize the embedded agent.         interruption or loss of operation of the component within
      37. The method of claim 30, further including selectively      which the embedded agent is embedded, thereby diagnosing
   enabling and disabling multiple components of the computer        interruption or loss of operation of the component.
   system by embedding a plurality of agents within the                 48. The control system of claim 44 wherein the server
   multiple components and selectively authorizing the mul- 55 exchanges additional informational messages with the
   tiple components from the remote server.                          embedded agent that enables the server to instruct the
      38. The method of claim 37, further including exchanging       embedded agent to adjust and modify operational charac-
   additional information between the plurality of embedded          teristics of the device in which the embedded agent is
   agents and the remote server, including information con-          embedded.
   cerning workloads placed on the components in which the 60           49. A method for enabling the operation of a system upon
   embedded agents are embedded, in order to allow the               receiving, by the system, a valid identifier, the method
   computer system to enable and disable components to adjust        comprising:
   operation of the components to operate more efficiently              embedding an agent within a component of the system
   based upon the workload information.                                    that can receive an identifier and that can enable
      39. The method of claim 37, further including enabling 65            operation of the system;
   components of the computer system in response to receiving           establishing a communications link between the embed-
   payments for operation of the components.                               ded agent and a server;
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      exchanging a number of messages between the embedded                sents the video information by converting the video infor-
         agent and the server that results in authorization of the        mation into a visual display signal and broadcasting visual
         embedded agent to subsequently enable operation of               display signal through one or more visual display devices.
         the system upon receiving a valid identifier; and                   59. The method of claim 58 wherein the medium is DVD
      when an identifier is received by the component of the         5    disc.
         system,                                                              60. The method of claim 58 wherein the medium is a
         obtaining the received identifier from the component of          magnetic tape.
            the system by the embedded agent;                                 61. The method of claim 58 wherein the medium is a
         exchanging a number of messages between the embed-               broadcast electronic signal.
            ded agent and the server that transfer the received      10       62. The method of claim 49 wherein the system may be
            identifier from the embedded agent to the server and          occupied by a human and is entered by a door, wherein the
            that results in the embedded agent receiving autho-           identifier is included in an electronic key, and wherein the
            rization from the server to enable operation of the           embedded agent is authorized by the server to enable a door
            system when the server determines that the identifier         lock to open when the server determines that the identifier is
            is valid and that results in the embedded agent not      15   valid.
            receiving authorization from the server to enable                 63. The method of claim 62 wherein the system is a
            operation of the system when the server determines            residence.
            that the identifier is invalid; and                               64. The method of claim 62 wherein the system IS an
         enabling operation of the system by the embedded                 automobile or truck.
            agent upon receiving authorization from the server to    20       65. The method of claim 62 wherein the system IS an
            enable operation of the system.                               airplane.
      50. The method of claim 49 wherein the embedded agent                   66. The method of claim 62 wherein the system is a boat.
   is linked to the server via the Internet.                                  67. The method of claim 62 wherein the system IS a
      51. The method of claim 49 wherein the system is a                  tractor.
   computer system, wherein the identifier is included within a      25       68. The method of claim 49 further including:
   software computer program, and wherein the embedded                       periodically reacquiring the identifier by the embedded
   agent is authorized by the server to enable the computer                     agent, exchanging a number of messages between the
   system to run the software computer program when the                         embedded agent and the server, and, when the server
   server determines that the identifier is valid.                              determines that the reacquired identifier is valid,
      52. The method of claim 49 wherein the system is an            30         re-enabling operation of the system by the embedded
   entertainment system that reads entertainment information                    agent upon receiving authorization from the server to
   from a medium and presents the entertainment information,                    enable operation of the system; and
   wherein the identifier is included in the medium, and                     when the server determines that the system has been
   wherein the embedded agent is authorized by the server to                    misappropriated or is being misused, not sending to the
   enable the entertainment system to read the entertainment         35         embedded agent and further authorizations from the
   information from the medium and present the read enter-                      server to enable operation of the system so that the
   tainment information when the server determines that the                     system becomes disabled.
   identifier is valid.                                                       69. The method of claim 68 wherein the system IS an
      53. The method of claim 52 wherein the entertainment                automobile or truck.
   system reads audio information from the medium and pre-           40      70. The method of claim 68 wherein the system IS an
   sents the audio information by converting the audio infor-             airplane.
   mation into an audio signal, amplifying the audio signal, and             71. The method of claim 68 wherein the system is a boat.
   broadcasting the audio signal through one or more loud-                   72. The method of claim 68 wherein the system IS a
   speakers.                                                              tractor.
      54. The method of claim 53 wherein the medium is DVD           45      73. The method of claim 49 wherein the system is a
   disc.                                                                  transaction system that accepts currency, wherein the iden-
      55. The method of claim 53 wherein the medium IS a                  tifier is embedded within the currency, and wherein the
   compact disk.                                                          embedded agent is authorized by the server to accept the
      56. The method of claim 53 wherein the medium IS a                  currency during a transaction when the server determines
   magnetic tape.                                                    50   that the identifier is valid, and wherein the server monitors
      57. The method of claim 53 wherein the medium IS a                  invalid identifiers in order to detect and signal fraudulent
   broadcast electronic signal.                                           transactions and counterfeited currency.
      58. The method of claim 52 wherein the entertainment
   system reads video information from the medium and pre-                                      * * * * *
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              UNITED STATES PATENT AND TRADEMARK OFFICE
                    CERTIFICATE OF CORRECTION

PATENT NO.          : 6,249,868 B1                                                               Page 1 of 1
APPLICATION NO.     : 091163094
DATED               : June 19,2001
INVENTOR(S)         : Edward G. Sherman et al.

      It is certified that error appears in the above-identified patent and that said Letters Patent is
      hereby corrected as shown below:



             In column 38, claim 44, line 27, delete the word "device" and insert the word
      -- component --.




                                                                  Signed and Sealed this

                                                             Eighteenth Day of July, 2006




                                                                             JON W, DUDAS
                                                        Director of the United States Patent and Trademark Office
Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 52 of 96 Page ID #:52




                             EXHIBIT AB@
Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 53 of 96 Page ID #:53
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   (12)   United States Patent                                                                 (10)    Patent No.:     US 6,594,765 B2
          Sherman et ai.                                                                       (45)    Date of Patent:      Jui. 15,2003


   (54)   METHOD AND SYSTEM FOR EMBEDDED,                                                 (58)     Field of Search ................................. 713/150, 153,
          AUTOMATED, COMPONENT-LEVEL                                                                                          713/161, 168, 200, 201, 202
          CONTROL OF COMPUTER SYSTEMS AND
          OTHER COMPLEX SYSTEMS                                                           (56)                               References Cited
   (75)   Inventors: Edward G. Sherman, London (GB);                                                          U.S. PATENT DOCUMENTS
                     Mark P. Sherman, Seattle, WA (US);
                     George M. Reed, Saratoga, CA (US);                                           5,276,728    A         *    1/1994   Pagliaro Ii et al. ...........   180/287
                     Larry Saunders, San Diego, CA (US);                                          5,912,615    A         *    6/1999   Kretzmar et al. ...........      180/287
                                                                                                  6,144,848    A         *   11/2000   Walsh et al. ................    235/379
                     Wayne Goldman, Sausalito, CA (US);
                                                                                                  6,170,014    B1        *    1/2001   Darago et al. ..............     709/217
                     Simon Whittie, Gladesville (AU);
                     Richard N. Hunter, Jr., Littleton, CO                                * cited by examiner
                     (US)
                                                                                          Primary Examiner-Thomas R. Peeso
   (73)   Assignee: SoftvauIt Systems, Inc., Seattle, WA
                                                                                          (74) Attorney, Agent, or Firm-Olympic Patent Works,
                    (US)                                                                  PLLC
   ( *)   Notice:       Subject to any disclaimer, the term of this                       (57)                                 ABSTRACT
                        patent is extended or adjusted under 35
                        U.S.c. 154(b) by 0 days.                                          A method and system for protecting and controlling personal
                                                                                          computers ("PCs"), components installed in or attached to
   (21)   Appl. No.: 09/847,536                                                           PCs, and other electronic, mechanical, and electromechani-
                                                                                          cal devices and systems. An exemplary embodiment of the
   (22)   Filed:         May 1, 2001                                                      system includes a server running on a remote computer and
                                                                                          hardware-implemented agents embedded within the cir-
   (65)                 Prior Publication Data
                                                                                          cuitry that controls the various devices within a Pc. The
          US 2002/0073334 A1 Jun. 13, 2002                                                agents intercept all communications to and from the devices
                                                                                          into which they are embedded, passing the communications
                    Related U.S. Application Data                                         when authorized to do so, and blocking communications
                                                                                          when not authorized, effectively disabling the devices.
   (63)   Continuation-in-part of application No. 09/163,094, filed on                    Embedded agents are continuously authorized from the
          Sep. 29, 1998, now Pat. No. 6,249,868.                                          remote server computer by handshake operations imple-
   (51)   Int. CI? .................................................. G06F 1/24           mented as communications messages.
   (52)   U.S. CI. ....................... 713/202; 713/150; 713/153;
                                             713/168; 713/200; 713/201                                       29 Claims, 21 Drawing Sheets




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Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 54 of 96 Page ID #:54


   u.s.   Patent       Jui. 15,2003         Sheet 1 of 21               US 6,594,765 B2




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   u.s. Patent              Jui. 15,2003             Sheet 4 of 21                  US 6,594,765 B2




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Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 58 of 96 Page ID #:58


   u.s. Patent               Jui. 15,2003                   Sheet 5 of 21               US 6,594,765 B2




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 SGATE301-JERRY@CCD.COM FF631ACI 19FE2212 YES
                                                                                 I       16F3A79       I     '~
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                                                                                                            o....,
 NET210-SUE@ELF.GOV     CB861A78 2217813A YES                                      PREVIOUS PASSWORD        N
 XAMPLE~RCOM             16F3A79 ABCDEFOI YES 2:00                               I      ABCDEFOI       I    '""'"
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               Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 68 of 96 Page ID #:68


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 SGATE301-JERRY@CCD.COM ff631ACl 19fE2212 YES                                                                        '"""
 NET2l0-SUE@ELF.GOV     CB861A78 2217813A YES
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 XAMPLE@X.COM
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        Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 69 of 96 Page ID #:69


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 SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES                                                                                    .....
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 NET210-SUE@ELF.GDV
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                        CB861A78 2217813A YES                                                           PREVIOUS PASSWORD
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 XAMPLE@X.COM            16F3A79 ABCDEF01 YES 1: 59
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    Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 70 of 96 Page ID #:70


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 SGATE301-JERRnKCD.COM FF631ACt 19FE2212 YES                                  CURRENT PASSWORD      '"""
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 NU210-SUE@ELF.GOV     CB861A78 2217813A YES                                  PREVIOUS PASSWORD     N
 XAMPLE@X.Cm~          3AA61FB3 16F3A79 YES 11 :59                         I       ABCDEFOI     I   '"""
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     Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 71 of 96 Page ID #:71


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  SGATE301 -JERRY@CCD.COM FF631ACI 19FE2212 YES                                     CURRENT PASSWORD          =-
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  NET210-SUE@ELF.GOV      CB861A78 2217813A YES                                     PREVIOUS PASSWORD         '""'"
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  XAMPLE@X.COfA           3AA6tFB3 16F3A79 YES 1: 58   I                    I   -
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          Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 72 of 96 Page ID #:72


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 SGATE301-JERRY@CCD.COM FF631ACI 19FE2212 YES                                     CURRENT PASSWORD
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 NET210-SUE@ELF.GOY     CB861A78 2217813A YES
                                                                              I        3AA61FB3       l--   822    o....,
                                                                                  PREVIOUS PASSWORD                N
 XAMPLE~RCOM            3AA61FB3 16F3A79 YES 120:00                           I         16F3A79       J-    824    '""'"
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EASS SERVER                                                                                                     ~
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                                                             ABCDEF01   ~=====:=J                                N
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 SGATE30 1-JERRY@CCD.COM FF631AC1 19FE2212 YES                                                                   c
                                                                                           16F3A79        908
 NET21 0-SUE@ELF.GOY     C8861 A78 2217813A YES                                      PREVIOUS PASSWORD
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 XAMPLE@X.COM            3AA61F83 16F3A79 YES 120:001                                     ABCDEFOl        910     '""'"
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                                               Fig. 9A                                                             (I)

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       Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 74 of 96 Page ID #:74


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  SGATE301-JERRY@CCD.COM FF631ACl 19FE2212 YES
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  NET210-SUE@ELF.GOV     CB861A78 2217813A YES                              PREVIOUS PASSWORD     o'"""
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  XAMPLE~RCOM             t 6F3A79 ABCDEFOl YES                           I      ABCDEFOl     I   N
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Case 8:18-cv-01593-AG-JDE Document 1 Filed 09/07/18 Page 75 of 96 Page ID #:75


                                                        US 6,594,765 B2
                                 1                                                                   2
       METHOD AND SYSTEM FOR EMBEDDED,                              respectively. Finally, there is a software-implemented lock
         AUTOMATED, COMPONENT-LEVEL                                 and key system for controlling access to the operating
       CONTROL OF COMPUTER SYSTEMS AND                              system and hence to the various application programs avail-
           OTHER COMPLEX SYSTEMS                                    able on the PC 102. Typically, a graphical password-entry
                                                                 5 window 124 is displayed on the screen 126 of the display
                   RELATED APPLICATIONS                             monitor 108. In order to use the computer, the user types a
                                                                    password via the keyboard 106 into the password sub-
      This application is a continuation-in-part of U.S. appli-     window 128 of the password-entry window 124. The user
   cation Ser. No. 09/163,094 filed Sep. 29, 1998 now U.S. Pat.     then depresses a keyboard key to indicate to a security
   No. 6,249,868.                                                10 program that password entry is complete. As the user types
                                                                    the password, each letter of the password appears at the
                       TECHNI CAL FIELD                             position of a blinking cursor 130. The characters of the
      The present invention relates to control of computer          password are either displayed explicitly, or, more
   systems and other types of electrical, mechanical, electro-      commonly, asterisks or some other punctuation symbol are
   mechanical systems and devices at the component level and, 15 displayed to indicate the position within the password in
   in particular, to a method and system for securing such          which a character is entered so that an observer cannot read
   systems and devices by embedding agents within one or            the password as it is entered by the user. The security
   more components of the systems in order to control access        program    checks an entered password against a list of autho-
   to components within the systems.                                rized passwords and allows further access to the operating
                                                                 20 system only when the entered password appears in the list.

             BACKGROUND OF THE INVENTION                            In many systems, both a character string identifying the user
                                                                    and a password must be entered by the user in order to gain
      Computer security is a very broad and complex field           access to the operating system.
   within which, during the past several decades, a number of          The common types of security systems displayed in FIG.
   important sub-fields have developed and matured. These 25 1 are relatively inexpensive and are relatively easily imple-
   sub-fields address the many different problem areas in           mented and installed. They are not, however, foolproof and,
   computer security, employing specialized techniques that         in many cases, may not provide even adequate deterrents to
   are particular to specific problems as well as general tech-     a determined thief. For example, the key 112 for the hinged
   niques that are applicable in solving a wide range of prob-      fastening device 110 can be stolen, or the fastening device
   lems. The present application concerns, in part, a technique 30 can be pried loose with a crowbar or other mechanical tool.
   that can be used to prevent the theft and subsequent use of      A clever thief can potentially duplicate the key 112 or jimmy
   a personal computer ("PC") or of various PC components           the lock 114. The cable 116 can be cut with bolt cutters or
   included in, or attached to, a Pc. This technique may make       the cylindrical combination lock 118 can be smashed with a
   use of certain security-related techniques which have been       hammer. Often, the combination for the cylindrical combi-
   employed previously to address other aspects of computer 35 nation lock 118 is written down and stored in a file or wallet.
   security, and this technique may itself be employed to           If that combination is discovered by a thief or accomplice to
   address both computer security problems other than theft as      theft, the cylindrical combination lock will be useless. In the
   well as various aspects of computer reliability, computer        situation illustrated in FIG. 1, if the table is not bolted to the
   administration, and computer configuration. The present          floor, a thief might only need to pick up the display monitor
   application also concerns similar techniques that may be 40 108, place it on the floor, slide the cable down the table leg
   applied to protecting other types of electronic, mechanical,     to the floor, and lift the table sufficiently to slip the cable
   and electromechanical systems as well as computer software       free. While this example might, at first glance, seem silly or
   and other types of information encoded on various types of       contrived, it is quite often the case that physical security
   media.                                                           devices may themselves be more secure than the systems in
      PCs are ubiquitous in homes, offices, retail stores, and 45 which they are installed, taken as a whole. This commonly
   manufacturing facilities. Once a curiosity possessed only by     arises when security devices are installed to counter certain
   a few hobbyists and devotees, the PC is now an essential         obvious threats but when less obvious and unexpected
   appliance for business, science, professional, and home use.     threats are ignored or not considered.
   As the volume of PCs purchased and used has increased, and          While the serial numbers 120 and 122, if not scraped off
   as PC technology has rapidly improved, the cost of PCs has 50 or altered by a thief, may serve to identify a PC or compo-
   steadily decreased. However, a PC is still a relatively          nents of the PC that are stolen and later found, or may serve
   expensive appliance, especially when the cost of the soft-       as notice to an honest purchaser of second-hand equipment
   ware installed on the PC and the various peripheral devices      that the second-hand equipment was obtained by illegal
   attached to the PC are considered. PCs, laptop PCs, and even     means, they are not an overpowering deterrent to a thief who
   relatively larger server computers have all, therefore, 55 intends to use a purloined PC or PC component at home or
   become attractive targets for theft.                             to sell the purloined PC to unsavory third parties.
      FIG. 1 illustrates various types of security systems com-        Password protection is commonly used to prevent mali-
   monly employed to prevent theft of PCs and PC compo-             cious or unauthorized users from gaining access to the
   nents. A PC 102 is mounted on a table 104 and is connected       operating system of a PC and thus gaining the ability to
   to a keyboard-input device 106 and a display monitor 108. 60 examine confidential materials, to steal or corrupt data, or to
   The PC 102 is physically secured to the table 104 with a         transfer programs or data to a disk or to another computer
   hinged fastening device 110, which can be opened and             from which the programs and data can be misappropriated.
   locked by inserting a key 112 into a lock 114. The display       Passwords have a number of well-known deficiencies.
   monitor 108 is physically attached to the table via a cable      Often, users employ easily remembered passwords, such as
   116 and cylindrical, combination-lock 118 system. Serial 65 their names, their children's names, or the names of fictional
   numbers 120 or 122 are attached to, or imprinted on, the side    characters from books. Although not a trivial undertaking, a
   of the PC 102 and the side of the display monitor 108,           determined hacker can often discover such passwords by
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                                                      US 6,594,765 B2
                                3                                                                  4
   repetitive trial and error methods. As with the combination        tions link to the remote server, as happens when the PC is
   for the cylindrical combination lock 118, passwords are            stolen, the devices protected by embedded agents no longer
   often written down by users or revealed in conversation.           receive authorizations from the remote server and are there-
   Even if the operating system of the PC is inaccessible to a        fore disabled. User-level passwords are neither required nor
   thief who steals the PC, that thief may relatively easily 5 provided, and the security system cannot be thwarted by
   interrupt the boot process, reformat the hard drive, and           reinstalling the PC's operating system or by replacing pro-
   reinstall the operating system in order to use the stolen          grammable read only memory devices that store low-level
   computer.                                                          initialization firmware for the Pc.
      More elaborate security systems have been developed or             Alternative embodiments of the present invention include
   proposed to protect various types of electrical and mechani- 10 control and management of software and hardware on a
   cal equipment and to protect even living creatures. For            pay-to-purchase or pay-per-use basis, adaptive computer
   example, one can have installed in a car an electronic device      systems, and control and security of mechanical, electronic,
   that can be remotely activated by telephone to send out a          and electro-mechanical systems and devices other than
   homing signal to mobile police receivers. As another               computers. A computer system may be manufactured to
   example, late model Ford and Mercury cars are equipped 15 include various optional hardware and software components
   with a special electronic ignition lock, which is activated by     controlled by embedded agents and initially disabled. When
   a tiny transmitter, located within a key. As still another         the purchaser of the computer system later decides to
   example, small, integrated-circuit identification tags can         purchase an optional, pre installed but disabled component,
   now be injected into pets and research animals as a sort of        the manufacturer can enable the component by authorizing
   internal serial number. A unique identification number is 20 an associated embedded agent upon receipt of payment from
   transmitted by these devices to a reading device that can be       the owner of the system. Similarly, the owner of the com-
   passed over the surface of the pet or research animal to           puter system may choose to rent an optional component for
   detect the unique identification number. A large variety of        a period of time, and that component can then be authorized
   different data encryption techniques have been developed           for the period of time by the manufacturer, upon receipt of
   and are commercially available, including the well-known 25 payment. Software may be manufactured to require autho-
   RSA public/private encryption key method. Devices have             rization from a server via an embedded agent either located
   been built that automatically generate computer passwords          within the disk drive on which the software is stored or
   and that are linked with password devices installed within         located within the software itself. Computer systems may
   the computer to prevent hackers from easily discovering            automatically adjust their configuration in response to
   passwords and to keep the passwords changing at a sufficient 30 changes in workload by enabling and disabling components
   rate to prevent extensive access and limit the damage              via embedded agents.
   resulting from discovery of a single password.                        Alternative embodiments may include embedded agents
      While many of these elaborate security systems are imple-       that receive authorization messages based on proximity to,
   mented using highly complex circuitry and software based           or location within, a defined physical space. For example,
   on complex mathematical operations, they still employ, at 35 such embedded agents may receive authorization messages
   some level, the notion of a key or password that is physically     through a communications medium ineffective outside
   or mentally possessed by a user and thus susceptible to theft      defined ranges and distances from an authorizing server or
   or discovery. A need has therefore been recognized for a           message dissemination point, such as an antenna.
   security system for protecting PCs and components of PCs           Alternatively, the embedded agent may include distance or
   from theft or misuse that does not depend on physical or 40 proximity sensing circuitry in order to actively compute a
   software implemented keys and passwords possessed by               distance from, or relative location with respect to, a server
   users. Furthermore, a need has been similarly recognized for       or message dissemination point. Thus, a device containing
   intelligent security systems to protect the software that runs     such an embedded agent may become inoperable when
   on PCs and to protect other types of electronic, mechanical,       removed from within a defined region or further away from
   and electromechanical systems and devices, including 45 a server or dissemination point than a threshold distance.
   automobiles, firearms, home entertainment systems, and                Finally, systems other than computers, including indus-
   creative works encoded in media for display or broadcast on        trial machine tools, processing equipment, vehicles, and
   home entertainment systems.                                        firearms may be controlled and secured by embedding
                                                                      agents within one or more components included in the
                SUMMARY OF THE INVENTION                           50 systems. Examples include automobiles, airplanes, water
      One embodiment of the present invention provides a              craft, ships, submarines, space vehicles, automatic teller
   security system for protecting a PC and components                 machines, building and building environmental systems,
   installed in or attached to the PC from use after being stolen.    weapons systems, power generation systems, fuel storage
   Agents are embedded within various devices within the Pc.          and dispensing systems, information and entertainment
   The agents are either hardware-implemented logic circuits 55 broadcast and reception systems and devices, industrial
   included in the devices or firmware or software routines           process systems and devices, robots, medical devices and
   running within the devices that can be directed to enable and      instrumentation, all kinds of computer peripheral devices,
   disable the devices in which they are embedded. The agents         personal digital assistants, electronic cards and documents,
   intercept communications to and from the devices into              security systems and devices, and telecommunications sys-
   which they are embedded, passing the communications 60 tems and devices.
   when authorized to do so in order to enable the devices, and
   blocking communications when not authorized, effectively                  BRIEF DESCRIPTION OF THE DRAWINGS
   disabling the devices. Embedded agents are continuously               FIG. 1 illustrates various types of security systems com-
   authorized from a remote server computer, which is coupled         monly employed to prevent theft of PCs and PC compo-
   to embedded agents via a communications medium, by 65 nents.
   handshake operations implemented as communications mes-               FIG.2 is a block diagram of example internal components
   sages. When the PC is disconnected from the communica-             of a PC connected to a remote server.
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                                  5                                                                      6
      FIG. 3 is a block diagram of example hardware and               theft of a PC that will not be operable once the current period
   software components and communications pathways that               of authorization expires. In order to subsequently operate the
   implement a single embedded agent connected to a client            PC, the thief would need to reconnect the PC to the server
   that is, in turn, connected to a security authorization server.    and invoke either client or server utilities to reinitialize the
      FIG. 4 is a state diagram for an example embedded agent. 5 embedded agents. These utilities are themselves protected
      FIG. 5 is an example state diagram for the interaction of       by password mechanisms. The thief cannot circumvent the
   a security authorization server with one embedded agent.           embedded agents by reinstalling the operating system or by
                                                                      replacing programmable read only memories ("PROMs").
      FIG. 6A illustrates an example initiation of the sending of     The stolen PC is therefore essentially worthless to the thief,
   a SAVE ME message by an embedded agent.                         10 and, perhaps more important, the data stored within the PC
      FIG. 6B illustrates an example receipt of a SAVE ME             is inaccessible to the thief as well as to any other party.
   message by a security authorization server.                           Certain implementations of this embodiment may rely on
      FIGS. 7A-F illustrate the handshake operation that imme-        one or more internal password identification mechanisms.
   diately follows receipt by an example EASS server of a             However, unlike the other well-known security systems
   SAVE ME message from an example EASS embedded agent 15 discussed above, the user of a PC protected by the EASS
   in the Initial Power-On Grace Period state.                        does not need to possess a password and is, in fact, not
      FIGS. 8A-F illustrate a second example handshake opera-         allowed to know or possess the passwords used internally
   tion that follows the original handshake operation of FIGS.        within the EASS.
   7A-F by some period of time less than the original autho-             In a preferred implementation of this embodiment, the
   rization period.                                                20 server and client components are implemented in software
      FIGS. 9A-B illustrate the recovery mechanism that is            and the embedded agents are implemented as hardware logic
   employed by an example EASS embedded agent in the event            circuits. However, all three of these components may be
   that the OK message of FIGS. 8E-F was lost and not                 implemented either as software routines, firmwave routines,
   received by the EASS embedded agent.                               hardware circuits, or as a combination of software, firmware,
                                                                   25 and hardware.
                DETAILED DESCRIPTION OF IRE
                            INVENTION                                         EASS Hardware and Software Configuration
      One embodiment of the present invention is an embedded                  FIG.2 is a block diagram of example internal components
   agent security system ("EASS") for protecting a PC, and,           30   of a PC connected to a remote server. The remote server 202
   more particularly, the internal components of a PC, from                is connected to the PC 204 via a connection 206 that
   misuse or misappropriation. The EASS includes a server                  represents a local area network which is possibly itself
   component, one or more embedded agents, and, optionally,                connected to a wide area network and which supports one of
   a client component. The server component is a centralized               any number of common network protocols or combinations
   repository and control point that provides authorizations to       35   of protocols to transfer messages back and forth between the
   agents embedded within PC components and connected to                   server component 202 and the PC 204. Messages may be
   the server component via a communications connection. The               transmitted, for example, via the Internet. The PC 204 is
   server authorizations allow the embedded agents to enable               connected to an external output device, in this case a display
   operation of the components within which the embedded                   monitor 208, and to two input devices, a mouse 210 and a
   agents reside for a period of time. The server component           40   keyboard 212. Internal components of the PC include a
   runs on one or more server computers, one or more of which              central processing unit ("CPU") 214; a random access
   are connected by a communications medium to the Pc. An                  memory 216; a system controller 218; a hard disk 220; and
   embedded agent is embedded as a logic circuit within the                a number of device controllers 222, 224, 226, 228, and 230
   circuitry that controls operation of an internal component of           connected to the system controller 218 directly through a
   the PC or is embedded as a firmware or software routine that       45   high speed bus 232, such as a PCI bus, or through a
   runs within the internal component of the Pc. The client                combination of the high speed bus 232, a bus bridge 234,
   component, when present, runs as a software process on the              and a low speed bus 236 such as an ISA bus. The CPU 214
   Pc. The client component of the EASS primarily facilitates              is connected to the system controller 218 through a special-
   communications between the server component and the                     ized CPU bus 238 and the RAM memory 216 is connected
   various embedded agents. For example, when multiple                50   to the system controller 218 through a specialized memory
   embedded agents are included in the PC, the client compo-               bus 240. FIG. 2 represents one possible simple configuration
   nent may serve as a distribution and collection point for               for the internal components of a Pc. PCs having different
   communications between the server component and the                     numbers or types of components or employing different
   multiple embedded agents.                                               connection mechanisms other than PCI or ISA buses may
      Because embedded agents enable operation of the internal        55   have quite different internal configurations.
   components in which they are embedded, and because                         The device controllers 222, 224, 226, 228, and 230 are
   embedded agents require frequent authorizations from the                normally implemented as printed circuit boards, which
   server component in order to enable the internal                        include one or more application specific integrated circuits
   components, if the communications connection between the                ("ASICs") 242, 244, 246, 248, and 250. The ASICs, along
   server component and an embedded agent is broken, the              60   with firmware that is normally contained in various types of
   internal component in which the embedded agent resides                  ROM memory on the printed circuit boards, implement both
   will be disabled when the current period of authorization               a communications bus interface and a command interface.
   expires. The communications connection between the server               The communications bus interface allows for data and
   and all embedded agents within the PC will be broken when               message communication with operating system routines that
   the PC is powered down or disconnected from the external           65   run on the CPU 214. The command interface enables the
   communications medium by which the PC is connected to                   operating system to control the peripheral device associated
   the server. Thus, any attempt to steal the PC will result in the        with the device controller. For example, the hard disk 220
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   comprises a number of physical platters on which data is         and commands through to the ASIC 304 that implements
   stored as tiny magnetized regions of the iron oxide surface      normal message handling and the device controller.
   of the platters (not shown), a motor for spinning the platters   However, when the EASS embedded agent 302 is not
   (not shown), and a printed circuit board 228 which imple-        authorized by the EASS server 320, or when an initial
   ments circuitry and firmware routines that provide a high- 5 power-on grace period has expired, the EASS embedded
   level interface to operating system drivers. In modern disks,    agent blocks messages and commands to the ASIC 304
   there is often a printed circuit board that includes an ASIC     thereby disabling the device controlled by the device con-
   that is packaged within the disk as well as a printed circuit    troller 306. The EASS embedded agent thus serves as a
   board card that is connected via a bus to other internal         hardware-implemented control point by which a device is
   components of the PC, including the system controller 218 10 enabled or disabled. Authorization messages pass from the
   and the CPU 214.                                                 EASS server 320 through communications pathways 316
      Programs that run on the CPU 214, including the oper-         and 308 to the EASS embedded agent 302. The EASS
   ating system and the EASS client, are permanently stored on      embedded agent 302 can also initiate a message and pass the
   a hard disk 252 and are transiently stored in RAM 254 for        message through pathways 308 and 316 to the EASS server
   execution by the CPU 214. Logic circuitry that implements 15 320. For example, the EASS embedded agent 302 may
   the embedded agents of the EASS is included within the           request authorization from the EASS server 320.
   ASICs that implement the various device controllers 242,            In the described embodiment, the EASS client 310 facili-
   244, 246, 248, and 250. The device controller may control        tates communications between the EASS server 320 and the
   such devices as optical disk devices, tape drives, modems,       EASS embedded agent 302. When a PC includes more than
   and other data sources and communications devices. EASS 20 one EASS embedded agent, the EASS client 310 handles
   embedded agents can be additionally included within the          routing of messages from the EASS server 320 to individual
   circuitry that implements RAM 216, the system controller         EASS embedded agents 302 and collects any messages
   218, and even the CPU 214. One skilled in the art will           initiated by EASS embedded agents 302 and forwards them
   recognize that any circuit in which communications can be        to the EASS server 320. In addition, the EASS client 310
   intercepted may reasonably host an embedded agent and that 25 may support a small amount of administrative functionality
   many other components may therefore host embedded                on the PC that allows the EASS to be reinitialized in the
   agents. Further, a PC 204 may include only a single embed-       event of loss of connection or power failure. The EASS
   ded agent or may include a number of EASS embedded               client 310 may not be a required component in alternative
   agents.                                                          embodiments in which an EASS server 320 communicates
      FIG. 3 is a block diagram of example hardware and 30 directly with EASS embedded agents 302.
   software components and communications pathways that
                                                                       In alternative embodiments, the EASS server may com-
   implement a single embedded agent connected to a client
                                                                    municate with EASS embedded agents by a communications
   which is, in turn, connected to a security authorization
                                                                    medium based on transmission of optical or radio signals
   server. In one embodiment, the EASS embedded agent 302
                                                                    rather than on electrical signals. Moreover, alternate
   is a logic circuit embedded within an ASIC 304 which is 35
                                                                    embodiments may employ multiple EASS servers that may
   included on a printed circuit board 306 that implements a
                                                                    be implemented on remote computers or that may be
   particular device controller. The device controller is con-
                                                                    included within the same computer that hosts the EASS
   nected through one or more internal communications buses
                                                                    embedded agents.
   308 to an EASS client program 310 implemented as a driver
   within the operating system 312 running on the CPU 314 of 40               EASS Server and Embedded Agent State
   the personal computer. The CPU 304 is, in turn, connected                                  Transitions
   through one or more internal buses, such as a PCI bus, and
   external communication lines, such as a LAN or a LAN                FIG. 4 is a state diagram for an example embedded agent.
   combined with a WAN 316, to the server computer 318. The         FIG. 4 shows four different states that an EASS embedded
   components of the server computer that implement the 45 agent may occupy: (1) an Initial Power-On Grace Period
   EASS server include an EASS server program 320 and a             state 402; (2) a Power-On Grace Period state 404; (3) an
   non-volatile storage device 322 in which the EASS server         Authorized state 406; and (4) a Not Authorized state 408.
   program 320 stores authorization and embedded agent infor-       Transitions between these states arise from three types of
   mation. The EASS server program 320 exchanges informa-           events: (1) a successful handshake between the embedded
   tion with the non-volatile storage device 322 via internal 50 agent and the EASS server that results in transfer of an
   buses 324 of the server computer 318. There are a variety of     authorization by the EASS server to the embedded agent to
   ways in which the embedded agent and authorization infor-        permit operation of the device associated with the EASS
   mation can be stored by the EASS server 320 on the               embedded agent for some period of time; (2) a time out that
   non-volatile storage device 322. In one implementation of        occurs when the EASS embedded agent has exhausted its
   the described embodiment, this data is stored within a 55 current authorization period prior to receiving a subsequent
   commercial database management system, such as a rela-           re-authorization from the EASS server; and (3) a special
   tional database.                                                 back-door mechanism that allows an entity such as the
      Messages and commands that are passed to the device           EASS client to reinitialize an EASS embedded agent so that
   controller 306 for a particular internal or peripheral device    the EASS embedded agent can reestablish contact with an
   over the communications bus 308 first pass through the 60 EASS server following interruption of a previous connec-
   EASS embedded agent logic 302 before entering the ASIC           tion.
   circuitry 304 that implements the device controller. The            Following an initial power up 410 of the device hosting an
   EASS embedded agent 302 is associated with a number of           EASS embedded agent, the EASS embedded agent enters an
   non-volatile registers 326 that store authorization state infor- Initial Power-On Grace Period 402. The Initial Power-On
   mation. When the embedded agent has been authorized by 65 Grace Period allows operation of the device controlled by
   an EASS server 320, or during a short grace period follow-       the EASS embedded agent for some short period of time
   ing power up, the EASS embedded agent passes messages            following power up of the PC necessary for initialization of
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   the PC that contains the device and embedded agent and           server. The sending of the SAVE ME message 428 does not,
   allows for establishment of contact between the EASS             by itself, cause a state transition, as indicated by arrow 428.
   embedded agent and an EASS server. When in the Initial           The Power-On Grace Period lasts a short period of time
   Power-On Grace Period 410, the EASS embedded agent               sufficient for the PC to be booted and all of the internal
   contains one of a certain number of initial passwords that are 5 components to be initialized and for the EASS embedded
   recognized by EASS servers as belonging to EASS embed-           agents controlling those components to establish contact
   ded agents in the Initial Power-On Grace Period. These           with an EASS server. If an EASS server, upon receiving the
   initial passwords allow an EASS server to distinguish a valid    SAVE ME message, successfully completes a handshake
   request for handshake operation from an attempt to solicit       operation, the EASS embedded agent transitions 430 from
   authorization by an embedded agent that has been previ- 10 the Power-On Grace Period 404 to the Authorized state 406.
   ously authorized by an EASS server. In the latter case, the      If a successful handshake operation is not completed before
   embedded agent may well be hosted by a stolen or misused         the short Power-On Grace Period authorization period
   device. From the Initial Power-On Grace Period state, the        expires 432, the embedded agent transitions 432 from the
   EASS embedded agent may send a solicitation message, for         Power-On Grace Period 404 to the Not Authorized state 408.
   example, a "SAVE ME" message to an EASS server to 15                A special mechanism may be provided for reinitialization
   announce that the EASS embedded agent has been powered           of an EASS embedded agent following normal power on.
   up for the first time, as indicated by transition arrow 412, and That mechanism is referred to as the "back door" mecha-
   to solicit a handshake operation. Sending of the SAVE ME         nism. The back door mechanism may be initiated, at the
   solicitation message does not, by itself, cause a state tran-    direction of a user or administrator, by an EASS client
   sition. When an EASS server receives a SAVE ME message 20 running on the same PC that includes the embedded agent,
   from an EASS embedded agent, the EASS server undertakes          or may be initiated by an EASS server upon discovery by the
   sending of an authorization to the EASS embedded agent           EASS server of a failed or interrupted connection. When the
   through a handshake mechanism, to be described below. The        EASS embedded agent receives a message that implements
   handshake may either fail or succeed. If a handshake fails,      the back door mechanism, the EASS embedded agent tran-
   the EASS embedded agent remains in the state that it 25 sitions 434 from the Power-On Grace Period 404 back to the
   occupied prior to initiation of the handshake.                   Initial Power-On Grace Period 402. In alternative
      When an EASS embedded agent is in the Initial Power-On        embodiments, the back door mechanism might allow for
   Grace Period, a successful handshake operation results in the    transitions from either of the other two states 406 and 408
   EASS embedded agent transitioning 414 to an Authorized           back to the Initial Power-On Grace Period state. In more
   state 406. At regular intervals, the EASS server continues to 30 complex embodiments, the back door mechanism might
   reauthorize the EASS embedded agent through successive           allow for transitions to states other than the Initial Power-On
   handshake operations 416 which result in the EASS embed-         Grace Period.
   ded agent remaining in the Authorized state 406. In the             FIG. 5 is an example state diagram for the interaction of
   Authorized state 406, the EASS embedded agent passes             a security authorization server with one embedded agent.
   through commands and data to the device that it controls 35 With respect to an EASS embedded agent, the EASS server
   allowing that device to operate normally. If, for any number     may occupy anyone of three states at a given instant in time:
   of reasons, the EASS embedded agent does not receive             (1) the EASS server may be in an Ignorant of Agent state
   reauthorization prior to the expiration of the current autho-    502; (2) the EASS server may be in a Knowledgeable of
   rization that the embedded agent has received from an EASS       Agent state, aware of but not having authorized the agent
   server, a time out occurs causing transition 418 of the EASS 40 504; and (3) the EASS server may be in an Agent Authorized
   embedded agent to the Not Authorized state 408.                  state 506. Initially, an EASS server is ignorant of the
      In the Not Authorized state 408, the EASS embedded            embedded agent, and thus occupies the Ignorant of Agent
   agent blocks commands and data from being transmitted to         state 502. When the EASS server receives a SAVE ME
   the device controlled by the EASS embedded agent, effec-         message from the EASS embedded agent that is in the Initial
   tively disabling or shutting down the device. Alternatively, 45 Power-On Grace Period state (402 in FIG. 4), the EASS
   the EASS embedded agent may actually power down a                server transitions 508 from the Ignorant of Agent state 502
   device that can be powered down independently from other         to the Knowledgeable of Agent state 504. As part of this
   internal components of the Pc. When in the Not Authorized        transition, the EASS server typically makes an entry into a
   state 408, the EASS embedded agent may send a SAVE ME            database or enters a record into a file that allows the EASS
   message 420 to an EASS server. Sending of this message 50 server to preserve its awareness of the EASS embedded
   does not, by itself, cause a state transition, as indicated by   agent. The EASS server may receive SAVE ME messages
   arrow 420. However, if an EASS embedded agent receives           from the EASS embedded agent when occupying either the
   the SAVE ME message and initiates a handshake operation          Knowledgeable of Agent state 504 or the Agent Authorized
   that is successfully concluded, the EASS embedded agent          state 506. As indicated by arrows 510 and 512, receipt of
   transitions 422 from the Not Authorized state 408 back to the 55 SAVE ME messages by the EASS server in either of states
   Authorized state 406.                                            504 and 506 does not, by itself, cause a state transition.
      The EASS embedded agent and the device that the EASS             The EASS server may initiate and complete a successful
   embedded agent controls can be powered up any number of          handshake operation with the EASS embedded agent while
   times following an initial power up. The EASS embedded           the EASS server occupies the Knowledgeable of Agent state
   agent stores enough information in a number of non-volatile 60 504 with respect to an agent. Completion of a successful
   registers associated with the EASS embedded agent (e.g.,         handshake operation causes the EASS server to transition
   registers 326 in FIG. 3) to differentiate a normal or non-       514 from the Knowledgeable of Agent state 504 to the Agent
   initial power up from an initial power up. Following a           Authorized state 506 with respect to the agent. This transi-
   non-initial power up 424, the EASS embedded agent tran-          tion may be accompanied by the saving of an indication in
   sitions 426 to a Power-On Grace Period state 404. When 65 a database or a file by the EASS server that indicates that the
   occupying the Power-On Grace Period state 404, the EASS          embedded agent is authorized for some period of time.
   embedded agent may send a SAVE ME message to an EASS             When occupying the Agent Authorized state, the EASS
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   server may continue to imtlate and complete successful              remaining period of two minutes, as indicated by the con-
   handshake operations with the embedded agent and, by                tents of the time remaining non-volatile register 608. This
   doing so, continue to occupy the Agent Authorized state.            initial time remaining period is chosen to be sufficient for the
   However, if a handshake operation is unsuccessful, the              EASS embedded agent 602 to establish a connection with
   EASS server transitions 518 from the Agent Authorized state 5 the EASS server 616, to solicit a handshake operation, and
   506 back to the Knowledgeable of Agent state 504.                   to complete the solicited handshake operation and may vary
       In some embodiments of the present invention, there may         in duration for different types of computers. Both the current
   be an additional transition 520 from the Knowledgeable of           password register 604 and the previous password register
   Agent state 504 back to the Ignorant of Agent state 502. This       606 contain a default initial password that is recognized by
   transition corresponds to a purging or cleaning operation 10 EASS servers as corresponding to an EASS embedded agent
                                                                       in the Initial Power-On Grace Period state. It should be noted
   that allows an EASS server to purge database entries or file
   records corresponding to a particular EASS embedded agent           that there may be a great number of different such default
   if the EASS server is unsuccessful in authorizing that EASS         passwords.    In the described embodiment, the circuitry that
   embedded agent for some period of time. Such a purging              implements the EASS embedded agent notes that the autho-
   operation allows the EASS server to make room in a 15 rization time remaining is two minutes, and that it is
   database or file to handle subsequent entries for EASS              therefore necessary for the EASS embedded agent 602 to
   embedded agents that announce themselves using SAVE ME              send  a SAVE ME message 612 to an EASS server to request
   messages from an Initial Power-On Grace Period state.               continuation of authorization. Thus, the EASS embedded
                                                                       agent 602 initiates sending of the SAVE ME message 612.
                          EASS Messages                             20    The SAVE ME message 612 contains an indication or
                                                                       operation code 638 designating the message as a SAVE ME
       FIGS. 6A-9B illustrate details of the sending and receiv-       message, the contents of the current password register 640,
   ing of SAVE ME messages and of the EASS server-initiated            and the contents of the previous password register 642. In
   handshake operation. In each of these figures, example              the case of an EASS embedded agent in the Initial Power-On
   contents of the non-volatile registers associated with an 25 Grace Period state, both the current password and previous
   EASS embedded agent, contents of a message, and contents            password registers contain the same initial password in the
   of a portion of the database associated with an EASS server         present embodiment. Alternative embodiments might use
   are shown. FIG. 6A will be numerically labeled and                  different initial current and previous passwords. In general,
   described in the discussion below, but the labels will be           sending both the current password and the previous pass-
   repeated in FIGS. 6B-9B only when the labels are relevant 30 word provides sufficient information for the EASS server
   to an aspect of the EASS in the figure referenced in the            that receives the SAVE ME message to correct any errors or
   discussion of the figure.                                           discrepancies that may have arisen during a previous failed
       FIG. 6Aillustrates initiation of the sending of a SAVE ME       handshake. An example of a recovery from a failed hand-
   message by an EASS embedded agent. The EASS embedded                shake operation will be described below with reference to
   agent 602 is associated with three non-volatile registers that 35 FIGS. 9A-B.
   contain: (1) the current password 604; (2) the previous                FIG. 6B illustrates receipt of a SAVE ME message by an
   password 606; and (3) the time remaining for the current            EASS server. In this case, the EASS server 616 was, prior
   authorization period 608. Passwords may comprise com-               to receipt of the SAVE ME message, in the Ignorant of Agent
   puter words of 56 bits, 64 bits, or a larger number of bits that    state (502 of FIG. 5) with respect to the EASS embedded
   provide a sufficiently large number of unique initial pass- 40 agent 602. Receipt of the SAVE ME message 612 causes the
   words. The direction of propagation of the SAVE ME                  EASS server 616 to transition to the Knowledgeable of
   message is indicated by arrow 610. The SAVE ME message              Agent state (504 of FIG. 5). In making this transition, the
   612 being transmitted is displayed along with its informa-          EASS server 616 enters information gleaned from the SAVE
   tional content 614. The EASS server 616 contains a repre-           ME message 612 into row 632 of the database 618 associ-
   sentation of a portion of a database that contains information 45 ated with the EASS server 616. The address from which the
   about EASS embedded agent authorizations 618. This data-            message was received can be determined from fields con-
   base contains columns that indicate the communications or           tained within a message header (not shown in FIG. 6B). This
   network address of the EASS embedded agent 620, the                 address may be the communications address of an individual
   EASS embedded agent's current password 622, the EASS                EASS embedded agent, a combination of the communica-
   embedded agent's previous password 624, and an indication 50 tions address of the client and an internal identification
   of whether the EASS embedded agent is currently autho-              number of the device hosting the EASS embedded agent, or
   rized or not 626. Additional or alternative columns may be          some other unique identifier for the EASS embedded agent
   present. For example, the next column 628 is used in                that can be mapped to a communications address. The
   subsequent figures to store the amount of time for which the        details of the formats of message headers are specific to the
   EASS embedded agent is authorized. Each row in the 55 particular types of communications mechanisms and imple-
   database 630--633 represents one particular EASS embed-             mentations. In this example, the addresses are stored as
   ded agent. Rows 630 and 631 contain information for                 Internet addresses. The stored Internet address is the address
   previously authorized EASS embedded agents (not shown).             of the EASS client running on the PC in which the EASS
   EASS embedded agent 602 of FIG. 6A is in the Initial                embedded agent is resident. This address may be enhanced
   Power-On Grace Period state (402 of FIG. 4) and the EASS 60 by the EASS server 616 by the addition of characters to the
   server 616 of FIG. 6Ais, with respect to the embedded agent         address or sub-fields within either the address or in the
   602, in the Ignorant of Agent state (502 of FIG. 5). Rect-          message header to provide sufficient information for the
   angular inclusions 634 and 636 represent the implementa-            receiving EASS client to identify the particular EASS
   tion of, and any volatile storage associated with, the EASS         embedded agent to which the message is addressed.
   embedded agent and the EASS server, respectively.                65 Alternatively, a different address might be established for
       In one embodiment, when the EASS embedded agent 602             each EASS embedded agent or an internal address field
   is in the Initial Power-On Grace Period, it has an initial time     might be included in each message sent from the EASS
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   server to an EASS client that further specifies the particular    the EASS server 702 has transitioned from the Knowledge-
   EASS embedded agent to which the message is addressed.            able of Agent state (504 in FIG. 5) to the Agent Authorized
   Thus, receipt of the SAVE ME message has allowed the              state (506 in FIG. 5). Upon receipt of the OK message 728,
   EASS server 616 to store the address "xample@x.com" 632           the EASS embedded agent 704 updates the current password
   to identify the EASS embedded agent 602 from which the 5 register 720 to reflect the new password sent to the EASS
   message was received, to store the current and previous           embedded agent in the original AUTHORIZE message 708
   passwords 644 and 646 taken from the received SAVE ME             after placing the contents of the current password register
   message 612, and to store an indication that the EASS             720   into the previous password register 732. The EASS
   embedded agent 602 is not authorized 648.                         embedded agent 704 also updates the time remaining reg-
                                                                  10 ister 734 to reflect the authorization time 736 contained in
      FIGS. 7A-F illustrate the handshake operation that imme-
                                                                     the received OK message. At this point, the EASS embedded
   diately follows receipt by an example EASS server of a
                                                                     agent transitions from the Initial Power-On Grace Period
   SAVE ME message from an example EASS embedded agent
                                                                     state (402 in FIG. 4) to the Authorized state (406 in FIG. 4).
   in the Initial Power-On Grace Period state. The handshake
   operation is initiated, as shown in FIG. 7A, by the EASS             If the handshake operation fails after sending of the OK
                                                                  15 message by the EASS server to the EASS embedded agent,
   server 702. The EASS server 702 generates a new, non-
   initial password for the EASS embedded agent 704 and              but prior to reception of the OK message by the EASS
   stores the new password in volatile memory 706. The EASS          embedded agent, the connection between the EASS embed-
   server then sends an authorization message 708, for example       ded agent and the EASS server can be reestablished and
   an "AUTHORIZE" message, to the EASS embedded agent                authorization reacquired by the sending by the EASS
   704 that contains the newly generated password 710 along 20 embedded agent of a SAVE ME message to the EASS server.
   with an indication 712 that this is an AUTHORIZE message.         The SAVE ME message will contain, as the current
                                                                     password, the value that the EASS server has stored as the
      FIG. 7B illustrates receipt of an example AUTHORIZE            previous password. From this, the EASS server can deter-
   message by an example EASS embedded agent. The EASS               mine that the previous handshake operation failed, can
   embedded agent 704 stores the newly generated password 25 update the database to reflect the state prior to the failed
   710 contained in the AUTHORIZE message 708 into a                 handshake operation, and can then reinitiate a new hand-
   volatile memory location 714 implemented in the circuitry         shake operation.
   of the EASS embedded agent 704.
                                                                        FIGS. 8A-F illustrate a second handshake operation that
      FIG. 7C illustrates sending, by an example EASS embed-         follows the original handshake operation by some period of
   ded agent, of an authorization confirmation message, for 30 time less than the original authorization period. By under-
   example a "CONFIRM AUTHORIZATION" message. The                    taking additional handshake operations, the EASS server
   EASS embedded agent 704 sends a CONFIRM AUTHO-                    801 continues to initiate handshake operations to maintain
   RIZATION message 716 back to the EASS server 702 from             the EASS embedded agent 805 in the Authorized state (406
   which an AUTHORIZE message was received. The CON-                 in FIG. 4). The EASS server 801 generates a new, non-initial
   FIRM AUTHORIZATION message 716 contains the new 35 password 802 and sends this password in an AUTHORIZE
   password sent in the previous AUTHORIZE message by the            message 804. The EASS embedded agent receives the
   EASS server 718 as well as the contents of the current            AUTHORIZE message 804 and stores the newly generated
   password register 720. The CONFIRM AUTHORIZATION                  password in memory 806. The EASS embedded agent 805
   message confirms receipt by the EASS embedded agent 704           then sends a CONFIRM AUTHORIZATION message 808
   of the AUTHORIZE message 708.                                  40 back to the EASS server 801 containing both the newly
      FIG. 7D illustrates receipt of the CONFIRM AUTHORI-            generated password 810 and the contents of the current
   ZATION message 716 by an example EASS server. The                 password register 812. Upon receipt of the CONFIRM
   EASS server 702 updates the current password and previous         AUTHORIZATION message 808, the EASS server 801
   password 722 and 724 within the associated database 726 to        updates the database entries for the current and previous
   reflect the contents of the CONFIRM AUTHORIZATION 45 passwords 814 and 816 and then sends an OK message 818
   message 716 after checking to make sure that the new              back to the EASS embedded agent 805 that contains the new
   password returned in a CONFIRM AUTHORIZATION                      password and the new time period 809 for which the EASS
   message is identical to the in-memory copy 706 of the new         embedded agent 805 will be authorized. After sending the
   password. If the new password contained in the CONFIRM            OK message 818, the EASS server 801 updates the database
   AUTHORIZATION message is different from the new pass- 50 to reflect the new time of authorization 820 and, upon receipt
   word stored in memory 706, then the handshake operation           of the OK message by the embedded agent, the non-volatile
   has failed and the EASS server 702 undertakes a new               registers of the EASS embedded agent are updated to reflect
   handshake operation with the EASS embedded agent 704.             the new current password and the now previous password,
      FIG. 7E illustrates sending by the EASS server of a            822 and 824, respectively.
   completion message, for example an "OK" message, in 55               FIGS. 9A-B illustrate the recovery mechanism that is
   response to receipt of the CONFIRM AUTHORIZATION                  employed by an example EASS embedded agent in the event
   message in order to complete the handshake operation. The         that the OK message of FIGS. 8E-F was lost and not
   EASS server 702 prepares and sends an OK message 728              received by the EASS embedded agent. In this case, the time
   that contains both the new password and an indication of the      remaining continues to decrease and the EASS embedded
   time for which the EASS embedded agent 704 will be 60 agent 902 determines from the time remaining register 904
   authorized upon receipt of the OK message.                        that sending of a SAVE ME message 906 is necessary to
      FIG. 7F illustrates receipt of the OK message 728 by an        initiate another handshake operation. Because the final OK
   example EASS embedded agent. Once the EASS server 702             message 818 is not received by the EASS embedded agent
   has sent the OK message, the EASS server 702 updates the          902, the values of the current password register 908 and the
   database 726 to indicate that the client is authorized 729 as 65 previous password register 910 have not been updated and
   well as to store an indication of the time 730 for which the      are the same as the values that were established as a result
   EASS embedded agent has been authorized. At this point,           of the first authorization, as shown in FIG. 7F. However, the
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                                15                                                                   16
   EASS server 912 has updated its internal database 914 to             to communicate with one or more EASS servers. In such
   indicate the new password generated during the previous              systems, it may be appropriate for the EASS embedded
   handshake operation 916. Thus, the EASS server database              agent to power on into a Not Authorized state, and transition
   914 does not reflect the actual state of the EASS embedded           to an Authorized state upon completion of a successful
   agent 902. However, when the EASS server 912 receives the         5 handshake. In such systems, there may be no backdoor
   SAVE ME message 906, the EASS server 912 can imme-                   mechanism, and no capability of directly communicating or
   diately determine that the previous handshake operation did          interacting with the EASS embedded agent. Example appli-
   not successfully complete and can update the current pass-           cations include a firearm containing an EASS embedded
   word entry and the previous password entry 916 and 918 in            agent that communicates with an EASS server located on the
   the associated database 914 to reflect the actual current state   10 person of a police officer or soldier, in a nearby vehicle, or
   of the EASS embedded agent 902. Thus, upon receipt of the            in a command station or centralized communications facil-
   SAVE ME message, the EASS server and the EASS embed-                 ity. The EASS embedded agent has no initial grace period of
   ded agent are again synchronized, and the EASS server can            operation, because even a short grace period might enable an
   initiate a new handshake operation to reauthorize the EASS           unauthorized user to discharge the firearm.
   embedded agent.                                                   15
                                                                           A clever thief who has stolen a PC, who has managed to
      The above-illustrated and above-described state diagrams          discern the need to establish connections between EASS
   and message passing details represent one of many possible           embedded agents and an EASS server, and who possesses
   different embodiments of the present invention. A different          the necessary passwords to gain entry to client and server
   communications protocol with different attendant state dia-          utilities that enable a connection between an EASS client
   grams and messages can be devised to accomplish the               20 and an EASS server to be initialized, still fails to overcome
   authorization of EASS embedded agents by EASS servers.               the EASS and may, in fact, broadcast the location and use of
   Depending on the communications pathways employed,                   the stolen PC to the EASS. A different EASS server to which
   different types of messages with different types of fields and       a connection is attempted immediately detects the attempt
   different types of header information may be employed.               by the thief to connect the stolen PC to the EASS server by
   Moreover, the EASS embedded agent may contain addi-               25 detecting non-initial passwords in the SAVE ME message
   tional non-volatile registers and may maintain different             sent by the EASS embedded agent in order to solicit a
   values within the associated non-volatile registers. As one          handshake operation. The reconnection attempt is readily
   example, rather than passing passwords, both the EASS                discernible to a security administrator using utilities pro-
   server and each EASS embedded agent may contain linear               vided to display database contents on the EASS server.
   feedback registers that electronically generate passwords         30 Connection to a different EASS server fails because the
   from seed values. The communications protocols between               EASS embedded agents power up to the Power-On Grace
   the EASS server and the EASS embedded agents could                   Period state, rather than the Initial Power-On Grace Period
   ensure that, during transition from the Initial Power-On             state. The passwords sent to the different EASS server are
   Grace Period state, the EASS embedded agent receives an              therefore not identified as initial passwords. The different
   initial seed for its linear feedback register that is also used   35 EASS server may then notify a centralized management or
   by the EASS server for the EASS server's linear feedback             administrative facility of the fraudulent attempt to connect
   register. Rather than passing passwords, both the EASS               along with the network address from which the attempt was
   embedded agents and the EASS servers can depend on                   made. An attempt to connect to the same EASS server also
   deterministic transitions of their respective linear feedback        fails, because the address of the EASS embedded agents
   registers to generate new, synchronized passwords at each         40 within the PC has changed.
   authorization point.
      For some systems and devices, an initial grace period,                            Pseudo-code Implementation
   during which a device or system containing an embedded
   agent is initially authorized, may not be required. In such            A pseudo-code example implementation of an example
   systems, the embedded agent may be somewhat autonomous            45 EASS server and EASS embedded agent is given below.
   with respect to the device or system in which it is located,         Although the EASS embedded agent will normally be
   and may be self-contained with regard to communications              implemented as a logic circuit, that logic circuit will imple-
   with an EASS server or servers. For example, the EASS                ment in hardware the algorithm expressed below as pseudo-
   embedded agent may be separately powered by a battery or             code. Software and firmware implementations of the EASS
   other independent power source, and contain a transceiver         50 embedded agent may, in addition, represent alternate
   and transceiver circuitry to allow the EASS embedded agent           embodiments of the present invention.



                                              enum MSG_TYPE {AUTHORIZE, CONFIRM_AUTHORIZE, OK, SAVE_ME, DEVICE};
                                          2
                                          3   enum ERRORS {QUEUED_AND_SAVE_ME, MULTIPLE_OKS_LOST, ALARM,
                                          4         CONFIRM_AUTHORIZE_SYNC, NO_ENTRY, QUEUE_ERROR};
                                          5
                                              type PASSWORD;
                                          7   type ADDRESS;
                                          8   type TIME;
                                          9
                                         10   const TIME initGrace ~ 2:00;
                                         11   const TIME saveMe ~ 0:20;
                                         12
                                         13   class Error
                                         14
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                                                             US 6,594,765 B2
                                   17                                                              18
                                                -continued
    15     Error (int err, ADDRESS add);
    16
    17
    18     class DeviceMessage
    19     {
    20     Device Message 0;
    21
    22
    23   class Device
    24
    25     Device 0;
    26     Void enable 0;
    27     Void disable 0;
    28     Void send (Device Message & dvmsg);
    29     Baal receive (Device Message & dvmsg);
    30
    31
    32   class Timer
    33
    34     timer (TIME t);
    35     void set (TIME t);
    36
    37
    38   class TimerInterrupt
    39   {
    40      TimerInterrupt 0;
    41      }
    42
    43   class TimeServer
    44
    45     TimeServer 0;
    46     TIME nextAuthorizationPeriod (Address add);
    47
    48
    49   class Messages
    50   {
    51      MessagesO;
    52      Baal getNext 0;
    53      MSG_TYPE getType 0;
    54      PASSWORD getNewPassword 0;
    55      PASSWORD getCurrentPassword 0;
    56      PASSWORD getPreviousPassword 0;
    57      TIME getTime 0;
    58      ADDRESS getAddress 0;
    59      Baal sendAuthorize (PASSWORD npwd, ADDRESS add);
    60      Baal sendConfirmAuthorize (PASSWORD npwd, PASSWORD cpwd, ADDRESS add);
    61      Baal sendOK (Time t, PASSWORD npwd, ADDRESS add);
    62      Baal sendSaveMe (PASSWORD cpwd, PASSWORD ppwd, ADDRESS add);
    63
    64
    65   class AgentMessages:Messages
    66   {
    67      DeviceMessage & getDeviceMsg 0;
    68      Baal sendDeviceMsg (DeviceMessage & msg);
    69
    70
    71   class Passwords
    72
    73     Passwords 0;
    74     Baal initialPassword (PASSWORD pwd);
    75     PASSWORD generateNewPassword 0;
    76     void queue (ADDRESS add, PASSWORD npwd, PASSWORD ppwd);
    77     Baal dequeue (ADDRESS add, PASSWORD & npwd, PASSWORD & ppwd);
    78
    79
    80   class Database
    81
    82     DatabaseO;
    83     Baal newAgent (ADDRESS add, PASSWORD cur, PASSWORD prev, Bod authorized,Time t);
    84     Baal updateAgent (ADDRESS add, PASSWORD cur, PASSWORD prev, Baal authorized, Time t);
    85     Baal retrieveAgent (ADDRESS add, PASSWORD & cur, PASSWORD & prev, Baal & Authorized,
    ~                            TIME&~
    87     Baal deleteAgent (ADDRESS add);
    88
    89
    90   agent (PASSWORD current, PASSWORD previous)
    91   {
    92     PASSWORD tpwd;
    93     Timer time (init, Grace);
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                                                                 US 6,594,765 B2
                                      19                                                20
                                                   -continued
    94   AgentMessages msg 0;
    95   Device dv 0;
    96   DeviceMessage dvmsg 0;
    97   Bool authorized ~ FALSE;
    98   Bool enabled ~ TRUE;
    99
   100     do
   101
   102          try
   103          {
   104             while (msg.getNext ())
   105             {
   106               switch (msg.getType ())
   107               {
   108                  case AUTHORIZE:
   109                    tpwd ~ msg.getNewPassword 0;
   110                    msg.sendConfirmAuthorize (tpwd, current, msggetAddress ());
   111                    break;
   112                  case OK:
   113                    if (tpwd ~~ msg.getNewPassword ())
   114                    {
   115                       time.set (msg.getTime 0 - saveMe);
   116                       authorized ~ TRUE;
   117                       previous = current;
   118                       current ~ tpwd;
   119                       if (!enabled)
   120                       {
   121                          dv.enable 0;
   122                          enabled ~ TRUE,
   123
   124
   125                     break;
   126                   case DEVICE:
   127                     if (enabled) dv.send (msg.getDeviceMsg ());
   128                     break;
   129                   default;
   130                     break;
   131
   132            }
   133            while (dv.receive (dvmsg))
   134            {
   135                if (enabled) msg.sendDeviceMsg (dvmsg),
   136
   137          }
   138          catch (Timer Interrupt)
   139          {
   140            if (authorized)
   141            {
   142               authorized ~ FALSE;
   143               msg.sendSaveMe (current, previous, msg.getAddress ());
   144               time.set (saveMe);
   145
   146            else
   147
   148                enabled ~ FALSE;
   149                msg sendSaveMe (current, previous, msg.getAddress ());
   150                time.set (SaveMe);
   151                dv.disable 0,
   152
   153
   154
   155
   156
   157   server 0
   156   {
   159      Messages msg 0;
   160      PASSWORD current, previous, deuI, dprev, newp;
   161      PASSWORD queuedNew, queuedCurrent, newpass;
   162      Passwords pwds 0;
   163     TIME t;
   164      Database db 0;
   165     ADDRESS add;
   166     TimeServer ts 0;
   167      Bool auth;
   168
   169     while (msg.getNext ())
   170     {
   171       switch (msg.getType ())
   172       {
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                                                                       US 6,594,765 B2
                                    21                                                             22
                                                     -continued
   173     case SAVE ME:
   174       current ~ msg.getCurrentPassword 0;
   175       previous ~ msg.getPreviousPassword 0;
   176       if (pswds.dequeue (msg.getAddress 0, queuedNew, queuedCurrent))
   177       {
   178           if (queuedCurrent        ~~    current)
   179           {
   180               newp ~ pswds.generateNewPassword 0;
   181               pswds.queue (msg.getAddress 0, newp, current);
   182               msg.sendAuthorize (newp, msg.getAddress ());
   183
   184           else throw (Error (QUEUED_AND_SAVE_ME, msg getAddress ());
   185
   186       else
   187
   188           if (pswds initialPassword (current) && pswds.initialPassword
   189           (previous))
   190           {
   191               db.deleteAgent (msg.getAddress ());
   192               newp ~ pswds.generateNewPassword 0;
   193               pswds. queue (msg.getAddress 0, newp, current);
   194               msg.sendAuthorize (newp, msg.getAddress ());
   195
   196           else
   197
   198               if (db.retrieveAgent (msg.getAddress          0, dcur, dprev, auth,tm)
   199                   {
   200                   if (dcur   ~~   current && tm     >~   getSystemTime ())
   201                   {
   202                       newp~pswds.generateNewPassword              0;
   203                       pswds.queue (msg.getAddress 0, newp, current)
   204                       msg.sendAuthorize (newp, msg.getAddress ());
   205                   }
   206                   else if (dprev    ~~   current && tm     >~   getSystemTime ())
   207                   {
   208                       msg.sendOK (ts.nextAuthorizationPeriod (msg.getAddress           0,
   209                             dcur, msg.getAddress ());
   210
   211                   else if (dprev    ~~   current && tm < getSystemTime ())
   212                   {
   213                       throw (Error (MULTIPLE_OKS_LOST, msg.getAddress ());
   214                   }
   215                   else throw (Error (ALARM, msg.getAddress ());
   216               }
   217               else throw (Error (ALARM, msg.getAddress ());
   218
   219
   220     case CONFIRM_AUTHORIZE:
   221       newpass ~ msg.getNewPassword 0,
   222       current ~ msg.getCurrentPassword 0;
   223       if (paswds.dequeue (msg.getAddress 0, queuedNew, queuedCurrent))
   224       {
   225           if (newpass     ~~   queuedNew && current          ~~   queuedCurrent)
   226           {
   227               if (db,retrieveAgent(msg.getAddress           0, dcur,dprev,auth,tm))
   228               {
   229                   if (dcur   ~~   current)
   230                   {
   231                   tm ~ ts nextAuthorizationPeriod (msg.getAddress ());
   232                     db.updateAgent(msg.getAddress O,newpass,current,
   233                             tm + getSystemTime ());
   234                     msg.SendOK (tm, newpass, msg.getAddress ());
   235
   236                   else
   237
   238                       throw (Error(CONFIRM_AUTHORIZE_SYNC,
   239                              msg.getAddress ());
   240
   241
   242               else
   243
   244                   if (pswds.initiaIPassword (current))
   245                   {
   246                       tm - ts.nextAuthorizationPeriod (msg.getAddress ());
   247                       db.newAgent (msg.getAddress O,newpass,current,
   248                               tm + getsystemTime ());
   249                       msg.sendOK (tm, newpass, msg.getAddress ());
   250                   }
   251               else throw (Error (NO_ENTRY, msg.getAddress ()));
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                                                            US 6,594,765 B2
                                   23                                                                      24
                                               -continued
   252
   253                 }
   254                 else throw (Error (QUEUE_ERROR, msg.getAddress ())),
   255             }
   256             else throw (Error (ALARM, msg.getAddress ()));
   257             break;
   258           default;
   259             break;
   260
   261
   262




      Lines 1-11 of the above program include definitions of            15    this class is initialized through the arguments passed to the
   constants and types used in the remaining lines of the                     constructor. These include an integer value representing the
   program. Line 1 defines the enumeration MSG_TYPE that                      particular error that has been identified and an address value
   includes five enumerated constants to describe the five                    that indicates the network or communications address of the
   different types of messages used to implement the EASS.                    EASS embedded agent that the error relates to.
   These types of messages include the AUTHORIZE, CON-                 20        The class DeviceMessage, declared on lines 18-21,
   FIRM AUTHORIZE, OK, and SAVE ME messages                                   encapsulates methods and data that implement the various
   described in FIGS. 6A-B and 7A-F, as well as DEVICE                        kinds of device messages exchanged between the CPU and
   messages which are exchanged between the CPU (214 in                       the device controllers of a Pc. The methods and data for this
   FIG. 2) and the device controllers (242, 244, 246, 248, and                class depend on the types of communications buses
   250 in FIG. 2) via the system controller (218 in FIG. 2) and        25     employed within the PC and are, therefore, not further
   via any EASS embedded agents residing in the device                        specified in this example program. The class Device,
   controllers. On lines 3 and 4, an enumeration is declared for              declared on lines 23-30, represents the functionality of the
   various types of errors and potentially insecure conditions                device controller within which an EASS embedded agent is
   that may arise during operation of both the EASS server and                embedded. In general, the methods shown for this class
   EASS embedded agents. These errors and conditions will be           30     would be implemented as hardware logic circuits. The
   described below in the contexts within which they arise. On                methods include optional methods for enabling and dis-
   lines 6-8, three basic types used throughout the implemen-                 abling the device declared on lines 26 and 27, a method for
   tation are declared. These types may be implemented either                 sending device messages to the device, declared on line 28,
   using predefined types, such as integers and floating point                and a method for receiving device messages from the device,
   numbers, or may be more elaborately defined in terms of             35     declared on line 29.
   classes. These types include: (1) PASSWORD, a consecu-                        The class Timer, declared on lines 32-36, is an asynchro-
   tive number of bits large enough to express internal pass-                 nous timer used in the agent routine. An asynchronous timer
   words used within the EASS, commonly 56, 64, or 128 bits;                  can be initialed for some time period either through the
   (2) ADDRESS, a number of consecutive bits large enough to                  constructor, declared on line 34, or through the method
   hold communications addresses for EASS servers and EASS              40    "set," declared on line 35. If the time period is not reini-
   embedded agents; and (3) TIME, a time value expressed in                   tialized before the timer expires, the asynchronous timer
   hours, minutes and seconds, possibly also including a date                 throws an exception or, when implemented in hardware,
   and year. On lines 10 and 11, the constants "initGrace" and                raises a signal or causes an interrupt that may then be
   "saveMe" are defined to be two minutes and 20 seconds,                     handled either by the agent routine or the logic circuit that
   respectively. The constant "initGrace" is the initial grace          45    implements the agent routine. The class TimerInterrupt,
   period following power up during which an EASS embed-                      declared on lines 38-41, is essentially a placeholder class
   ded agent passes device messages to and from the device                    used in the exception handling mechanism to indicate expi-
   controller into which it is embedded without authorization.                ration of a timer. The class TimeServer, declared on lines
   The constant "saveMe" is the interval at which an EASS                     43-47, is a class used by the server routine for determining
   embedded agent sends SAVE ME messages to an EASS                    50     the next authorization period for a particular EASS embed-
   server in order to reestablish authorization. In an alternative            ded agent. The method "nextAuthorizationPeriod," declared
   embodiment, both the initial grace period and the SAVE ME                  on line 46, takes the network or communications address of
   interval may be configurable by a user, by the EASS server,                an EASS embedded agent as an argument and returns a time
   by an administrator, or by some combination of users, EASS                 period for which the EASS embedded agent will be next
   servers, and administrators.                                        55     authorized. This authorization period may, in some
      On lines 13-88, a number of classes are declared that are               implementations, be a constant or, in other implementations,
   used in the routines "agent" and "server" that follow. Pro-                the authorization period may be calculated from various
   totypes for these classes are given, but the implementations               considerations, including the identity of the particular EASS
   of the methods are not shown. These implementations are                    embedded agent or the previous authorization history for the
   quite dependent on the specific computer hardware                    60    EASS embedded agent.
   platforms, operating systems, and communications proto-                       The class Messages, declared on lines 49-63, is a gener-
   cols employed to implement the EASS. Much of the imple-                    alized communications class that allows an EASS server to
   mentations of certain of these classes may be directly                     exchange messages with EASS embedded agents. The
   provided through operating system calls. The class Error,                  method "getNext," declared on line 52, instructs an instance
   declared on lines 13-16, is a simple error reporting class           65    of the Messages class to return a Boolean value indicating
   used in the server routine for exception handling. Only the                whether there are more messages queued for reception. If so,
   constructor for this class is shown on line 15. An instance of             getNext makes that next message the current message from
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                               25                                                               26
   which information can be obtained by calling the methods       responds to messages from a remote EASS server as well as
   declared on lines 53-58. These methods allow for obtaining     passes messages exchanged between the CPU and the device
   the type of the message, the address of the sender of the      controller in which the EASS embedded agent is embedded.
   message, and the contents of the message, depending on the        A large portion of the message handling logic is enclosed
   type of the message, including new passwords, current 5 within a try block that begins on line 102 and ends on line
   passwords, previous passwords, and authorization times.        137. Exceptions generated during execution of the code
   The methods "sendAuthorize" and "sendOK" declared on           within the try block are handled in the catch block beginning
   lines 59 and 61 are used in the server routine to send         on line 138 and extending to line 153. In the case of the
   AUTHORIZE and OK messages to EASS embedded agents,             agent routine, exceptions are generated by the asynchronous
   respectively. The methods "sendConfirmAuthorize" and 10 timer "time." Within the "while" loop that begins on line 104
   "sendS ave Me" declared on lines 60 and 62 are used in the     and extends through line 132, the agent routine handles any
   agent routine to send CONFIRM AUTHORIZE and SAVE               messages received from a remote EASS server and responds
   ME messages to an EASS server, respectively. The class         to those messages as necessary. The "while" statement on
   "AgentMessages," declared on lines 65-69, derived from         line 104 iteratively calls the getNext method of the Agent-
   the class "Messages," allows an EASS embedded agent to 15 Messages instance "msg" to retrieve each successive mes-
   communicate both with an EASS server as well as with the       sage that has been received and queued internally by msg.
   CPU. In other words, the two methods "getDeviceMsg" and        When the member "getNext" returns a TRUE value, msg has
   "sendDeviceMsg," declared on lines 67-68, allow an EASS        set an internal pointer to make the next queued message the
   embedded agent to intercept device messages sent by the        current message. When the member "getNext" returns a
   CPU to the device controller in which the EASS embedded 20 FALSE value, there are no further messages that have been
   agent is embedded and to pass device messages from the         received and queued. Thus, any members of msg called
   device controller back to the CPU.                             within the "while" loop on lines 106-130 that retrieve values
      The class Passwords, declared on lines 71-78, is used       from messages retrieve those values from the current mes-
   within the server routine for queuing certain password         sage.
   information as well as for generating passwords and deter- 25     If the current message is an AUTHORIZE message, as
   mining whether a password is an initial password. The          detected on line 108, the agent routine saves the new
   method "initiaIPassword," declared on line 74, takes a         password contained in the AUTHORIZE message in the
   password as an argument and returns a Boolean value            local password variable "tpwd," on line 109, and returns a
   indicating whether the password is an initial password or      CONFIRM AUTHORIZE message to the EASS server on
   not. The method "generateNewPassword," declared on lines 30 line 110. If the message received from the EASS server is an
   75, generates a new, non-initial password to pass to an EASS   OK message, as detected on line 112, the routine agent first
   embedded agent as part of an AUTHORIZE message. A              checks, on line 113, if the new password contained within
   more sophisticated implementation of generateNewPass-          the OK message is the same as the new password stored in
   word might use an input argument that identifies a particular  the local password variable "tpwd." If so, the routine agent
   EASS embedded agent for generating new passwords spe- 35 reinitializes the asynchronous timer on line 115, sets the
   cific to particular EASS embedded agents. The methods          local variable "authorized" to the value TRUE on line 116,
   "queue" and "dequeue," declared on lines 76-77, are used in    transfers the contents of the password variable "current" into
   the server routine for temporarily storing address/new         the password variable "previous" on line 117, transfers the
   password/previous password triples. The class Database,        new password from the local password variable "tpwd" into
   declared on lines 80-88, represents the database (618 in 40 the local password variable "current," and, if the local
   FIG. 6A) used by the server to track EASS embedded agents      variable "enabled" contains the value FALSE, enables the
   that are authorized by the server. The methods declared on     device by calling the member "enable" on line 121 and sets
   lines 83-87 allow for adding new agents into the database,     the local variable "enable" to TRUE on line 122. If, on the
   updating a database entry corresponding to an agent, retriev-  other hand, the new password contained in the OK message
   ing the contents of an entry corresponding to an agent, and 45 is not equal to the new password contained in the local
   deleting the entry for an agent. The address of an EASS        password variable "tpwd," then the agent routine simply
   embedded agent is used as the unique identifier to identify    ignores the received OK message. If the message received is
   that agent's entry in a database. In other implementations, a  a device message, as detected on line 126, and if the local
   unique identifier may be generated and stored in the data-     variable "enabled" has the value TRUE, then the agent
   base for each EASS embedded agent authorized by the 50 routine passes that received device message on to the device
   server routine rather than using the address of the EASS       by calling the device member "send" on line 127. If the
   embedded agent.                                                received message is not of the type AUTHORIZE, OK, or
      The routine "agent," declared on lines 90-155, is an        DEVICE, the agent routine simply ignores the message.
   example implementation of an EASS embedded agent. The             Once all the received and queued messages have been
   agent routine takes two passwords, "current" and 55 handled in the "while" block starting on line 104 and
   "previous," as arguments. These two input arguments rep-       continuing to line 132, the agent routine passes any mes-
   resent the non-volatile current and previous password reg-     sages sent by the device to the CPU if the local variable
   isters 604 and 606 shown in FIG. 6A. Various local variables   "enable" has the value TRUE. Messages are received from
   are declared on lines 92-98. These include a temporary         the device by calling the receive member of the Device
   password "tpwd," an asynchronous timer "time," an instance 60 instance "dv" and are transmitted by the agent routine to the
   of the AgentMessages class "msg," an instance of the device    CPU by calling the member "sendDeviceMsg" of the Agent-
   class "dv" that represents the device controller into which    Messages instance "msg."
   the EASS embedded agent is embedded, a device message             If the asynchronous timer "time" expires and generates an
   "dvmsg," and two Boolean variables "authorize" and             interrupt, that interrupt is handled on lines 140-152. If the
   "enabled." The agent routine is implemented within a single 65 local variable "authorized" has the value TRUE, then autho-
   "do" loop starting at line 100 and ending at line 154. Within  rized is set to the value FALSE on line 142, a SAVE ME
   this "do" loop, the agent routine continuously receives and    message is sent by the agent routine to the EASS server on
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   line 143, and the asynchronous timer "time" is reinitialized    line 194. This is done because the SAVE ME message was
   on line 144. However, if the local variable "authorized" has    sent from an EASS embedded agent in the Initial Power-On
   the value FALSE, then the asynchronous timer has already        Grace Period state (410 in FIG. 4), or, in other words, from
   once expired after the agent routine failed to acquire autho-   an EASS embedded agent that is attempting to connect to the
   rization from the remote EASS server. In that case, the agent 5 server either for the first time or for the first time following
   routine sets the local variable "enable" to FALSE on line       a reinitialization. If, on the other hand, the current and
   148, sends another SAVE ME message to the EASS remote           previous passwords in the SAVE ME message are not initial
   server on line 149, reinitializes the asynchronous timer on     passwords, then the server routine attempts, on line 198, to
   line 150, and finally disables the device on line 151 by        retrieve from the database an entry corresponding to the
   calling the member "disable" of the Device instance "dv." 10 EASS embedded agent identified by the address of the agent.
      The routine "server" on lines 157-264 implements the         If an entry exists in the database, then the server routine
   EASS server. Local variables are declared on lines 159-167,     attempts to identify, on lines 200-217, a scenario by which
   including an instance of the Messages class "msg," an           the SAVE ME message was sent by the EASS embedded
   instance of the Passwords class "pwds," an instance of the      agent. If no entry is present in the database for the EASS
   Database class "db," and an instance of the TimeServer class 15 embedded agent, then the server routine throws an alarm
   "ts." A number of local PASSWORD variables are declared,        exception on line 217. This alarm exception indicates a
   including the local variables "current," "previous," "dcur,"    potential attempt by a stolen or otherwise misused PC to
   "dprev," "newp," "queuedNew," "queuedCurrent," and              establish a connection and authorization with the EASS
   "newpass." In addition, a local TIME variable "tm," a local     server represented by the server routine.
   ADDRESS variable "add," and a local Boolean variable 20            On line 200, the server routine compares the current
   "auth" are declared.                                            password stored within the retrieved database entry to the
      The server routine continuously receives messages from       current password retrieved from the SAVE ME message and
   EASS embedded agents and, as necessary, responds to those       compares the expiration time stored in the database to the
   messages in the "while" loop beginning on line 169 and          current time as retrieved by the operating system routine
   ending on line 262. The server routine receives only two 25 "getSystemTime." If the current password in the database
   types of messages: SAVE ME messages as detected on line         entry is the same as the current password in the SAVE ME
   173, and CONFIRM AUTHORIZE messages, as detected on             message and authorization has not yet expired for the EASS
   line 220.                                                       embedded agent, then a likely explanation for the SAVE ME
      If the next received message is a SAVE ME message, the       message is that a previous CONFIRM AUTHORIZE mes-
   server routine first extracts the current and previous pass- 30 sage sent from the EASS embedded agent to the server
   words from the SAVE ME message and places them into the         routine was lost. Therefore, the server routine, on lines
   local PASSWORD variables "current" and "previous,"              202-204, generates a new, non-initial password, queues a
   respectively. The server routine then attempts to dequeue an    new address-new password-current password triple, and
   address/new password/current password triple from the           sends a new AUTHORIZE message to the EASS embedded
   "pswds" instance of the Passwords class. The address of the 35 agent. If, on the other hand, the previous password from the
   EASS embedded agent that sent the SAVE ME message is            database entry equals the current password in the SAVE ME
   used as a unique identifier to locate the queued triple. If a   message and authorization has not expired, then an OK
   triple is found, as detected on line 176, and if the current    message from the server routine to the EASS embedded
   password extracted from the SAVE ME message is equal to         agent was probably lost, and the server routine resends the
   the current password saved within the triple, as detected on 40 OK message on lines 208-209. If the previous password
   line 178, then the server routine must have previously sent     from the database entry equals the current password in the
   an AUTHORIZE message to the EASS embedded agent, but            SAVE ME message and authorization has expired, probably
   the handshake mechanism must have failed after the              multiple OK messages have been lost indicating some error
   AUTHORIZE message was sent. In this case, the server            in communications, and the server routine throws a
   routine simply generates a new password on line 180, 45 MULTIPLE_OKS_LOST exception on line 213. Finally, if
   queues the address/new password/current password triple on      the contents of the database entry do not reflect one of the
   line 181, and sends a new AUTHORIZE message to the              above three scenarios handled on lines 200-214, the
   EASS embedded agent on line 182. If, on the other hand, the     received SAVE ME message most likely indicates an
   current password extracted from the SAVE ME message is          attempt to establish a connection and acquire authorization
   not equal to the current password dequeued from pswds, a 50 by a stolen or misused EASS embedded agent and the server
   more serious error has occurred and the routine server          routine therefore throws an alarm exception on line 215.
   throws a QUEUED_AND_SAVE_ME exception on line                      When the server routine receives a CONFIRM AUTHO-
   184. The exception handlers are not shown in this example       RIZE message, it first extracts the new password and current
   program because they are quite dependent on implementa-         password from the CONFIRM AUTHORIZE message on
   tion details and detailed error handling strategies that may 55 lines 221 and 222. The server routine then attempts to
   vary depending on the use to which the EASS has been            dequeue an address-new password-current password triple
   applied.                                                        on line 223 corresponding to the EASS embedded agent that
      If there is no queued entry for the EASS embedded agent,     sent the CONFIRM AUTHORIZE message. If a queued
   then, on line 188, the server routine calls the initialPassword triple is found, then the code contained in lines 225-255 may
   member of pswds in order to determine whether both the 60 be executed in order to properly respond to the CONFIRM
   current and previous passwords that were included in the        AUTHORIZE message. If there is no queued triple, then, on
   SAVE ME message are special initial passwords. If these         line 256, the server routine throws an alarm exception to
   passwords are initial passwords, then, beginning on line 191,   indicate a potential attempt to connect to the server and to
   the server routine deletes any database entries for the EASS    acquire authorization from the server by a stolen or misused
   embedded agent, generates a new password, queues a new 65 EASS embedded agent. After dequeuing a triple, the server
   address-new password-current password triplet, and sends        routine checks, on line 227, whether the new password and
   an AUTHORIZE message to the EASS embedded agent on              current password retrieved from the CONFIRM AUTHO-
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   RIZE message correspond to the new password and current           initial unlimited period of authorization and which requires
   password that were queued in the dequeued triple. If so, then     the EASS embedded agent to be re-authorized prior to
   the server routine attempts, on line 227, to retrieve a           expiration of the period of time of authorization.
   database entry for the EASS embedded agent. If a database
   entry is retrieved, then the server routine tests, on line 229, 5         Additional EASS Components and Additional
   whether the current password in the database entry is equal                         Applications for the EASS
   to the current password in the CONFIRM AUTHORIZE
   message. If so, the CONFIRM AUTHORIZE message is a                   The EASS server may include a package of system
   valid response to a previous AUTHORIZE message sent by            administration   utilities that allow a system administrator to
   the server routine to the EASS embedded agent, and, on 10 configure and monitor the EASS server's authorization
   lines 231-234, the server routine updates the database entry      activities. These utilities can be used to graphically display
   for the EASS embedded agent and sends an OK message to            the contents of the database associated with the EASS server
   the agent. If, on the other hand, the current password            and to allow the system administrator to manipulate those
   retrieved from the database entry is not equal to the current     contents. Also, the EASS client and EASS server may
   password that was retrieved from the queue, the server 15 contain additional utilities that allow a privileged user to
   routine throws a CONFIRM_AUTHORIZE_SYNC excep-                    reinitialize EASS embedded agents in the event of discon-
   tion on line 238. If there was no database entry correspond-      nections or corruptions so that the EASS embedded agents
   ing to the EASS embedded agent, but if the current password       can reconnect to EASS servers to reestablish authorization.
   included in the CONFIRM AUTHORIZE message was an                     The embodiments of the present invention described
   initial password, then this CONFIRM AUTHORIZE mes- 20 above are directed towards providing component-level secu-
   sage came from a EASS embedded agent in the Initial               rity for a Pc. The EASS does not require users to know or
   Power-On Grace Period (410 in FIG. 4) and the server              remember passwords. All password information is internally
   routine creates a new database entry for the EASS embedded        generated and internally manipulated by the EASS. The
   agent and sends an OK message to the EASS embedded                EASS cannot be easily thwarted by reconfiguring the soft-
   agent. However, if the password included in the CONFIRM 25 ware on a PC or even by replacing a firmware component
   AUTHORIZE message is not an initial password, then the            such as a PROM. This is because the EASS embedded
   server routine throws a NO_ENTRY exception indicating a           agents are contained within the ASICs that implement the
   serious problem in the handshake. If no triple was found in       various device controllers. If those EASS embedded agents
   the queue corresponding to the EASS embedded agent that           do not quickly establish a connection to an EASS server and
   sent the CONFIRM AUTHORIZE message, the server 30 do not quickly transition from an Initial Power-On Grace
   routine, on line 256, throws a QUEUE_ERROR exception              Period state or a Power-On Grace Period state to an Autho-
   indicating a potential problem with the queuing mechanism.        rized state, the devices controlled by the EASS embedded
      One skilled in the art will recognize that the above-          agents will fail to operate.
   described implementation of an example EASS server and               In the special case of an EASS embedded agent that is
   EASS embedded agent describes one potential embodiment 35 embedded within the circuitry of a hard disk controller, the
   of the present invention and that other implementations may       EASS embedded agent may additionally encrypt data that is
   be realized. For example, the EASS server can be imple-           received over a communications bus for storage on the
   mented in any number of programming languages for any             physical platters of the disk and may decrypt data read from
   number of different operating systems and hardware plat-          those physical platters before sending the data back through
   forms. The EASS embedded agent is preferably imple- 40 the communications bus. In this fashion, even if a thief were
   mented as a hardware logic circuit within the device con-         to steal the hard disk and remove the disk controller
   troller for the device into which the EASS embedded agent         circuitry, the data contained on the disk would not be
   is embedded. A hardware logic circuit cannot be removed           available for use. The data can be encrypted by any of many
   without destroying the device controller. A firmware or           well-known techniques, including RSA-based encryption
   software routine can, by contrast, be removed or re-installed. 45 and password-based encryption.
   The handshake mechanism can be implemented with any                  In addition, embodiments of the present invention have
   number of different communication message protocols, with         applications in other areas related to security and in many
   any number of different types of databases, and with any          areas not related to security. One area in which the present
   number of different strategies for handling potential error       invention can be applied is that of enabling hardware or
   and alarm exception. Furthermore, additional error and 50 software components of a PC from a remote site on a
   alarm conditions might be detected by a more elaborate            pay-per-use or pay-for-purchase basis. It is increasingly
   implementation. The database may itself be encrypted or           common for the incremental costs associated with installa-
   protected by additional security mechanisms.                      tion of a specialized hardware device or specialized software
      In the above-described embodiment, an EASS embedded            program during the manufacturing process to be quite small
   agent can only receive authorization by first sending a SAVE 55 for a given Pc. For example, the cost of installing a software
   ME message to an EASS server. In alternative embodiments,         program on a hard disk during the manufacturing process
   the EASS server or a user of the system hosting the EASS          may have an incremental cost of well under a dollar.
   embedded agents may be provided with the capability to            Likewise, the actual physical circuitry that implements
   initiate authorization of an EASS embedded agent.                 many specialized devices can be mass-produced at a very
   Moreover, the EASS embedded agents may be manufac- 60 low cost per unit. However, the cost of installing the
   tured to contain an initial unlock password and to initially      specialized hardware components or software once the PC
   have an unlimited period of authorization. Once the system        has been manufactured and sold may be much higher. For
   hosting the EASS embedded agent is powered up and                 this reason, it is desirable for PC manufacturers to include
   running, the EASS embedded agent can then be identified by        popular specialized hardware devices and software pro-
   an EASS server and controlled by the EASS server by 65 grams at the time of manufacture in a disabled state. The
   sending the EASS embedded agent an authorization for a            purchaser of the PC can then pay a fee either for using the
   period of time which overrides the unlock password and            hardware components or software programs or can later
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   purchase the hardware components or software programs. In           it is embedded have been powered down or damaged. A
   the former case, the device or program can be enabled, or           system administrator or a diagnostician can use a graphical
   authorized, for some time period. In the latter case, the           display of contents of the database associated with the EASS
   device or software program can be enabled on a permanent            server to identify powered-down or defective devices. In this
   basis. Embodiments of the present invention, including a 5 case, the database could be expanded to include more
   server, client, and a number of embedded agents, could be           specific information about the geographical location of each
   used as a basis to provide for selectively enabling and             EASS embedded agent, as well as the identity and type of
   disabling both hardware components and software pro-                device that the EASS embedded agent is controlling. The
   grams. In the case of software programs, for example, the           data included in the database can be presented in many
   embedded agent within the disk controller could selectively 10 different fashions with a variety of different graphical user
   make available data stored on the disk, including a non-            interfaces allowing, for example, information about all the
   volatile copy of the software program to be enabled.                EASS embedded agents within a particular computer to be
      In a slightly different application of the present invention,    displayed within a diagram of that computer. As another
   the EASS may be employed to protect software manufac-               example, EASS embedded agents may be incorporated into
   turers from software pirates. Software programs, including 15 control points within utility energy grids to provide diag-
   operating system software, can be manufactured to require           nos tic and maintenance capabilities.
   authorization by EASS embedded agents, or software-                    EASS embedded agents may be embedded into home
   implemented EASS embedded agents may be incorporated                entertainment systems to protect the home entertainment
   into the software programs themselves. Thus, for example,           systems from theft and misuse. EASS embedded agents may
   a running database management system or operating system 20 also serve to obtain identification information from media
   may incorporate software-implemented EASS embedded                  containing recorded audio and/or video data inserted into a
   agents that require periodic authorization from an EASS             home entertainment system, or similar broadcast or display
   server. Alternatively, an EASS embedded agent within the            device, and provide the identification information to a
   disk controller on which the programs are stored may be             remote server in order to receive authorization from the
   controlled by an EASS server to selectively enable and 25 remote server for broadcast or display of the recorded audio
   disable particular programs.                                        and/or video data. Similarly, EASS embedded agents may
      Another application for embodiments of the present               serve to obtain identification information from an electronic
   invention is in the field of adaptive systems. Such systems         card or key in order to obtain authorization from a remote
   automatically reconfigure themselves to adapt to changing           server for the operation of a motorized vehicle or firearm.
   demands placed on their components. The protocol for 30 EASS embedded agents may even be embedded in paper
   communications between a server and embedded agents can             currency or cash machines to monitor cash transactions and
   be expanded to allow for general information exchange               prevent acceptance of counterfeit currency. The fact that, in
   relating to the load experienced by a particular device and         all of these applications, an EASS embedded agent is
   the throughput achieved by the device. The server can               involved in obtaining identification information from media,
   collect such information and direct the embedded agents to 35 electronic cards, or keys, provides for remote monitoring of
   enable additional components where needed or to fine tune           the use of protected systems and flexible remote control of
   and adjust the operation of components to better handle the         the authorization for use of the protected systems. For
   demands placed on the components. For example, additional           example, although a thief may steal both a car and the key
   CPUs or disk drives can be enabled and configured into the          to the car, the owner can still contact the administrator of the
   system when processing bottlenecks and non-volatile stor- 40 remote server to discontinue authorization of the use of the
   age space becomes scarce. System components can be                  car.
   enabled and disabled in order to effect load balancing.                The list of devices and systems that may be protected and
      The present invention may be applied to security systems         made secure by hosting EASS embedded agents is almost
   for devices other than PCs, including more complex com- 45 limitless, as are the specific messaging protocols, states
   puter systems or even to electromechanical systems such as          inhabited by EASS embedded agents, and mechanisms by
   airplanes, automobiles, diesel locomotives, and machine             which EASS embedded agents deactivate or disable their
   tools. The present invention could also be applied in indus-        host. For example, in some cases, an EASS embedded agent
   trial control processes to start and stop production compo-         may electromechanically block, disable, disarm, or other-
   nents and machine tools.                                         50 wise actively disrupt operation of a host. In other cases, the
      Embodiments of the present invention also may be                 EASS embedded agent may simply fail to pass messages
   applied to protecting firearms. Electromechanical devices           needed by the host to maintain a state of operability. A partial
   that include EASS embedded agents may be incorporated               list of system and device categories that may be secured via
   into electromechanical trigger locks or firing mechanisms.          embedded EASS agents follows:
   Authorization of the EASS embedded agents might be 55 Automotive
   controlled from a centralized EASS server to insure that               EASS embedded agents may be included within ignition
   only licensed firearms within predetermined geographical            systems of cars, trucks, and other types of vehicles, as well
   locations can be fired. In such cases, the communications           as in mechanical components including fuel delivery
   medium that allow exchange of messages between an EASS              components, engine components, drive train components,
   server and an EASS embedded agent may be a microwave 60 and steering components. Additionally, audio and video
   or satellite link.                                                  components, GPS systems, and other electronic devices
      Diagnosing and correcting defects in complex systems is          installed in cars, trucks or other types of vehicles may host
   yet another problem area in which the present invention may         EASS embedded agents. The EASS server or servers may be
   find application. In the embodiment discussed above, the            located within the vehicle, in some cases, or may be located
   EASS server can easily determine when a particular EASS 65 in one or more fixed locations, providing coverage for a
   embedded agent is no longer functioning, indicating that the        region in which the EASS embedded agents are meant to be
   EASS embedded agent and the device controller into which            authorized.
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   Aviation                                                         resource and an ever-present danger to surrounding com-
      EASS embedded agents may be included within ignition          munities and regions. Subsystems, components, and trans-
   systems of airplanes, helicopters, and perhaps even space        port and intercommunication media for such systems may be
   vehicles, as well as in electrical and mechanical components     protected by EASS embedded agents.
   including fuel delivery components, engine components, 5 Entertainment
   audio and video components, GPS systems, avionics, com-             Cable and satellite technology-based delivery systems,
   munications and navigation systems, and other such com-          including pay per view services, may be secured and con-
   ponents. The EASS server or servers may be located within        trolled by EASS embedded agents.
   the vehicle, in some cases, or may be located in one or more     Manufacturing
   fixed locations, providing coverage for a region in which the 10    Motors, pumps, generators, compressors, conveyors,
   EASS embedded agents are meant to be authorized.                 shaping, cutting, drilling, and welding systems, robotic
   Banking and Financial Systems                                    systems, process instrumentation, sensors, and other com-
      EASS embedded agents may be included within auto-             ponents of industrial manufacturing facilities may be pro-
   matic teller machines and other electronic payment systems       tected by EASS embedded agents.
   that enable automated transfer of funds, bank safes and safe 15 Marine
   deposit box rooms, teller drawers, and in credit cards, debit       EASS embedded agents may be included within ignition
   cards and similar devices that permit electronic or manual       systems of personal watercraft, boats, ships, submarines, and
   financial transactions. The EASS server or servers may be        other types of watercraft, as well as in mechanical compo-
   located within bank branch offices, in some cases, or may be     nents including fuel delivery components, engine
   located in more central locations, such as regional or 20 components, drive train components, and steering compo-
   national offices. Alternatively, EASS servers may be hier-       nents. Additionally, audio and video components, GPS
   archically organized, with lower-level EASS servers in           systems, navigation systems, radar and sonar systems, and
   branch offices themselves hosting EASS embedded agents           other electronic devices installed in boats, ships,
   authorized by higher-level EASS servers in regional or           submarines, and other types of watercraft may host EASS
   national offices.                                             25 embedded agents. The EASS server or servers may be
   Building and Construction                                        located within the watercraft, in some cases, or may be
      EASS embedded agents may be included within security          located in one or more fixed locations, providing coverage
   systems that control access to buildings, that monitor the       for a region in which the EASS embedded agents are meant
   interior and exterior environments of buildings, and that        to be authorized.
   provide warnings through various mechanisms and media. 30 Medical and Scientific
   Additionally, tools and equipment used to construct and             EASS embedded agents may be hosted by a wide variety
   repair buildings may host EASS embedded agents, with             of scientific, technical, and medical instrumentation, includ-
   EASS servers located within the building, in some cases,         ing diagnostic equipment, measurement and monitoring
   and in more centralized locations, in other cases. When          equipment, therapeutic devices, devices that dispense
   EASS servers are located in the building, authorization of an 35 medication, medical information storage systems, radiation
   EASS embedded agent may directly or indirectly depend on         sources, and other such devices and systems.
   the EASS embedded agent being located within the                 Personal Identification
   building, or within some threshold distance from the build-         EASS embedded agents may be hosted by smart, elec-
   ing.                                                             tronic passports, driver's licenses, and other personal iden-
   Computer Hardware and Peripheral Devices                      40 tification documents and devices
      Any computer component or peripheral device containing        Security Systems
   an integrated circuit that is a part of or connected to a           Standard, non-EASS security systems may be addition-
   computer, including personal digital assistants, hand held       ally secured via EASS embed agents and EASS servers,
   devices, tablet and pen-based computers, laptops, desktops,      including sensors, monitors, video equipment, alarm
   workstations, servers, mini-computers, and mainframes, 45 systems, card keys, smart cards, retinal scanners, finger-print
   may be protected by one or more EASS embedded agents.            identification systems, and other biometric devices. By
   Consumer Electronics                                             embedding EASS agents in such devices, and additional
      Any consumer electronics device containing an integrated      level of security is obtained. As discussed above, EASS
   circuit may be secured by hosting an EASS embedded agent.        security is different from such methods in that passwords
   Examples include audio and video equipment, photographic 50 and keys are not exposed, and constant authorization is
   equipment, appliances, and game devices.                         required to maintain operability. Thus, EASS security may
   Defense Systems, Weapons, and Armaments                          complement other types of security mechanisms.
      Defense systems, weapons, and armaments represent an          Telecommunications Equipment
   especially suitable area for EASS-based security. EASS              EASS embedded agents may be hosted by any device
   embedded agents may be included in a wide range of 55 containing an integrated circuit that is used as part of a cable
   devices, including firearms, missiles, bombs, ordinance,         or wireless telecommunication network to transmit audio,
   launching, targeting, tracking, and delivery systems,            video, and/or encoded data. For example, EASS embedded
   armored vehicles, and other types of weapons systems.            agents may be hosted by cellular phones, personal digital
   Complex and fault-tolerant hierarchies and networks of           assistants, pagers, radios, high-end communications switch-
   EASS servers may be employed to exert multi-tiered autho- 60 ing and distribution systems, video conferencing systems,
   rization control within regions, sub-regions, and local areas    and broadcast facilities and equipment.
   of interest.                                                        Although the present invention has been described in
   Energy                                                           terms of preferred embodiments, it is not intended that the
      Power generation systems, fuel and energy storage and         invention be limited to these embodiments. Modifications
   dispensing facilities, oil refineries and gas distillation 65 within the spirit of the invention will be apparent to those
   facilities, and other energy-related devices and systems         skilled in the art, and in alternate scenarios as described
   represent an increasingly critical and valuable societal         above. For example, while EASS embedded agents are
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   preferably implemented as hardware circuitry, software                 What is claimed is:
   implementations could be devised to provide an EASS that               1. A system for securing an automotive system, the system
   can be implemented on existing computers without special-            comprising:
   ized circuitry built into device controller ASICs. As pointed
                                                                          an automotive system including a device;
   out above, the EASS client could possibly be omitted in 5
   certain embodiments where it is possible to directly establish         an agent embedded in the device that, when authorized,
   communications between EASS embedded agents and                           enables operation of the device and that, when not
   EASS servers. The method in which the EASS server stores                  authorized, disables operation of the device; and
   and manipulates stored authorization and embedded agent                a server coupled to the embedded agent that, by exchang-
   information may differ widely in different embodiments. A 10              ing a number of messages with the embedded agent that
   relational database, a flat file, record-based database, or an            together compose a handshake operation, authorizes
   object-oriented database could be used to store the                       the embedded agent to enable operation of the device.
   information, and any number of hybrid systems can be                   2. The system of claim 1 wherein the automotive system
   devised using combinations of these types of databases. The 15 is one of:
   handshake mechanism, the mechanism for announcing the                  an automobile;
   presence of embedded agents, and the mechanism for reini-              a truck;
   tializing embedded agents can differ markedly in different
                                                                          a fuel delivery component of an automobile;
   embodiments, as can the formats and contents of the mes-
   sages exchanged between EASS servers and EASS embed- 20                an engine component of an automobile;
   ded agents. Certain embodiments may allow a particular                 a drive train component of an automobile;
   EASS embedded agent to communicate with several EASS                   a steering component of an automobile;
   servers in order to provide additional reliability or geo-             an audio component of an automobile
   graphical flexibility. An EASS server may be owned and                 a video component of an automobile; and
   operated by an entity protecting its own, on-site computers 25
                                                                          a GPS systems installed in an automobile.
   or machines, or an EASS server service may be provided by
                                                                          3. A system for securing an aircraft system, the system
   specialized security providers over the Internet or other
                                                                        comprising:
   communications media. In the above specification, simple
   single or multiple EASS server and EASS embedded agent                 an aircraft including a device;
   applications are described, but a much more complex 30                 an agent embedded in the device that, when authorized,
   network, or graph, of EASS servers may be implemented for                 enables operation of the device and that, when not
   specialized applications. For example, EASS servers may be                authorized, disables operation of the device; and
   hierarchically organized, with lower level EASS servers                a server coupled to the embedded agent that, by exchang-
   authorizing subsets, perhaps overlapping with subsets autho- 35           ing a number of messages with the embedded agent that
   rized by other lower level EASS servers, while the low-level              together compose a handshake operation, authorizes
   EASS servers are themselves authorized by higher-level                    the embedded agent to enable operation of the device.
   EASS servers. Graph-like authorization networks may be                 4. The system of claim 3 wherein the aircraft system is
   exploited to avoid single-point failure within such systems.         one of:
   Any number of different types of devices can be controlled 40          an airplane;
   by EASS embedded agents implemented either as hardware
                                                                          a helicopter;
   circuitry within the devices, as specialized programs within
   other programs that control the device, or implemented as              an ignition system;
   hardware/software hybrids. The present invention can be                a fuel delivery component;
   applied not only to the problem of securing PCs and com- 45            an engine component;
   ponents within PCs, but also to problems of fault tolerance,           audio and video components;
   adaptive systems, reconfiguration of systems, monitoring of
                                                                          an audio and video components;
   components within systems, and other similar systems or
   environments.                                                          a GPS system;
                                                                     50   an avionics; and
      The foregoing description, for purposes of explanation,
   used specific nomenclature to provide a thorough under-                a communications and navigation system.
   standing of the invention. However, it will be apparent to             5. A system for securing a banking system, the system
   one skilled in the art that the specific details are not required    comprising:
   in order to practice the invention. The foregoing descriptions 55      a banking system including a device;
   of specific embodiments of the present invention are pre-              an agent embedded in the device that, when authorized,
   sented for purpose of illustration and description. They are              enables operation of the device and that, when not
   not intended to be exhaustive or to limit the invention to the            authorized, disables operation of the device; and
   precise forms disclosed. Obviously many modifications and
                                                                          a server coupled to the embedded agent that, by exchang-
   variations are possible in view of the above teachings. The 60
                                                                             ing a number of messages with the embedded agent that
   embodiments are shown and described in order to best
                                                                             together compose a handshake operation, authorizes
   explain the principles of the invention and its practical
                                                                             the embedded agent to enable operation of the device.
   applications, to thereby enable others skilled in the art to
   best utilize the invention and various embodiments with                6. The system of claim 5 wherein the banking system is
   various modifications as are suited to the particular use 65 one of:
   contemplated. It is intended that the scope of the invention           an automatic teller machine;
   be defined by the following claims and their equivalents:              a bank safe;
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      a safe deposit box room;                                          together compose a handshake operation, authorizes
      a teller drawer;                                                  the embedded agent to enable operation of the subcom-
      a credit card; and                                                ponent.
      a debit card.                                                  12. The system of claim 11 wherein the consumer elec-
      7. A system for securing a building system, the system 5 tronics device is one of:
   comprising:                                                       an audio device;
      a building including a device;                                 a video device;
      an agent embedded in the device that, when authorized,         a photographic device;
         enables operation of the device and that, when not 10
         authorized, disables operation of the device; and           a fax machine;
      a server coupled to the embedded agent that, by exchang-       a copy machine;
         ing a number of messages with the embedded agent that       an appliance, and
         together compose a handshake operation, authorizes          a game device.
         the embedded agent to enable operation of the device. 15
                                                                     13. A system for securing a weapons system, the system
      8. The system of claim 3 wherein the building system is
                                                                  comprising:
   one of:
      a building;                                                    a weapons system, including a device;
      a security system that controls access to a building;          an agent embedded in the device that, when authorized,
                                                               20
      a security system that monitors the interior environment          enables operation of the device and that, when not
         of a building;                                                 authorized, disables operation of the device; and
      a security system that monitors the exterior environment       a server coupled to the embedded agent that, by exchang-
         of a building;                                                 ing a number of messages with the embedded agent that
      a security system within a building that provides warn- 25        together compose a handshake operation, authorizes
         ings; and                                                      the embedded agent to enable operation of the device.
      equipment used to construct and repair a building.             14. The system of claim 13 wherein the weapons system
      9. A system for securing a computer-related system, the     is one of:
   system comprising:                                                a firearm;
                                                               30
      a computer-related system including a device;                  a missile;
      an agent embedded in the device that, when authorized,         a bomb;
         enables operation of the device and that, when not          ordinance;
         authorized, disables operation of the device; and
                                                                     a launching system;
      a server coupled to the embedded agent that, by exchang- 35
         ing a number of messages with the embedded agent that       a tracking system;
         together compose a handshake operation, authorizes          a targeting system;
         the embedded agent to enable operation of the device.       a weapons delivery system; and
      10. The system of claim 9 wherein the computer-related         an armored vehicle.
   system the is one of:                                       40
                                                                     15. A system for securing an energy system, the system
      a personal digital assistant;                               comprising:
      a hand-held device;                                            an energy system including a device;
      a tablet-based computer;                                       an agent embedded in the device that, when authorized,
      a pen-based computer;                                    45       enables operation of the device and that, when not
      a laptop;                                                         authorized, disables operation of the device; and
      a desktop;                                                     a server coupled to the embedded agent that, by exchang-
      a workstation;                                                    ing a number of messages with the embedded agent that
      a server;                                                         together compose a handshake operation, authorizes
                                                               50
      a mini-computer;                                                  the embedded agent to enable operation of the device.
      a mainframe;                                                   16. The system of claim 15 wherein the is one of:
      a printer;                                                     a power generation system;
      networking equipment, including a hub, a router, and a         a fuel storage facility;
         concentrator;                                         55    an energy storage facility;
      a display device; and                                          a fuel dispensing facility;
      an input device.                                               an energy dispensing facility;
      11. A system for securing a consumer electronics device,
                                                                     an oil refinery; and
   the system comprising:
                                                               60    a gas distillation facility.
      a consumer electronics device including a subcomponent;
                                                                     17. A system for securing an entertainment-related
      an agent embedded in the subcomponent that, when
                                                                  system, the system comprising:
         authorized, enables operation of the subcomponent and
         that, when not authorized, disables operation of the        an entertainment-related system including a device;
         subcomponent; and                                     65    an agent embedded in the device that, when authorized,
      a server coupled to the embedded agent that, by exchang-          enables operation of the device and that, when not
         ing a number of messages with the embedded agent that          authorized, disables operation of the device; and
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      a server coupled to the embedded agent that, by exchang-       23. A system for securing medical equipment, the system
         ing a number of messages with the embedded agent that    comprising:
         together compose a handshake operation, authorizes
                                                                     medical equipment including a device;
         the embedded agent to enable operation of the device.
      18. The system of claim 3 wherein the entertainment- 5         an agent embedded in the device that, when authorized,
   related system is one of:                                            enables operation of the device and that, when not
      a cable delivery system;                                          authorized, disables operation of the device; and
      a satellite delivery system; and                               a server coupled to the embedded agent that, by exchang-
      a wireless delivery system.                              10       ing a number of messages with the embedded agent that
      19. A system for securing a manufacturing system, the             together compose a handshake operation, authorizes
   system comprising:                                                   the embedded agent to enable operation of the device.
      a manufacturing system including a device;                     24. The system of claim 23 wherein the medical equip-
      an agent embedded in the device that, when authorized,      ment is one of:
         enables operation of the device and that, when not 15
                                                                     diagnostic equipment;
         authorized, disables operation of the device; and
      a server coupled to the embedded agent that, by exchang-       measurement equipment;
         ing a number of messages with the embedded agent that       monitoring equipment;
         together compose a handshake operation, authorizes
                                                                     therapeutic equipment;
         the embedded agent to enable operation of the device. 20
      20. The system of claim 19 wherein the manufacturing           medication dispensing equipment;
   system is one of:                                                 medical information storage equipment;
      a motor;
                                                                     radiation source equipment; and
      a pump;                                                  25    injectable or implantable electronic medical devices.
      a generator;
                                                                     25. A system for securing a personal identification device,
      a compressor;
                                                                  the system comprising:
      a conveyor;
      a shaping system;                                              a personal identification device including a subcompo-
                                                               30       nent;
      a cutting system;
      a drilling system;                                             an   agent embedded in the subcomponent that, when
      a welding system;                                                 authorized, enables operation of the subcomponent and
                                                                        that, when not authorized, disables operation of the
      a robotic system;
                                                               35       subcomponent; and
      a process instrument; and
      a sensor.                                                      a server coupled to the embedded agent that, by exchang-
      21. A system for securing a marine system, the system             ing a number of messages with the embedded agent that
   comprising:                                                          together compose a handshake operation, authorizes
      a marine system including a device;                               the embedded agent to enable operation of the subcom-
                                                               40
      an agent embedded in the device that, when authorized,            ponent.
         enables operation of the device and that, when not          26. The system of claim 3 wherein the personal identifi-
         authorized, disables operation of the device; and        cation device is one of:
      a server coupled to the embedded agent that, by exchang-       an electronic passport;
         ing a number of messages with the embedded agent that 45
                                                                     an electronic driver's license; and
         together compose a handshake operation, authorizes
         the embedded agent to enable operation of the device.       an electronic personal identification document.
      22. The system of claim 21 wherein the marine system is        27. A system for securing a security device, the system
   one of:                                                        comprising:
                                                               50
      a personal watercraft,                                         a security device including a subcomponent;
      a boat;
                                                                     an agent embedded in the subcomponent that, when
      a ship;                                                           authorized, enables operation of the subcomponent and
      a submarine;                                                      that, when not authorized, disables operation of the
      an ignition system of a watercraft;                      55       subcomponent; and
      a fuel delivery component of a watercraft;                     a server coupled to the embedded agent that, by exchang-
      an engine component of a watercraft;                              ing a number of messages with the embedded agent that
      a drive train component of a watercraft;                          together compose a handshake operation, authorizes
      a steering component of a watercraft;                    60       the embedded agent to enable operation of the subcom-
                                                                        ponent.
      an audio component of a watercraft;
                                                                     28. The system of claim 27 wherein the security device is
      a video component of a watercraft;
                                                                  one of:
      a GPS system of a watercraft;
      a navigation system of a watercraft;                           a sensor;
                                                               65
      a radar system of a watercraft; and                            a monitor;
      a sonar system of a watercraft.                                a video device;
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     an alarm system;                                               a telecommunications network including a device;
     a card key;                                                    an agent embedded in the device that, when authorized,
                                                                       enables operation of the device and that, when not
     a smart card;                                                     authorized, disables operation of the device; and
                                                                5
     a retinal scanning device;                                     a server coupled to the embedded agent that, by exchang-
     a finger-print identification device; and                         ing a number of messages with the embedded agent that
                                                                       together compose a handshake operation, authorizes
      an embedded agent security system server.                        the embedded agent to enable operation of the device.
      29. A system for securing a telecommunications network,
   the system comprising:                                                             * * * * *
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               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO. : 6,594,765 B2                                                                         Page 1 of 1
DATED       : July 15, 2003
INVENTOR(S) : Sherman et al.


       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:



       Column 37,
       Line 1, delete the numeral "3" and insert the numeral-- 7 --.

       Column 39,
       Line 1, delete the numeral "3" and insert the numeral-- 17 --.

       Column 40,
       Line 1, delete the numeral "3" and insert the numeral-- 25 --.




                                                                    Signed and Sealed this

                                                             Twentieth Day of July, 2004




                                                                             JONW.DUDAS
                                                      Acting Director of the United States Patent and Trademark Office
